     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.25 Page 1 of 167



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 9 Attorneys for Defendant
   ACADIA HEALTHCARE COMPANY, INC.
10 d/b/a MISSION TREATMENT SERVICES, INC.

11
                                UNITED STATES DISTRICT COURT
12
                              SOUTHERN DISTRICT OF CALIFORNIA
13

14                                              )              '21CV1174 AJB MSB
                                                    Case No. _________________________
     KATHERINE WILLIAMS, an                     )
15   individual,                                )         Hon. _______________
16                 Plaintiff,                   )
            v.                                  )   DECLARATION OF MICHAEL J.
17                                              )   BURNS IN SUPPORT OF
     ACADIA HEALTHCARE COMPANY,                 )   DEFENDANT’S NOTICE OF
18   INC. d/b/a MISSION TREATMENT               )   REMOVAL
     SERVICES, INC., a corporate entity         )
19   form unknown; and DOES 1-50,               )   [Filed Concurrently With Notice Of
     inclusive,                                 )   Removal; Declaration Of Christy Enos In
20                  Defendants.                 )   Support; Declaration Of Scott Allen In
                                                )   Support; Corporate Disclosure Statement;
21                                              )   Notice Of Interested Parties; Civil Cover
                                                )   Sheet; and Proof of Service]
22                                              )
                                                )   (Removed from San Diego County
23                                              )   Superior Court, Case No. 37-2020-
                                                )   00038158-CU-WT-NC)
24                                              )
                                                )   Complaint Filed:   October 16, 2020
25                                              )   Trial Date:        None set

26

27

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                    DECLARATION OF MICHAEL J. BURNS IN SUPPORT OF NOTICE OF REMOVAL
      72258387v.1
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.26 Page 2 of 167



 1                               DECLARATION OF MICHAEL J. BURNS
 2             I, Michael J. Burns, hereby declare and state as follows:
 3             1.    I have personal knowledge of the facts contained in this declaration, and if
 4    called as a witness, could and would testify as to their accuracy.
 5             2.    I am an attorney at law licensed to practice before all courts in the state of
 6    California and am a partner with Seyfarth Shaw LLP, attorneys of record for Acadia
 7    Healthcare Company, Inc. d/b/a Mission Treatment Services, Inc. (“Acadia” or
 8    “Defendant”) in connection with the above captioned matter. All of the pleadings and
 9    correspondence in this lawsuit are maintained in our office in the ordinary course of
10    business under my direction and control. I have reviewed the pleadings and
11    correspondence in preparing this declaration.
12             3.    Exhibit A through Exhibit C constitute all of the pleadings in the Superior
13    Court’s record that have been served on Defendant, filed by Defendant, or retrieved from
14    the Court’s records prior to the filing of this Notice of Removal. Defendant has not filed
15    or received any other pleadings or papers, other than the pleadings described as Exhibit
16    A through Exhibit C, in this action prior to this Notice of Removal.
17             4.    I conducted a review of public records for Plaintiff Katherine Williams
18    (“Plaintiff”), which revealed that Plaintiff has lived in California since at least January
19    1987. Attached hereto as Exhibit D is a true and correct copy of the results of
20    Defendant’s public records search for Plaintiff, redacted to comply with Federal Rule of
21    Civil Procedure 5.2 and Local Rule 5.2-1.
22             5.    Attached hereto as Exhibit E and Exhibit F are true and correct copies of
23    jury verdict reports for cases that have issues similar to Plaintiff’s allegations that she was
24    discriminated against because of her age and disability and are factually similar to the
25    issues in these cases. Attached hereto as Exhibit G are true and correct copies of jury
26    verdict reports for cases that have awarded attorneys’ fees in excess of $75,000.00 in
27    cases involving discrimination.
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                                                     2
                     DECLARATION OF MICHAEL J. BURNS IN SUPPORT OF NOTICE OF REMOVAL
      72258387v.1
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.27 Page 3 of 167



 1             6.    I anticipate depositions being taken in this case and that ultimately
 2    Defendants will file a Motion for Summary Judgment. I have been licensed to practice
 3    law since December 1994. In the last thirteen years, I have represented employers in
 4    hundreds of different employment law cases. Based on my experience, attorneys’ fees in
 5    employment discrimination cases often exceed $75,000.00. In this regard, it is more
 6    likely than not that the fees will exceed $75,000.00 through discovery and a summary
 7    judgment hearing, and fees would certainly exceed $75,000.00 if the case proceeds to
 8    trial.
 9             I declare under penalty of perjury under the laws of the State of California that the
10    foregoing is true and correct, and that this declaration was executed on June 24, at San
11    Francisco, California.
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                                                      Michael J. Burns
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                     DECLARATION OF MICHAEL J. BURNS IN SUPPORT OF NOTICE OF REMOVAL
      72258387v.1
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.28 Page 4 of 167




                          Exhibit            A
                       Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.29 Page 5 of 167



                                                                                        ELECTRONICALLY FILED
                           Jihad M. Smaili, Esq.[262219]                                 Superior Court of California.
                       I                                                                    County of San Diego
                           SMAILI & ASSOCIATES,PC
                      2    Civic Center Plaza Towers                                      10/16/2020 at 02:06:31 PM
                           600 W. Santa Ana Blvd., Suite 202                              Clerk of the Superior Court
                      3    Santa Ana, California 92701                                 By hAchael Clemens,Deputy Clerk
                           714-547-4700
                      4
                           714-547-4710 (facsimile)
                      5    iihad@smaililaw.com

                      6    Attorney for Plaintiff
                      7
                      8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      9                              FOR THE COUNTY OF SAN DIEGO
                     10                                                         37-2020-00038158-CU-INT-NC
                           KATHERINE WILLIAMS,an          ) Case No.:
                      11   individual;                    ) Assigned for all purposes to the
                                                          )
                      12
k a55oriate5, V.C.




                                     Plaintiff,           )
                      13                                  ) COMPLAINT:
                                v.                        )    1. Discrimination in Violation of Gov. Code
                      14                                  )        §12940 et seq.
                         ACADIA HEALTHCARE COMPANY,)           2.  Age Discrimination in Violation of Gov.
                     15 INC. d/b/a MISSION TREATMENT )             Code §12940 et seq.
                                                               3. Failure to Prevent Discrimination in
                     16 SERVICES,INC., a corporate entity )
    gPIIIIIiii




                         form unknown; and DOES 1-50,     )        Violation of Gov. Code § 12940(k)
                     17 inclusive,                        )    4.  Failure to Accommodate in Violation of Gov.
                                                          )        Code § 12940(m)
                     18                                        5.  Failure to Engage in Interactive Process in ,
                                                                                                               r
                                     Defendants.          )                                                      •   •         "
                                                                   Violation  of Gov. Code  § 12940(n)                 cf, ,••
                     19                                   )
                                                          )    6. Retaliation in Violation of Gov. Code          •    ';z:
                                                                                                                       "        c•-•
                     20                                   )       §12940(h)                                                 -        •
                                                               7. Wrongful Termination                            ▪     r--
                                                          )
                     21                                        8. Violation of Business & Professions Code                   CA°
                                                                                                                                   Cr;
                                                                                                                                         (.1

                                                          )
                                                          )        § 17200 et seq.
                     22
                                                                                                                         --- noir. -Y1
                                                          )           DEMAND FOR JURY TRIAL                                        -

                     23                                   )          UNLIMITED JURISDICTION                      kJ,

                                                          )
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                                                          )
                     25                                   )
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                                                                   COMPLAINT
                                Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.30 Page 6 of 167




                                1   Plaintiff Katherine Williams (hereinafter "Plaintiff" and/or "Williams") alleges as
                                2   follows:
                                3                                         THE PARTIES
                                4            1.    At all times mentioned herein, and at the time the causes of action arose,
                                5   Plaintiff was and is an individual.
                                6            2.    Plaintiff is informed and believes and thereon alleges that at all times
                                7   mentioned herein, Defendant Acadia Healthcare Company, Inc. d/b/a Mission Treatment
                                8   Services, Inc. ("Company"), is a corporate entity, form unknown, regularly conducting
                                9   business in the State of California, and specifically, in the County of San Diego. Plaintiff
                               10   is further informed and believes and thereon alleges that Company was transacting
                               11   business in the County of San Diego, State of California, at the time claims of Plaintiff
                               12   arose.     At all times relevant, Company was an employer within the meaning of
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                               13   Government Code §12926(d) and as such was barred from, inter alia, harassing,
                               14   discriminating or retaliating against Plaintiff in personnel, scheduling, employment,
                               15   promotion, advancement, retention, hiring, terminating and other decisions relating to
                               16   Plaintiff's employment on the basis of age, race, physical disability or medical condition,
                               17   participation in protected activity, and other immutable characteristics.
                               18            3.    The true names and capacities, whether individual, corporate, associate, or

                               19   otherwise, of Defendants DOES 1-50, inclusive, are currently unknown to Plaintiff,
                               20   who therefore sues said Defendants by such fictitious names. Plaintiff will seek leave to
                               21   amend this complaint to show their true names and capacities when ascertained. Plaintiff
                               22   is informed and believes and thereon alleges that each Defendant named herein as a DOE

                               23   was responsible in some manner for the occurrences and damages alleged herein.

                               24            4.   Each reference in this complaint to "Defendant" and/or "Defendants" refers

                               25   to Company, and also refers to all Defendants sued under fictitious names, jointly and

                               26   severally.

                               27            5.   Plaintiff is informed and believes and thereon alleges that Defendants, and

                               28   each of them, are now and/or at all times mentioned in this Complaint were in some

                                                                            COMPLAINT

                                                                                 2
                              Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.31 Page 7 of 167




                              1   manner legally responsible for the events, happenings and circumstances alleged in this
                              2   Complaint.     Plaintiff is further informed and believes and thereon alleges that
                              3   Defendants, and each of them, proximately subjected Plaintiff to the unlawful practices,
                              4   wrongs, complaints, injuries and/or damages alleged in this Complaint. Likewise,
                              5   Defendants, and each of them are now and/or at all times mentioned in this Complaint
                              6   were the agents, servants and/or employees of some or all other Defendants, and vice-
                              7   versa, and in doing the things alleged in this Complaint, Defendants are now and/or at all
                              8   times mentioned in this Complaint were acting within the course and scope of that
                              9   agency, servitude and/or employment.
                             10         6.      Plaintiff is informed and believes and thereon alleges that Defendants, and
                             11   each of them, are now and/or at all times mentioned in this Complaint were members of
                             12   and/or engaged in a joint venture, partnership and common enterprise, and were acting
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                             13   within the course and scope of, and in pursuance of said joint venture, partnership and
                             14   common enterprise.
                             15         7.      Plaintiff is informed and believes and thereon alleges that Defendants, and
                             16   each of them, at all times mentioned in this Complaint, concurred and contributed to the
                             17   various acts and omissions of each and every one of the other Defendants in proximately
                             18   causing the complaints, injures and/or damages alleged in this Complaint. Plaintiff is
                             19   further informed and believes and thereon alleges that Defendants, and each of them, at
                             20   all times mentioned in this Complaint, approved of condoned and/or otherwise ratified
                             21   each and every one of the acts and/or omissions alleged in this Complaint. Likewise,
                             22   Defendants, and each of them, at all times mentioned in this Complaint aided and abetted
                             23   the acts and omissions of each and every one of the other Defendants thereby proximately
                             24   causing the damages alleged in this Complaint.
                             25         8.      Plaintiff is informed and believes and thereon alleges that at all actions

                             26   alleged herein committed by Defendants were committed by managing agents of
                             27   Defendants, or, such conduct was known by and/or ratified by managing agents of
                             28   Defendants.

                                                                         COMPLAINT

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 I

 2                                VENUE AND JURISDICTION
 3          9.     Venue is proper in this county and this Court has jurisdiction over this
 4   matter because Defendants operate out of Carlsbad, California, and, all of the claims and
 5   causes of action alleged herein occurred and accrued in the County of San Diego, State of
 6   California.
 7                                 FACTUAL BACKGROUND
 8          10.    In or around November 2004, Defendant hired Plaintiff as a Clinic
 9   Director. Her job duties included, but were not limited to, day-to-day responsibilities and
10   operations of the clinic, staffing, conducting performance evaluations, and counseling of
11   outpatients. She earned a monthly salary of $3,000. Plaintiff dedicated 15 years of hard
12   work to Defendant and never received a negative performance evaluation.
13          11.    Plaintiff is 68 years of age.
14          12.    While employed, Plaintiff became aware of plans for a merger between
15   Defendant and another company. On or about November 13, 2018, Plaintiff's physician
16   provided her with a doctor's note to inform Defendant of her Attention Deficit Disorder
17 ("ADD"). Defendant was already aware of her preexisting medical condition and it was
18   also noted in her employee chart. However, Plaintiff wanted to ensure that after
19   Defendant merged with the new company, her new employer would also be aware of the
20   same. As planned, on or about February 15, 2019, Acadia Healthcare merged with
21   Mission Treatment Services.
22          13.    On or about May 7, 2019, Regional Director, Christie Enos ("Enos")
23   inquired about Plaintiff's plans for retirement. During their conversation, Plaintiff
24   informed Enos that the webinars were not adequate training and kindly requested one-on-
25   one training. Enos quickly denied her request and mentioned, "It's not Acadia's way."
26   Plaintiff was stunned at how quickly she was dismissed given that she needed the
27   additional resource as an accommodation for her disability.
28

                                             COMPLAINT

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                            1           14.    On or about May 14, 2019, Plaintiff attempted to complain to Defendant's
                            2   newly appointed Human Resources ("HR") Director, Jeff Rummel ("Rummel"), about
                            3   her stress and ongoing issues with Enos. However, Rummel never gave Plaintiff the
                            4   opportunity to voice her concerns. He dismissively directed her to speak with Enos
                            5   regarding her issues. This was simply not possible as the issues concerned Enos herself
                            6   and thus would need to be addressed by another agent of Defendant. Thus, despite being
                            7   aware of her work-related disability, Defendant failed to provide an accommodation,
                            8   refused to engage Plaintiff in a good faith interactive process, and did not provide
                            9   workers' compensation paperwork.
                           10          15.    On or about June 4, 2019, Defendant's former President, Peter Morris
                           1 1 ("Morris") and Regional Vice President, Tim Sanderson ("Sanderson") held an important
                           12   meeting. During this meeting, Plaintiff kindly asked if she could speak with them about
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                           13   her work-related stress, anxiety, and issues with Enos. Morris and Sanderson refused to
                           14   speak with Plaintiff and instructed her to approach Enos only. Plaintiff simply asked if
                           15   she could send them e-mail disclosing information, but Morris and Sanderson
                           16   immediately interrupted stating, "No. Do not send any communication to us." Plaintiff
                           17   was shut down and prevented from voicing her legitimate concerns about her workplace.
                           18          16.    Left without options, Plaintiff filed for FMLA on or about June 10, 2019,
                           19   and was placed off work until August 26, 2019. Plaintiff also filed for workers'
                           20   compensation on or about July 3, 2019.
                           21          17.    On or about August 26, 2019, Plaintiff anticipated returning to work after
                           22   being released by her doctor. However, her doctor extended her disability status and
                           23   Plaintiff was not cleared to return.
                           24          18.    Throughout her employment with Defendant, Plaintiff suffered from
                           25   multiple work-related disabilities. As previously mentioned, Plaintiff was diagnosed with
                           26   ADD, alongside severe stress, depression, insomnia, and headaches. Plaintiff also had
                           27   difficulty with her vision. In or around 2019, Plaintiff was diagnosed with Carpal Tunnel
                           28   Syndrome, as a result of the nature of her work with Defendant. Plaintiff made Defendant

                                                                       COMPLAINT

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  1   aware of all her disabilities and pain on numerous occasions. Defendant repeatedly failed
 2    to provide a reasonable accommodation, refused to engage in a good faith interactive
 3    process, and did not provide her with workers' compensation paperwork. Further,
 4    Plaintiff was forced to work through her pain and disabilities which exacerbated her
 5    injuries due to Defendant's disregard.
 6           19.    After the company merger, Plaintiff's duties changed overnight. Defendant
 7    did not provide Plaintiff with the necessary training to fulfill expectations and instead,
 8    denied her request for assistance.
 9           20.    Defendant's agent, Enos, constantly threatened Plaintiff after Plaintiff
10    lodged complaints about her. Defendant's agent stated that, "[Defendant] is big on
11    insubordination,"—a statement that Plaintiff reasonably interpreted to be a threat in
12    retaliation for her participation in protected conduct.
13           21.    Additionally, Defendant discriminated against Plaintiff on account of her
14    age. Enos repeatedly asked about Plaintiff's plans for retirement. Moreover, Plaintiff and
15    another mature co-worker viz. "Barbara" were denied proper training. In fact, when co-
16    worker, Celina Maham ("Maham"), attempted to help teach Plaintiff and Barbara,
17    Defendant's agent, Enos reprimanded Maham for doing so.
18          22.     On or about September 27, 2019, Defendant replaced Plaintiff with another
19    employee. Plaintiff is informed and believes that her replacement, all subsequent
20    replacements, have been significantly younger and less experienced than her.
21          23.     On or about December, 15, 2019, Plaintiff's doctor released Plaintiff back
22    to work. Plaintiff submitted requisite paperwork and communicated with RR
23    representative, Scott Allen. However, Defendant refused to put her into the schedule.
24    Plaintiff is informed and believes that Defendant terminated her employment on or about
25    December 15, 2019.
26          24.     Prior to filing this lawsuit, Plaintiff exhausted her administrative remedies
27    by timely filing a complaint with the Department of Fair Employment and Housing
28 (DFEH)and receiving a right-to-sue notice dated March 30, 2020.

                                               COMPLAINT

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 I                                  FIRST CAUSE OF ACTION
 2                           DISCRIMINATION IN VIOLATION OF
 3                   CALIFORNIA GOVERNMENT CODE § 12940 et seq.
 4                                   (Against All Defendants)
 5          25.    Plaintiff refers to all allegations contained in paragraphs 1-24, inclusive and
 6   by such reference incorporates the same herein as though fully realleged in detail.
 7          26.     California law, and particularly the Fair Employment and Housing Act
 8 ("FEHA"), codified at Government Code §12900 et seq., prohibits discrimination against

 9   persons with a physical condition or disability, which is broadly defined therein, and
10   which includes even the perception that a person has a medical or mental condition
11   and/or physical condition or disability. FEHA further prohibits discrimination based
12   upon, inter alia, age, race, gender, sexual orientation, national origin, pregnancy and
13   other immutable characteristics.
14          27.    Plaintiff has a disability as alleged above.
15          28.    Defendant was aware of Plaintiffs on the job injury and her resulting
16   disability, as herein alleged, because Plaintiff specifically reported said disability directly
17   to Defendant via Defendant's supervisors and managing agents.
18          29.    At all times herein alleged, Plaintiff was qualified for the position of
19   employment that she held with Defendant and was able to perform the essential functions
20   ofthatjob.
21          30.    Plaintiff is informed and believes and thereon alleges that as a direct and
22   proximate result of Plaintiffs disability, Defendant refused to engage Plaintiff in an
23   interactive process, refused to communicate with Plaintiff, refused to accommodate
24   Plaintiff 's medical restrictions, denied Plaintiff opportunity for advancement, promotion
25   and the ability to earn a living, and terminated Plaintiff.
26          31.    Defendant's discriminatory action against Plaintiff, as alleged above,
27   constitutes unlawful discrimination in employment on account of Plaintiffs disability in
28   violation of FEHA, and particularly Gov't Code §12940(a).

                                              COMPLAINT

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                             Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.36 Page 12 of 167




                             I          32.    As a direct, foreseeable, and proximate result of Defendant's discriminatory
                             2   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
                             3   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                             4   amounts of money Plaintiff would have received but for Defendants' discriminatory
                             5   conduct, all in an amount subject to proof at the time of trial, but believed to be no less
                             6   than three hundred thousand dollars.
                             7          33.    As a direct, foreseeable, and proximate result of the wrongful conduct of
                             8   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
                             9   distress and anguish, humiliation, anxiety, and medical expenses all to Plaintiff damage
                            10   in an amount subject to proof at trial.
                            11          34.    Plaintiff is informed and believes and thereon alleges that the above-alleged
                            12   actions of Defendant were the result and consequence of Defendant's failure to supervise,
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                            13   control, direct, manage, and counsel those agents throughout Plaintiff 's employment and
                            14   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                            15   enabled agents to believe that their conduct was appropriate.
                            16          35.    Defendant, and each of them, failed to offer counseling or comfort to
                            17 Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                            18   workplace.
                            19          36.    Plaintiff is informed and believes and thereon alleges that Defendant has a
                            20   systemic and wide-spread policy of discriminating against and retaliating against
                            21   employees with disabilities. By failing to stop the discrimination, harassment and
                            22   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                            23   directly caused a vicious cycle of wrongful conduct with impunity.
                            24          37.    Plaintiff is informed and believes and thereon alleges that Plaintiff's on the
                            25 job injury and resulting disability was a motivating factor in the decision of Defendant to
                            26   discriminate against her.
                            27          38.    The outrageous conduct of Defendant, and each of them, as alleged herein,
                            28   was done with oppression and malice by Defendant and its supervisors and managers,

                                                                           COMPLAINT

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                              Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.37 Page 13 of 167




                               1   along with conscious disregard of Plaintiff's rights, and were ratified by those other
                               2   individuals who were managing agents of Defendant.
                               3          39.    The conduct of Defendant as alleged hereinabove was done with malice,
                               4   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
                               5   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                               6          40.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
                               7   amount according to proof at the time of trial which fees and expenses are recoverable
                               8   pursuant to Gov't Code §12900 et seq.
                               9                               SECOND CAUSE OF ACTION
                              10                                  AGE DISCRIMINATION
                              11                     IN VIOLATION OF GOV.CODE § 12940 et seq.
                              12                                  (Against all Defendants)
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                              13          41.   Plaintiff refers to all allegations contained in paragraphs 1-40, inclusive and
                              14   by such reference incorporates the same herein as though fully realleged in detail.
                              15          42.    At all times herein mentioned, Gov't Code §§12940(a) and 12941 were in
                              16   full force and effect and were binding on Defendant. These sections require Defendant to
                              17   refrain from discriminating against any employee over the age of40 because of their age.
                              18          43.   At the time of Plaintiff's termination, and at all times that Defendant was
                              19   discriminating against Plaintiff as alleged herein, Plaintiff was over the age of 40.
                              20   Plaintiff is informed and believes and thereon alleges that after years of wholly
                              21   satisfactory, competent and diligent performance to the profit of Defendants, that
                              22   Plaintiff's age, being over 40, was a motivating factor in Defendants' decision to
                              23   terminate Plaintiff's employment. Said conduct by Defendants was intentional and
                              24   willful.
                              25          44.   Plaintiff is informed and believes and thereon alleges that Plaintiff was
                              26   replaced with an employee below the age of 40.
                              27

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                                                                           COMPLAINT

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 Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.38 Page 14 of 167




 1          45.    Defendant was aware of Plaintiff's age, as herein alleged, because Plaintiff
 2   maintained Plaintiff's personnel file which specifically contained the date of Plaintiff's
 3   birth and her corresponding age.
 4          46.    At all times herein alleged, Plaintiff was qualified for the position of
 5   employment that she held with Defendant and was able to perform the essential functions
 6   ofthat job.
 7          47.    Plaintiff is informed and believes and thereon alleges that as a direct and
 8   proximate result of Plaintiff's age, Defendant decided to terminate Plaintiff's
 9   employment, and in fact, did terminate Plaintiff's employment.
10          48.    Defendants' discriminatory action against Plaintiff, as alleged above,
11   constitutes unlawful discrimination in employment on account of Plaintiff's age in
12   violation of FEHA, and particularly Gov't Code §12940.
13          49.    As a direct, foreseeable, and proximate result of Defendants' discriminatory
14   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
15   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
16   amounts of money Plaintiff would have received but for Defendant's discriminatory
17   conduct, all in an amount subject to proof at the time of trial.
18          50.    As a direct, foreseeable, and proximate result of the wrongful conduct of
19   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
20   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
21   amount subject to proof at trial.
22          51.    Plaintiff is informed and believes and thereon alleges that the above-alleged
23   actions of Defendant were the result and consequence of Defendant's failure to supervise,
24   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
25   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
26   enabled agents to believe that their conduct was appropriate.
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                                              COMPLAINT

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        Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.39 Page 15 of 167




         1          52.     Defendants, and each of them, failed to offer counseling or comfort to
         2   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
         3   workplace.
         4          53.     Plaintiff is informed and believes and thereon alleges that Defendant has a
         5   systemic and wide-spread policy of discriminating against and retaliating against
         6   employees over the age of 40. By failing to stop the discrimination, harassment and
         7   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
         8   directly caused a vicious cycle of wrongful conduct with impunity.
         9          54.     The outrageous conduct of Defendant, and each of them was done with
        10   oppression and malice by Defendant and its supervisors and managers, along with
        11   conscious disregard of Plaintiff's rights, and were ratified by those other individuals who
        12   were managing agents of Defendant.
        13          55.     Plaintiff also continues to incur attorneys' fees and legal expenses in an
        14   amount according to proof at the time of trial which fees and expenses are recoverable
tT111   15   pursuant to Gov't Code §12900 et seq.
        16                                 THIRD CAUSE OF ACTION
        17                FAILURE TO PREVENT DISCRIMINATION IN VIOLATION
        18                   OF CALIFORNIA GOVERNMENT CODE § 12940(k)
        19                                   (Against All Defendants)
        20          56.     Plaintiff refers to all allegations contained in paragraphs 1-55, inclusive and
        21   by such reference incorporates the same herein as though fully realleged in detail.
        22   During the course of employment, Defendant, and each of them, failed to prevent or
        23   remedy discrimination, retaliation and harassment toward Plaintiff on the basis of her
        24   perceived disability and participation in protected conduct in violation of Government
        25   Code §12940(k).
        26          57.     As a direct result of the wrongful conduct of Defendant, Plaintiff suffered,
        27   and continues to suffer, substantial losses in earnings and other benefits in an amount
        28   according to proof at the time trial, including special and general damages.

                                                      COMPLAINT

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       Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.40 Page 16 of 167




        1          58.    As a direct, foreseeable, and proximate result of the wrongful conduct of
        2 Defendant, Plaintiff has suffered and continues to suffer emotional distress and anguish,
        3   humiliation, substantial losses in salary, bonuses, job benefits, and other employment
        4   benefits which her would have received all to her damage in a sum within the jurisdiction
        5   ofthe Court to be ascertained according to proof.
        6          59.    Plaintiff is informed and believes and thereon alleges that the outrageous
        7   conduct of Defendant, and each ofthem, as alleged herein, was done with oppression and
        8   malice by Plaintiff's supervisors and managers, along with conscious disregard of
        9 Plaintiff's rights, and were ratified by those other individuals who were managing agents
       10   of Defendant.
       11          60.    As a proximate result of the wrongful conduct of Defendant, and each of
       12   them, Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
       13   mental and physical pain and anguish according to proof at the time of trial.

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       14          61.    These unlawful acts were further encouraged by Defendant and done with a
e
Inrl   15   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of
       16   injuring Plaintiff   The conduct of Defendant alleged hereinabove was done with malice,
       17 fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
       18         61.     As such, Plaintiff is entitled to punitive damages within the meaning of Civ.
       19   Code §3294.
       20         62.     Plaintiff has also incurred and continues to incur attorneys' fees and legal
       21   expenses in an amount according to proof at the time of trial.
       22                               FOURTH CAUSE OF ACTION
       23          FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF
       24                    CALIFORNIA GOVERNMENT CODE § 12940(m)
       25                                  (Against All Defendants)
       26         63.     Plaintiff refers to all allegations contained in paragraphs 1-62, inclusive and
       27   by such reference incorporates the same herein as though fully realleged in detail.
       28         64.     Plaintiff has a disability as alleged above.

                                                    COMPLAINT

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     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.41 Page 17 of 167




      1            65.   Defendant was aware of Plaintiff's disability, as alleged above and herein.
      2            66.   Defendant failed and refused to accommodate Plaintiff's needs, and, failed
      3   and refused to engage in an interactive process with Plaintiff, and, failed to address
      4   Plaintiff's needs in light of her disabilities.
      5            67.   At all times herein alleged, Plaintiff was qualified for the position of
      6   employment that she held with Defendant and was able to perform the essential functions
      7   of that job if such reasonable accommodation had been made by Defendant. At no time
      8   would the performance of the functions of the employment position, with a reasonable
      9   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
     10   person's health or safety, nor would it have created an undue hardship to the operation of
     11   Defendant's business.
     12            68.   Defendant's failure to accommodate Plaintiff, as alleged above, constitutes
     13   unlawful conduct in employment in violation of FEHA, and particularly Gov 't Code
     14   §12940.
     15            69.   As a direct, foreseeable, and proximate result of Defendant's wrongful
     16   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
,p
     17   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
     18   amounts of money Plaintiff would have received but for Defendant's wrongful conduct,
     19   in an amount of at least three hundred thousand dollars, all subject to proof at the time of
     20   trial.
     21            70.   As a direct, foreseeable, and proximate result of the wrongful conduct of
     22   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
     23   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
     24   amount subject to proof at trial.
     25            71.   Plaintiff is informed and believes and thereon alleges that the above-alleged
     26   actions of Defendant were the result and consequence of Defendant's failure to supervise,
     27   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
     28

                                                    COMPLAINT

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                             Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.42 Page 18 of 167




                             1   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                             2   enabled agents to believe that their conduct was appropriate.
                             3          72.   Defendant, and each of them, failed to offer counseling or comfort to
                             4 Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                             5   workplace.
                             6          73.   Plaintiff is informed and believes and thereon alleges that Defendant has a
                             7   systemic and wide-spread policy of discriminating against and retaliating against
                             8   employees with disabilities.    By failing to stop the discrimination, harassment and
                             9   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                            10   directly caused a vicious cycle of wrongful conduct with impunity.
                            11         74.    Plaintiff is informed and believes and thereon alleges that Defendant's
                            12   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
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                            13   Defendant to discriminate against her.
                            14         75.    The outrageous conduct of Defendant, and each of them, as alleged herein,
                            15   was done with oppression and malice by Defendant and its supervisors and managers,
                            16   along with conscious disregard of Plaintiff's rights, and were ratified by those other
                            17   individuals who were managing agents of Defendant.
                            18         76.    The conduct of Defendant as alleged hereinabove was done with malice,
                            19 fraud, or oppression, and in reckless disregard of Plaintiff's rights under California law.
                            20   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                            21         77.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
                            22   amount according to proof at the time of trial which fees and expenses are recoverable
                            23   pursuant to Gov't Code §12900 et seq.
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                            28   III

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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.43 Page 19 of 167




 1                                   FIFTH CAUSE OF ACTION
 2                 FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS IN
 3               VIOLATION OF CALIFORNIA GOVERNMENT CODE § 12940(n)
 4                                    (Against All Defendants)
 5           78.     Plaintiff refers to all allegations contained in paragraphs 1-77, inclusive and
 6   by such reference incorporates the same herein as though fully realleged in detail.
 7           79.     Plaintiff has a disability as alleged above.
 8           80.     Defendant was aware of Plaintiff's disability, as alleged above and herein.
 9           81.     Defendant failed and refused to engage Plaintiff in an interactive process
10   designed to unite Plaintiff with her job.
11           82.     At all times herein alleged, Plaintiff was qualified for the position of
12   employment that she held with Defendant and was able to perform the essential functions
13   of that job if such reasonable accommodation had been made by Defendant. At no time
14   would the performance of the functions of the employment position, with a reasonable
15   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
16   person's health or safety, nor would it have created an undue hardship to the operation of
17   Defendant's business.
18           83.     Defendant's failure to engage with Plaintiff in an interactive process, as
19   alleged above, constitutes unlawful conduct in employment in violation of FEHA, and
20   particularly Gov't Code §12940.
21           84.     As a direct, foreseeable, and proximate result of Defendant's wrongful
22   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
23   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
24   amounts of money Plaintiff would have received but for Defendant's wrongful conduct,
25   all in an amount no less than three hundred thousand dollars, subject to proof at the time
26   of trial.
27           85.     As a direct, foreseeable, and proximate result of the wrongful conduct of
28   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional

                                               COMPLAINT

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 1   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
 2   amount subject to proof at trial.
 3          86.    Plaintiff is informed and believes and thereon alleges that the above-alleged
 4   actions of Defendant were the result and consequence of Defendant's failure to supervise,
 5   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
 6   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
 7   enabled agents to believe that their conduct was appropriate.
 8          87.    Defendant, and each of them, failed to offer counseling or comfort to
 9   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
10   workplace.
11          88.    Plaintiff is informed and believes and thereon alleges that Defendant has a
12   systemic and wide-spread policy of discriminating against and retaliating against
13   employees with disabilities.        By failing to stop the discrimination, harassment and
14   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
15   directly caused a vicious cycle of wrongful conduct with impunity.
16          89.    Plaintiff is informed and believes and thereon alleges that Defendant's
17   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
18   Defendant to discriminate against her and ultimately terminate her.
19         90.     The outrageous conduct of Defendant, and each of them, as alleged herein,
20   was done with oppression and malice by Defendant and its supervisors and managers,
21   along with conscious disregard of Plaintiff's rights, and were ratified by those other
22   individuals who were managing agents of Defendant.
23         91.     The conduct of Defendant as alleged hereinabove was done with malice,
24   fraud or oppression, and in reckless disregard of Plaintiffs rights under California law.
25   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
26         92.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
27   amount according to proof at the time of trial which fees and expenses are recoverable
28   pursuant to Gov't Code §12900 et seq.

                                               COMPLAINT

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 1                                     SIXTH CAUSE OF ACTION
 2                                RETALIATION IN VIOLATION OF
 3                         CALIFORNIA GOVERNMENT CODE §12940(h)
 4                                      (Against All Defendants)
 5          93.    Plaintiff refers to all allegations contained in paragraphs 1-92, inclusive,
 6   and by such reference incorporates the same herein as though fully realleged in detail.
 7          94.    At all times herein mentioned,FEHA, Government Code §12940(h), was in
 8   full force and effect and was binding on Defendant. This statute requires Defendant to
 9   refrain from retaliating against Plaintiff
10          95.    Plaintiff is informed and believes and thereon alleges that as a consequence
11   of lodging complaints with Defendants about the harassing and discriminatory acts being
12   committed against Plaintiff, coupled with Plaintiff's disability sustained while on-the-job
13   for which workers compensation coverage was required along with reasonable
14   accommodation, Defendant took retaliatory action against Plaintiff by failing to conduct a
15   good faith interactive process aimed at reuniting Plaintiff with Plaintiff job, failing to
16   determine the essential functions of Plaintiff's job, mistreat Plaintiff, and deny Plaintiff
17   advancement and promotion.
18          96.    Defendant unlawfully retaliated against Plaintiff after she engaged in
19   protected activity after being injured on the job, such as without limitation, filing or
20   intending to file for workers' compensation benefits due to safety concerns and
21   requesting accommodation, and, lodging workplace complaints related to the harassment
22   and discrimination that she was facing, and other complaints of a hostile and unsafe
23   working environment.
24         97.     As a proximate result of Defendant's willful, knowing, and intentional
25   conduct against Plaintiff, she has sustained and continues to sustain substantial losses in
26   Plaintiff earnings and other employment benefits and continues to suffer humiliation,
27   emotional distress, and mental and physical pain an and anguish, and sleep dysfunction,
28   all to Plaintiff damage in a sum according to proof

                                              COMPLAINT

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                          Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.46 Page 22 of 167




                           1          98.    These unlawful acts were further encouraged by Defendant and done with a
                           2   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of
                           3   injuring Plaintiff. In light of Defendant's willful, knowing, and intentional discrimination
                           4   against Plaintiff which culminated in Plaintiff discharge, Plaintiff seeks an award of
                           5   punitive and exemplary damages in an amount according to proof
                           6          99.    Plaintiff has incurred and continues to incur legal expenses and attorney
                           7   fees. Plaintiff is presently unaware of the precise amount of said expenses and fees and
                           8   prays leave of court to amend this Complaint when said amounts are more fully known.
                           9                               SEVENTH CAUSE OF ACTION
                          10                                WRONGFUL TERMINATION
                          11                                   (Against all Defendants)
                          12          100. Plaintiff refers to all allegations contained in paragraphs 1-99, inclusive and
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                          13   by such reference incorporates the same herein as though fully realleged in detail.
                          14          101. Plaintiff informed Defendants of her age, work related injuries, and
                          15   resulting pain. Further, Defendants were aware of Plaintiff's age, work related injuries,
                          16   and resulting pain.
                          17          102.   Gov't Code §12940 et seq., prohibits forms of discrimination against
                          18   protected classes of employees.
                          19          103. Defendant wrongfully terminated Plaintiff in violation of a substantial and
                          20   fundamental public policy in that a determining and motivating factor in Defendants'
                          21   decision to terminate Plaintiff was the desire to retaliate against her because of: (i) her
                          22   age, (ii) work related injuries, (iii) disability, (iv) complaints about her work
                          23   environment, and (v)filing/perceived filing for workers compensation case.
                          24          104. Plaintiff is informed and believes and thereon alleges that these factors
                          25   made up Defendants decision to terminate Plaintiff and/or played an important and
                          26   integral role in said decision. Such discrimination was in violation of the public policy of
                          27   the State of California and resulted in damage and injury to Plaintiff as alleged herein.
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                                                                       COMPLAINT

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 1          105. As a proximate result of Defendants willful, knowing, and intentional
 2   discrimination and retaliation against Plaintiff, she has sustained and continues to sustain
 3   substantial losses in Plaintiff earnings and other employment benefits and continues to
 4   suffer humiliation, emotional distress, and mental and physical pain an and anguish, and
 5   loss of sleep/sleep dysfunction, all to her damage in a sum according to proof.
 6          106. In light of Defendants willful, knowing, and intentional discrimination
 7   against Plaintiff which resulted in her wrongful termination, Plaintiff seeks an award of
 8   punitive and exemplary damages in an amount according to proof.
 9                               EIGHTH CAUSE OF ACTION
10          VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200 et seq.
11                                  (Against All Defendants)
12          107. Plaintiff refers to all allegations contained in paragraphs 1-106 inclusive,
13   and by such reference incorporates the same herein as though fully realleged in detail.
14          108.   Defendant, and each of them, have engaged in unfair and unlawful
15   business practices as set forth above.
16          109. Business & Professions Code § 17200 et seq. prohibits unlawful and unfair
17   business practices.
18          110. By engaging in the above-described acts and practices, Defendant, and each
19   of them, have committed one or more acts of unfair, unlawful or fraudulent competition
20   within the meaning of Business & Professions Code §17200 et seq.
21          111. Defendant, and each of them, have violated statutes and public policies.
22   Through the conduct alleged in this Complaint, Defendant, and each of them, have acted
23   contrary to public policies and have engaged in other unlawful and unfair business
24   practices in violation of Business & Professions Code § 17200 et seq., depriving Plaintiff
25   and all interested persons of rights, benefits, and privileges guaranteed to all employees
26   under law.
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                                              COMPLAINT

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 1          112. As a direct and proximate result of the aforementioned acts and practices,
 2 Plaintiff has suffered a loss of money and property in the form of wages and benefits that
 3   she would have received as an employee of Defendant, and each of them.
 4          113. Plaintiff seeks an order of this Court awarding restitution, injunctive relief
 5   and all other relief allowed under Business & Professions Code §17200 et seq., plus
 6   interest and costs.
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                                           COMPLAINT

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                             Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.49 Page 25 of 167




                              I                               , PRAYER FOR RELIEF
                              2   WHEREFORE,Plaintiff prays for judgment as follows:
                              3      1. For all actual, consequential, and incidental damages, including but not limited to
                              4         loss of earnings and employee benefits, according to proof, but no less than three
                              5         hundred thousand dollars;
                              6     2. For restitution for unfair competition pursuant to Business & Professions Code
                              7         §17200 et seq., resulting from Defendants' unlawful business acts and practices,
                              8         according to proof;
                              9     3. For an order enjoining Defendants and their agents, servants, and employees, and
                             10         all persons acting under, in concert with, or for them, from acting in derogation of
                             11         any rights or duties alleged in this Complaint;
                             12     4. For pre-judgment and post-judgment interest, according to proof;
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                             13     5. For punitive and exemplary damages, according to proof;
                             14     6. For attorneys' fees, according to proof and statute;
                             15     7. For costs of suit incurred herein;
                             16     8. For such other relief and the Court may deem just and proper.
                             17

                             18   Dated: October 12, 2020                   SMAILI & ASSOCIATES,P.C.
                             19

                             20                                             By:   /s/jihad-14. Smaili
                             21                                                   Jihad M. Smaili, Esq.
                                                                                  Attorney for Plaintiff
                             22

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                                                                        COMPLAINT

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      Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.50 Page 26 of 167




       1                               DEMAND FOR JURY TRIAL
       2         Plaintiff hereby requests a trial by jury.
       3
           Dated: October 12, 2020                   SMAILI & ASSOCIATES,P.C.
       4

       5

       6                                             By:      /S/jifithlUVI. Smaili
                                                           Jihad M. Smaili, Esq.
       7                                                   Attorney for Plaintiff
       8

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                                                   COMPLAINT

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                           Exhibit            B
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                                                                                                       Service of Process
                                                                                                       Transmittal
                                                                                                       05/27/2021
                                                                                                       CT Log Number 539629566
    TO:         Chris Howard, Executive VP, General Counsel and Sec.
                Acadia Healthcare Company, Inc.
                6100 TOWER CIR STE 1000
                FRANKLIN, TN 37067-1509

    RE:         Process Served in California

    FOR:        Acadia Healthcare Company, Inc. (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                                 KATHERINE WILLIAMS, ETC., PLTF. vs. ACADIA HEALTHCARE COMPANY, INC., ETC., ET
                                                     AL., DFTS.
    DOCUMENT(S) SERVED:                              -
    COURT/AGENCY:                                    None Specified
                                                     Case # 37202000038158CUWTNC
    NATURE OF ACTION:                                Employee Litigation - Wrongful Termination
    ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Los Angeles, CA
    DATE AND HOUR OF SERVICE:                        By Process Server on 05/27/2021 at 08:19
    JURISDICTION SERVED :                            California
    APPEARANCE OR ANSWER DUE:                        None Specified
    ATTORNEY(S) / SENDER(S):                         None Specified
    ACTION ITEMS:                                    CT has retained the current log, Retain Date: 05/27/2021, Expected Purge Date:
                                                     06/01/2021

                                                     Image SOP

                                                     Email Notification, Chris Howard chris.howard@acadiahealthcare.com

                                                     Email Notification, Lauren Foley lauren.foley@acadiahealthcare.com

                                                     Email Notification, Keith Thompson keith.thompson@acadiahealthcare.com

                                                     Email Notification, Emily Tuma emily.tuma@acadiahealthcare.com

    REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                     818 West 7th Street
                                                     Los Angeles, CA 90017
                                                     866-665-5799
                                                     SouthTeam2@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                       Page 1 of 2 / MS
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.53 Page 29 of 167

                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        05/27/2021
                                                                                                        CT Log Number 539629566
    TO:         Chris Howard, Executive VP, General Counsel and Sec.
                Acadia Healthcare Company, Inc.
                6100 TOWER CIR STE 1000
                FRANKLIN, TN 37067-1509

    RE:         Process Served in California

    FOR:        Acadia Healthcare Company, Inc. (Domestic State: DE)




    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




                                                                                                        Page 2 of 2 / MS
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                      PROCESS SERVER DELIVERY DETAILS




Date:                   Thu, May 27, 2021

Server Name:            DROP SERVICE




Entity Served           ACADIA HEALTHCARE COMPANY,INC.

Case Number             3720200038158CUWTNC

Jurisdiction            CA




                                                         1
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                                                                                                                                                     SUM-100

                                           SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
                                                                                                                       ELECTROHICALLY FILED
                                                                                                                        Superior Court of California,
  NOTICE TO DEFENDANT:                                                                                                     County of San Diego
(AVISO AL DEMANDADO):
                                                                                                                         10/16/2020 at 02:00:31 PM
  ACADIA HEALTHCARE COMPANY, INC. d/b/a MISSION TREATMENT SERVICES, INC.,                                               Clerk of the Superior Court
  a corporate entity form unknown; and DOES 1-50, inclusive,                                                         By tvichael Clemens,Deputy Clerk
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

  KATHERINE WILLIAMS, an individual;
  NOTICE! You have been sued. Thc court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
  court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
  be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.govlselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 jAVISO!Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informacian a
 continuacion.
     Tiene 30 DiAS DE CALENDARIO despues de que le entreguen esta citacian y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefonica no to protegen. Su respuesta por escrito tiene que ester
 en formato legal correct° si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para SU respuesta.
 Puede encontrar estos form ularios de la corte y mas informacian en el Centro de Ayuda de las Cones de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pager la cuota de presentaci6n, pida al secretario de la code que
 le dé un fonnulario de exencian de pago de cuotas. Si no prcscnta su respuesta a tiempo, puede perder e/ caso por incumplimiento y la carte le podra
 guitar su sueldo, dinero y bienes sin mas advertencia.
     Hay otros requisitos legales. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
 remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
culegio de abogados locales. AVISO: Parley, la carte tiene derecho a reclamar las cuotas y los costos cxentos por imponer un gravamen sobre
cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerclo o una concesian de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
 The name and address of the court is:
(El nombre y direccion de la corte es):        North County Superior Court                               37-2020-00038158- C U-We- N`c;                                "L.

                                       325 South Melrose Dr.
                                        Vista, CA 92081
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcciOn y el numero;
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
                                                                                                                               -a           -
Jihad Smaili (262219), Smaili & Associates, P.C., 600W. Santa Ana Blvd., Ste 202, Santa Ana, CA, 92701; 714-547-4700
 DATE:                                                                                   Clerk, by                                                 _ ;Deputy
                                                                                                                                                         .
              10/22/2020
(Fecha)                                                                                  (Secretario)                                              (Adjunto)                 ,
                                                                                                                    M. Clemens
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el forrnulario Proof of Service of Summons,(POS-010).)
                                      NOTICE TO THE PERSON SERVED: You are served
                                      1.          as an individual defendant.
                                      2.          as the person sued under the fictitious name of (specify):

                                      3.          on behalf of(specify):,hCOC\\

                                           under:)( CCP 416.10 (corporation)
                                                                                                 oecivw)calie CrowliCCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                          CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                          other (specify):
                                     4.           by personal delivery on (date)
                                                                                                                                                        Page 1 of 1
Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure §§ 412.20, 465
                                                                      SUMMONS
Judicial Council of California                                                                                                                    www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
   Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.56 Page 32 of 167
                                                                                                                                                            CM-010
    ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):                                               FOR COURT USE ONLY
  —Jihad M. Smaili, Esq.(SBN 262219)
   Smaili & Associates, P.C.                                                                                  ELECTRONICALLY FILED
   600W.Santa Ana Blvd., Suite 202                                                                             Superior Court of California,
   Santa Ana, CA 92701                                                                                            County of San Diego
           TELEPHONE NO.:     714-547-4700                      FAX NO.:
                              Plaintiff                                                                        1011612020 at 02:06:31 PM
    ATTORNEY FOR (Name):
  SUPERIOR COURT OF CALIFORNIA.COUNTY OF San Diego                                                             Clerk of the Superior Court
      STREET ADDRESS: 325 South Melrose Dr.
                                                                                                             y Mchael Clemens,Deputy Clerk
         MAILING ADDRESS:
       an,AND ZIP CODE:Vista, CA 92081
           EiFtANCH NAME: North County Superior Court
     CASE NAME:
     Katherine Williams v. Acadia Healthcare Company, Inc. d/b/a Mission Treatment Services, Inc.

      CIVIL CASE COVER SHEET                           Complex Case Designation            37-2020-00038158- C U-INT- NC
  Fl    Unlimited     El Limited
                                                         Counter       Fl Joinder
       (Amount              (Amount                                                         JUDGE:
        demanded             demanded is          Filed with first appearance by defendant         Judge Jacqueline M. Stem
        exceeds $25,000)    $25,000 or less)          (Cal. Rules of Court, rule 3.402)      DEPT:

                                Items 1-6 below must be completed(see instructions on page 2).
  1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                           Provisionally Complex Civil Litigation
      =1 Auto (22)
      r                                                    n Breach of contract/warranty(06) (Cal. Rules of Court, rules 3.400-3.403)
      ri    Uninsured motorist(46)                         ri    Rule 3.740 collections(09)         Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                    Other collections(09)              Construction defect(10)
     Damage/Wrongful Death)Tort                            El Insurance coverage (18)               Mass tort(40)
     ill=1 Asbestos(04)                                L I Other contract(37).                           Securities litigation (28)
      El   Product liability (24)                       Real Property                                    Environmental/Toxic tort(30)
     1 1 Medical malpractice(45)                           n    E• minent domain/Inverse                 Insurance coverage claims arising from the
      EIIIIOther PI/PD/WD(23)                                 condemnation (14)                          above listed provisionally complex case
      Non-PI/PD/WD (Other)Tort                             -
                                                           17 W• rongful eviction (33)                   types (41)

                                                       T  i   Other    real property(26)          Enforcement of Judgment
           Business tort/unfair business practice (07)
           Civil rights (08)                            Unlawful    Detainer                      n Enforcement of judgment(20)
      LII  Defamation (13)                             El Commercial(31)                          Miscellaneous Civil Complaint
      LII  Fraud (16)                                         Residential(32)                     LII    RICO (27)
      ED Intellectual property (19)                           Drugs(38)                           LIII   Other complaint(not specified above)(42)
           Professional negligence(25)                 Judicial Review                            Miscellaneous Civil Petition
           Other non-PI/PD/WD tort(35)                 =
                                                       I      Asset forfeiture(05)                LI Partnership and corporate governance(21)
      Employment                                       El Petition re: arbitration award (11)
           Wrongful termination (36)
                                                                                                  I I Other petition (not specified above)(43)
                                                       ni W• rit of mandate(02)
           Other employment(15)                               Other judicial review (39)
 2. This case F J is         Ii 1 is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
    a. El Large number of separately represented parties        d. Ell Large number of witnesses
    b.111 Extensive motion practice raising difficult or novel e. Ell Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
    c.LIII Substantial amount of documentary evidence          f. =I Substantial postjudgment judicial supervision
3. Remedies sought(check all that apply): a.1-7 monetary b.                    r--1
                                                                         nonmonetary; declaratory or injunctive relief                         c. n punitive
4. Number of causes of action (specify): 8
5. This case ri is       Fl is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case.(You may us form CM-015.)
 Date: October 15, 2020
Jihad M. Smaili
                                   (TYPE OR PRINT NAME)                                         (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                       NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                           Page 1 of 2
Form Adopted tor Mandatory Use                                                                              Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
  Judicial Council of California                          CIVIL CASE COVER SHEET                                    Cal. Standards of Judicial Administration, std. 3.10
  CM-010[Rev. July 1, 20071                                                                                                                       www.courtinfo.ca.gov
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.57 Page 33 of 167

                                                                                                                                         CM-010
                                      1N$TRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
   To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
   complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
   statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
   one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
   check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
   To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
   sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
   its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
  To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
  owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
  which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
  damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
  attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
  time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
  case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
  To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
  case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
  completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
  complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
  plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
  the case is complex.
                                                             CASE TYPES AND EXAMPLES
 Auto Tort                                         Contract                                          Provisionally Complex Civil Litigation (Cal.
      Auto (22)—Personal Injury/Property                Breach of Contract/Warranty (06)             Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                             Breach of Rental/Lease                        Antitrust/Trade Regulation (03)
      Uninsured Motorist(46)(ifthe                               Contract (not unlawful detainer           Construction Defect(10)
           case involves an uninsured                               or wrongful eviction)                  Claims Involving Mass Tort(40)
           motorist claim subject to                        Contract/Warranty Breach—Seller                Securities Litigation (28)
           arbitration, check this item                         Plaintiff(not fraud or negligence)         Environmental/Toxic Tort(30)
           instead of Auto)                                 Negligent Breach of Contract/                  Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                               Warranty                                       (arising from provisionally complex
 Property Damage/Wrongful Death)                            Other Breach of Contract/Warranty                  case type listed above)(41)
 Tort                                                  Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos(04)                                           book accounts)(09)                             Enforcement of Judgment(20)
          Asbestos Property Damage                          Collection Case—Seller Plaintiff                   Abstract of Judgment(Out of
          Asbestos Personal Injury/                         Other Promissory Note/Collections                       County)
                Wrongful Death                                  Case                                           Confession of Judgment(non-
     Product Liability (not asbestos or                Insurance Coverage (not provisionally                        domestic relations)
          toxic/environmental)(24)                          complex)(18)                                       Sister State Judgment
     Medical Malpractice (45)                               Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice—                              Other Coverage                                        (not unpaid taxes)
                Physicians & Surgeons                  Other Contract(37)                                      Petition/Certification of Entry of
          Other Professional Health Care                    Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                                 Other Contract Dispute                             Other Enforcement of Judgment
     Other PI/PDNVD (23)                          Real Property                                                     Case
         Premises Liability (e.g., slip                Eminent Domain/Inverse                         Miscellaneous Civil Complaint
               and fall)                                    Condemnation (14)                             RICO (27)
          Intentional Bodily Injury/PDNVD             Wrongful Eviction (33)                              Other Complaint(not specified
              (e.g., assault, vandalism)                                                                       above)(42)
                                                      Other Real Property (e.g., quiet title)(26)
         Intentional Infliction of                                                                             Declaratory Relief Only
                                                           Writ of Possession of Real Property                 Injunctive Relief Only(non-
               Emotional Distress                           Mortgage Foreclosure
         Negligent Infliction of                                                                                    harassment)
                                                           Quiet Title
               Emotional Distress                          Other Real Property (not eminent                    Mechanics Lien
         Other PI/PD/WD                                    domain, landlord/tenant, or                        Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                  foreclosure)                                             Case (non-tort/non-complex)
                                                 Unlawful Detainer                                            Other Civil Complaint
    Business Tod/Unfair Business                                                                                  .(non-tort/non-complex)
        Practice (07)                                 Commercial(31)
                                                                                                      Miscellaneous Civil Petition
    Civil Rights (e.g., di§crimination,               Residential(32)                                     Partnership and Corporate
        false arrest)(not civil                       Drugs(38)(if the case involves illegal                  Governance (21)
         harassment)(08)                                   drugs, check this item; otherwise,             Other Petition (not specified
    Defamation (e.g., slander, libel)                      report as Commercial or Residential)
         (13)                                                                                                 above)(43)
                                                 Judicial Review                                              Civil Harassment
    Fraud (16)                                        Asset Forfeiture (05)                                   Workplace Violence
    Intellectual Property(19)                         Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
    Professional Negligence (25)                      Writ of Mandate (02)                                         Abuse
        Legal Malpractice                                  Writ—Administrative Mandamus                       Election Contest
        Other Professional Malpractice                     Writ—Mandamus on Limited Court                     Petition for Name Change
            (not medical or legal)                             Case Matter                                    Petition for Relief From Late
    Other Non-PI/PD/WD Tort(35)                            Writ—Other Limited Court Case                           Claim
Employment                                                     Review                                         Other Civil Petition
    Wrongful Termination (36)                        Other Judicial Review (39)
    Other Employment(15)                                  Review of Health Officer Order
                                                           Notice of Appeal—Labor
                                                              Commissioner Appeals
CM-010 Rey. July 1, 20071                                                                                                               Page 2 of 2
                                                     CIVIL CASE COVER SHEET
   Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.58 Page 34 of 167

                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                                ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION



 CASE NUMBER:37-2020-00038158-CU-WT-NC                     CASE TITLE: Williams vs. Acadia Healthcare Company Inc[IMAGED]


 NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
 three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
               (1)this Alternative Dispute Resolution (ADR)Information form (SDSC form #CIV-730),
               (2)the Stipulation to Use Alternative Dispute Resolution (ADR)form (SDSC form #CIV-359), and
               (3) the Notice of Case Assignment form (SDSC form #CIV-721).

 Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
 community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
 people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
 as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

 Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
 and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

 Potential Advantages and Disadvantages of ADR
 ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
 particular case:

           Potential Advantages                              Potential Disadvantages ,
           • Saves time                                      • May take more time and money if ADR does not
           • Saves money                                       resolve the dispute
           • Gives parties more control over the dispute     • Procedures to learn about the other side's case (discovery),
             resolution process and outcome                    jury trial, appeal, and other court protections may be limited
           • Preserves or improves relationships               or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730(Rev 12-10)     ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION                                                 Page: 1
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 Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
 obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
 parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
 most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
 neutral you are considering, and about their fees.

 Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.qov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that:(1)settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed;(2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3)the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter III and Code Civ. Proc. 4 1141.10 et seq or contact the Arbitration Program Office at(619)
450-7300 for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.gov/adr or contact the
court's Mediation/Arbitration Office at(619)450-7300.

Dispute Resolution Programs Act(DRPA)funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
      • In Central, East, and South San Diego County, contact the National Conflict Resolution Center(NCRC)at
           www.ncrconline.com or(619)238-2400.
      • In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.orq or(760)726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.cioviselfhelpfiowcost.




SDSC CIV-730(Rev 12-10)
                           ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION                                             Page: 2
   Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.60 Page 36 of 167

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:      325 S Melrose DRIVE
 MAILING ADDRESS:     325 S Melrose DRIVE
 CITY AND ZIP CODE:   Vista, CA 92081-6695
 BRANCH NAME:         North County
 TELEPHONE NUMBER: (760)201-8027

 PLAINTIFF(S)/ PETITIONER(S):                Katherine Williams

 DEFENDANT(S)/ RESPONDENT(S): Acadia Healthcare Company Inc


  WILLIAMS VS. ACADIA HEALTHCARE COMPANY INC[IMAGED]
                                                                                             CASE NUMBER:
  NOTICE OF CASE ASSIGNMENT
  and CASE MANAGEMENT CONFERENCE                                                             37-2020-00038158-CU-WT-NC


 CASE ASSIGNED FOR ALL PURPOSES TO:
 Judge: Jacqueline M. Stern                                                           Department: N-27


 COMPLAINT/PETITION FILED: 10/16/2020


TYPE OF HEARING SCHEDULED                               DATE         TIME           DEPT               JUDGE
 Civil Case Management Conference                       06/18/2021   09:00 am       N-27               Jacqueline M. Stem


 Due to the COVID-19 pandemic, all hearings will be conducted remotely until further notice. Absent an order of the court, personal
 appearances at the hearing will not be allowed. For information on arranging telephonic or video appearances, contact CourtCall at
(888)882-6878, or at www.courtcall.com. Please make arrangements with CourtCall as soon as possible.
 A case management statement must be completed by counsel for all parties or self-represented litigants and timely filed with the court
 at least 15 days prior to the initial case management conference.(San Diego Local Rules, Division 11, CRC Rule 3.725).
 All counsel of record or parties in pro per shall appear at the Case Management Conference, be familiar with the case, and be fully
 prepared to participate effectively in the hearing, including discussions of ADR* options.

 IT IS THE DUTY OF EACH PLAINTIFF(AND CROSS-COMPLAINANT)TO SERVE A COPY OF THIS NOTICE WITH THE
 COMPLAINT(AND CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION FORM (SDSC
 FORM #CIV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (ADR)(SDSC FORM #CIV-359), AND OTHER
 DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2.1.5.
ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
DIVISION II, AND WILL BE STRICTLY ENFORCED.
TIME STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have requested and
       been granted an extension of time. General civil cases consist of all civil cases except: small claims proceedings,
       civil petitions, unlawful detainer proceedings, probate, guardianship, conservatorship, juvenile, parking citation
       appeals, and family law proceedings.
COMPLAINTS: Complaints and all other documents listed in SDSC Local Rule 2.1.5 must be served on all named defendants.
DEFENDANT'S APPEARANCE: Defendant must generally appear within 30 days of service of the complaint. (Plaintiff may
      stipulate to no more than 15 day extension which must be in writing and filed with the Court.)(SDSC Local Rule 2.1.6)
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
       the amount of one hundred fifty dollars ($150)on or before the date scheduled for the initial case management conference in
       the action.



COURT REPORTERS: Court reporters are not provided by the Court in Civil cases. See policy regarding normal availability and
unavailability of official court reporters at www.sdcourt.ca.gov.
*ALTERNATIVE DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGES YOU TO CONSIDER UTILIZING VARIOUS
ALTERNATIVES TO TRIAL, INCLUDING MEDIATION AND ARBITRATION, PRIOR TO THE CASE MANAGEMENT CONFERENCE.
PARTIES MAY FILE THE ATTACHED STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FORM #CIV-359).




SDSC CIV-721 (Rev. 01-17)                                                                                                       Page: 1
                                                          NOTICE OF CASE ASSIGNMENT
   Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.61 Page 37 of 167

                                                                                                                              FOR COURT USE ONLY
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
  STREET ADDRESS:           325 S. Melrose
  MAILING ADDRESS:          325 S. Melrose
  CITY, STATE,& ZIP CODE:   Vista, CA 92081-6695
  BRANCH NAME:              North County

   PLAINTIFF(S):       Katherine Williams

   DEFENDANT(S): Acadia Healthcare Company Inc DBA Mission Treatment Services Inc

  SHORT TITLE:         WILLIAMS VS. ACADIA HEALTHCARE COMPANY INC

                            STIPULATION TO USE ALTERNATIVE                                                      CASE NUMBER:
                                                                                                                37-2020-00038158-CU-WT-NC
                               DISPUTE RESOLUTION (ADR)

   Judge: Jacqueline M. Stem                                                                        Department: N-27

   The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
   alternative dispute resolution (ADR)process. Selection of any of these options will not delay any case management timelines.

      LI    Mediation (court-connected)                                  U Non-binding private arbitration

      El    Mediation (private)                                          El Binding private arbitratiOn

      LI    Voluntary settlement conference (private)                    El   Non-binding judicial arbitration (discovery until 15 days before trial)

      LI    Neutral evaluation (private)                                 U Non-binding judicial arbitration (discovery until 30 days before trial)

      LI    Other (specify e.g., private mini-trial, private judge, etc.):




   It is also stipulated that the following shall serve as arbitrator, mediator or other neutral:(Name)




   Alternate neutral (for court Civil Mediation Program and arbitration only):


   Date:                                                                                    Date:




   Name of Plaintiff                                                                         Name of Defendant




  Signature                                                                                  Signature



   Name of Plaintiffs Attorney                                                               Name of Defendant's Attorney




  Signature                                                                                 Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.

  Dated: 10/22/2020                                                                                         JUDGE OF THE SUPERIOR COURT

SDSC CIV-359(Rev 12-10)                                                                                                                                 Page: 1
                                   STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
 Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.62 Page 38 of 167




     Jihad M. Smaili, Esq.[262219]
 1
     SMAILI & ASSOCIATES,PC
 2   Civic Center Plaza Towers
     600 W. Santa Ana Blvd., Suite 202
 3   Santa Ana, California 92701
     714-547-4700
 4
     714-547-4710 (facsimile)
 5   iihad smaililaw.com

 6   Attorneys for Plaintiff
 7
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                FOR THE COUNTY OF SAN DIEGO
 9
10    KATHERINE WILLIAMS,an                   Case No.: 37-2020-00038158-CU-WT-NC
     individual;
11

12                 Plaintiff,

13                                                     PLAINTIFF'S STATEMENT OF
            V.
                                                          PUNITIVE DAMAGES
14                                                           [CCP §425.115]
     ACADIA HEALTHCARE
15   COMPANY,INC. d/b/a MISSION
     TREATMENT SERVICES,INC., a
16
     corporate entity form unknown;and
17   DOES 1-5Q inclusive,
                    Defendants.
18
19   NOTICE TO: ACADIA HEALTHCARE COMPANY,INC. d/b/a MISSION
20   TREATMENT SERVICES,INC.,a corporate entity form unknown; and DOES
     1-50,inclusive,
21
22   Plaintiff Katherine Williams reserves the right to seek $100,000.00 in punitive
     damages against each of you when she seeks a judgment in the above captioned
23   lawsuit filed against you.
24
     Dated: May 11,2021                  SMAILI & ASSOCIATES, P.C.
25
26                                             By:               'I
                                                     Jihad M. Smaili, Esq.
27
                                                     Attorneys for Plaintiff
28

                                 STATEMENT OF PUNITIVE DAMAGES
   Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.63 Page 39 of 167




                               Superior Court of California
                                  County of San Diego


              NOTICE OF ELIGIBILITY TO eFILE
         AND ASSIGNMENT TO IMAGING DEPARTMENT

      This case is eligible for eFiling. Should you prefer to electronically file documents, refer to
General Order in re procedures regarding electronically imaged court records, electronic filing,
and access to electronic court records in civil and probate cases for rules and procedures or
contact the Court's eFiling vendor at www.onelegal.com for information.

       This case has been assigned to an Imaging Department and original documents attached to
pleadings filed with the court will be imaged and destroyed. Original documents should not be
filed with pleadings. If necessary, they should be lodged with the court under California Rules of
Court, rule 3.1302(b).

        On August 1, 2011 the San Diego Superior Court began the Electronic Filing and Imaging Pilot
Program ("Program"). As of August 1, 2011 in all new cases assigned to an Imaging Department all
filings will be imaged electronically and the electronic version of the document will be the official
court file. The official court file will be electronic and accessible at one of the kiosks located in the
Civil Business Office and on the Internet through the court's website.

        You should be aware that the electronic copy of the filed document(s) will be the official court
record pursuant to Government Code section 68150. The paper filing will be imaged and held for
30 days. After that time it will be destroyed and recycled. Thus, you should not attach any
original documents to pleadings filed with the San Diego Superior Court. Original documents
filed with the court will be imaged and destroyed except those documents specified in
California Rules of Court, rule 3.1806. Any original documents necessary for a motion hearing or
trial shall be lodged in advance of the hearing pursuant to California Rules of Court, rule 3.1302(b).

       It is the duty of each plaintiff, cross-complainant or petitioner to serve a copy of this notice with
the complaint, cross-complaint or petition on all parties in the action.

       On all pleadings filed after the initial case originating filing, all parties must, to the extent it is
feasible to do so, place the words "IMAGED FILE"in all caps immediately under the title of the
pleading on all subsequent pleadings filed in the action.




                                                                                                         Page: 2
                      Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.64 Page 40 of 167



                                                                                        ELECTRONICALLY FILED
                           Jihad M. Smaili, Esq.[262219]                                 Superior Court of California.
                       I                                                                    County of San Diego
                           SMAILI & ASSOCIATES,PC
                      2    Civic Center Plaza Towers                                      10/16/2020 at 02:06:31 PM
                           600 W. Santa Ana Blvd., Suite 202                              Clerk of the Superior Court
                      3    Santa Ana, California 92701                                 By hAchael Clemens,Deputy Clerk
                           714-547-4700
                      4
                           714-547-4710 (facsimile)
                      5    iihad@smaililaw.com

                      6    Attorney for Plaintiff
                      7
                      8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                      9                              FOR THE COUNTY OF SAN DIEGO
                     10                                                         37-2020-00038158-CU-INT-NC
                           KATHERINE WILLIAMS,an          ) Case No.:
                      11   individual;                    ) Assigned for all purposes to the
                                                          )
                      12
k a55oriate5, V.C.




                                     Plaintiff,           )
                      13                                  ) COMPLAINT:
                                v.                        )    1. Discrimination in Violation of Gov. Code
                      14                                  )        §12940 et seq.
                         ACADIA HEALTHCARE COMPANY,)           2.  Age Discrimination in Violation of Gov.
                     15 INC. d/b/a MISSION TREATMENT )             Code §12940 et seq.
                                                               3. Failure to Prevent Discrimination in
                     16 SERVICES,INC., a corporate entity )
    gPIIIIIiii




                         form unknown; and DOES 1-50,     )        Violation of Gov. Code § 12940(k)
                     17 inclusive,                        )    4.  Failure to Accommodate in Violation of Gov.
                                                          )        Code § 12940(m)
                     18                                        5.  Failure to Engage in Interactive Process in ,
                                                                                                               r
                                     Defendants.          )                                                      •   •         "
                                                                   Violation  of Gov. Code  § 12940(n)                 cf, ,••
                     19                                   )
                                                          )    6. Retaliation in Violation of Gov. Code          •    ';z:
                                                                                                                       "        c•-•
                     20                                   )       §12940(h)                                                 -        •
                                                               7. Wrongful Termination                            ▪     r--
                                                          )
                     21                                        8. Violation of Business & Professions Code                   CA°
                                                                                                                                   Cr;
                                                                                                                                         (.1

                                                          )
                                                          )        § 17200 et seq.
                     22
                                                                                                                         --- noir. -Y1
                                                          )           DEMAND FOR JURY TRIAL                                        -

                     23                                   )          UNLIMITED JURISDICTION                      kJ,

                                                          )
                     24
                                                          )
                     25                                   )
                                                          )
                     26
                                                          )
                     27
                     28

                                                                   COMPLAINT
                               Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.65 Page 41 of 167




                                1   Plaintiff Katherine Williams (hereinafter "Plaintiff" and/or "Williams") alleges as
                                2   follows:
                                3                                         THE PARTIES
                                4            1.    At all times mentioned herein, and at the time the causes of action arose,
                                5   Plaintiff was and is an individual.
                                6            2.    Plaintiff is informed and believes and thereon alleges that at all times
                                7   mentioned herein, Defendant Acadia Healthcare Company, Inc. d/b/a Mission Treatment
                                8   Services, Inc. ("Company"), is a corporate entity, form unknown, regularly conducting
                                9   business in the State of California, and specifically, in the County of San Diego. Plaintiff
                               10   is further informed and believes and thereon alleges that Company was transacting
                               11   business in the County of San Diego, State of California, at the time claims of Plaintiff
                               12   arose.     At all times relevant, Company was an employer within the meaning of
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                               13   Government Code §12926(d) and as such was barred from, inter alia, harassing,
                               14   discriminating or retaliating against Plaintiff in personnel, scheduling, employment,
                               15   promotion, advancement, retention, hiring, terminating and other decisions relating to
                               16   Plaintiff's employment on the basis of age, race, physical disability or medical condition,
                               17   participation in protected activity, and other immutable characteristics.
                               18            3.    The true names and capacities, whether individual, corporate, associate, or

                               19   otherwise, of Defendants DOES 1-50, inclusive, are currently unknown to Plaintiff,
                               20   who therefore sues said Defendants by such fictitious names. Plaintiff will seek leave to
                               21   amend this complaint to show their true names and capacities when ascertained. Plaintiff
                               22   is informed and believes and thereon alleges that each Defendant named herein as a DOE

                               23   was responsible in some manner for the occurrences and damages alleged herein.

                               24            4.   Each reference in this complaint to "Defendant" and/or "Defendants" refers

                               25   to Company, and also refers to all Defendants sued under fictitious names, jointly and

                               26   severally.

                               27            5.   Plaintiff is informed and believes and thereon alleges that Defendants, and

                               28   each of them, are now and/or at all times mentioned in this Complaint were in some

                                                                            COMPLAINT

                                                                                 2
                             Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.66 Page 42 of 167




                              1   manner legally responsible for the events, happenings and circumstances alleged in this
                              2   Complaint.     Plaintiff is further informed and believes and thereon alleges that
                              3   Defendants, and each of them, proximately subjected Plaintiff to the unlawful practices,
                              4   wrongs, complaints, injuries and/or damages alleged in this Complaint. Likewise,
                              5   Defendants, and each of them are now and/or at all times mentioned in this Complaint
                              6   were the agents, servants and/or employees of some or all other Defendants, and vice-
                              7   versa, and in doing the things alleged in this Complaint, Defendants are now and/or at all
                              8   times mentioned in this Complaint were acting within the course and scope of that
                              9   agency, servitude and/or employment.
                             10         6.      Plaintiff is informed and believes and thereon alleges that Defendants, and
                             11   each of them, are now and/or at all times mentioned in this Complaint were members of
                             12   and/or engaged in a joint venture, partnership and common enterprise, and were acting
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                             13   within the course and scope of, and in pursuance of said joint venture, partnership and
                             14   common enterprise.
                             15         7.      Plaintiff is informed and believes and thereon alleges that Defendants, and
                             16   each of them, at all times mentioned in this Complaint, concurred and contributed to the
                             17   various acts and omissions of each and every one of the other Defendants in proximately
                             18   causing the complaints, injures and/or damages alleged in this Complaint. Plaintiff is
                             19   further informed and believes and thereon alleges that Defendants, and each of them, at
                             20   all times mentioned in this Complaint, approved of condoned and/or otherwise ratified
                             21   each and every one of the acts and/or omissions alleged in this Complaint. Likewise,
                             22   Defendants, and each of them, at all times mentioned in this Complaint aided and abetted
                             23   the acts and omissions of each and every one of the other Defendants thereby proximately
                             24   causing the damages alleged in this Complaint.
                             25         8.      Plaintiff is informed and believes and thereon alleges that at all actions

                             26   alleged herein committed by Defendants were committed by managing agents of
                             27   Defendants, or, such conduct was known by and/or ratified by managing agents of
                             28   Defendants.

                                                                         COMPLAINT

                                                                              3
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 I

 2                                VENUE AND JURISDICTION
 3          9.     Venue is proper in this county and this Court has jurisdiction over this
 4   matter because Defendants operate out of Carlsbad, California, and, all of the claims and
 5   causes of action alleged herein occurred and accrued in the County of San Diego, State of
 6   California.
 7                                 FACTUAL BACKGROUND
 8          10.    In or around November 2004, Defendant hired Plaintiff as a Clinic
 9   Director. Her job duties included, but were not limited to, day-to-day responsibilities and
10   operations of the clinic, staffing, conducting performance evaluations, and counseling of
11   outpatients. She earned a monthly salary of $3,000. Plaintiff dedicated 15 years of hard
12   work to Defendant and never received a negative performance evaluation.
13          11.    Plaintiff is 68 years of age.
14          12.    While employed, Plaintiff became aware of plans for a merger between
15   Defendant and another company. On or about November 13, 2018, Plaintiff's physician
16   provided her with a doctor's note to inform Defendant of her Attention Deficit Disorder
17 ("ADD"). Defendant was already aware of her preexisting medical condition and it was
18   also noted in her employee chart. However, Plaintiff wanted to ensure that after
19   Defendant merged with the new company, her new employer would also be aware of the
20   same. As planned, on or about February 15, 2019, Acadia Healthcare merged with
21   Mission Treatment Services.
22          13.    On or about May 7, 2019, Regional Director, Christie Enos ("Enos")
23   inquired about Plaintiff's plans for retirement. During their conversation, Plaintiff
24   informed Enos that the webinars were not adequate training and kindly requested one-on-
25   one training. Enos quickly denied her request and mentioned, "It's not Acadia's way."
26   Plaintiff was stunned at how quickly she was dismissed given that she needed the
27   additional resource as an accommodation for her disability.
28

                                             COMPLAINT

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                            Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.68 Page 44 of 167




                            1           14.    On or about May 14, 2019, Plaintiff attempted to complain to Defendant's
                            2   newly appointed Human Resources ("HR") Director, Jeff Rummel ("Rummel"), about
                            3   her stress and ongoing issues with Enos. However, Rummel never gave Plaintiff the
                            4   opportunity to voice her concerns. He dismissively directed her to speak with Enos
                            5   regarding her issues. This was simply not possible as the issues concerned Enos herself
                            6   and thus would need to be addressed by another agent of Defendant. Thus, despite being
                            7   aware of her work-related disability, Defendant failed to provide an accommodation,
                            8   refused to engage Plaintiff in a good faith interactive process, and did not provide
                            9   workers' compensation paperwork.
                           10          15.    On or about June 4, 2019, Defendant's former President, Peter Morris
                           1 1 ("Morris") and Regional Vice President, Tim Sanderson ("Sanderson") held an important
                           12   meeting. During this meeting, Plaintiff kindly asked if she could speak with them about
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                           13   her work-related stress, anxiety, and issues with Enos. Morris and Sanderson refused to
                           14   speak with Plaintiff and instructed her to approach Enos only. Plaintiff simply asked if
                           15   she could send them e-mail disclosing information, but Morris and Sanderson
                           16   immediately interrupted stating, "No. Do not send any communication to us." Plaintiff
                           17   was shut down and prevented from voicing her legitimate concerns about her workplace.
                           18          16.    Left without options, Plaintiff filed for FMLA on or about June 10, 2019,
                           19   and was placed off work until August 26, 2019. Plaintiff also filed for workers'
                           20   compensation on or about July 3, 2019.
                           21          17.    On or about August 26, 2019, Plaintiff anticipated returning to work after
                           22   being released by her doctor. However, her doctor extended her disability status and
                           23   Plaintiff was not cleared to return.
                           24          18.    Throughout her employment with Defendant, Plaintiff suffered from
                           25   multiple work-related disabilities. As previously mentioned, Plaintiff was diagnosed with
                           26   ADD, alongside severe stress, depression, insomnia, and headaches. Plaintiff also had
                           27   difficulty with her vision. In or around 2019, Plaintiff was diagnosed with Carpal Tunnel
                           28   Syndrome, as a result of the nature of her work with Defendant. Plaintiff made Defendant

                                                                       COMPLAINT

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  1   aware of all her disabilities and pain on numerous occasions. Defendant repeatedly failed
 2    to provide a reasonable accommodation, refused to engage in a good faith interactive
 3    process, and did not provide her with workers' compensation paperwork. Further,
 4    Plaintiff was forced to work through her pain and disabilities which exacerbated her
 5    injuries due to Defendant's disregard.
 6           19.    After the company merger, Plaintiff's duties changed overnight. Defendant
 7    did not provide Plaintiff with the necessary training to fulfill expectations and instead,
 8    denied her request for assistance.
 9           20.    Defendant's agent, Enos, constantly threatened Plaintiff after Plaintiff
10    lodged complaints about her. Defendant's agent stated that, "[Defendant] is big on
11    insubordination,"—a statement that Plaintiff reasonably interpreted to be a threat in
12    retaliation for her participation in protected conduct.
13           21.    Additionally, Defendant discriminated against Plaintiff on account of her
14    age. Enos repeatedly asked about Plaintiff's plans for retirement. Moreover, Plaintiff and
15    another mature co-worker viz. "Barbara" were denied proper training. In fact, when co-
16    worker, Celina Maham ("Maham"), attempted to help teach Plaintiff and Barbara,
17    Defendant's agent, Enos reprimanded Maham for doing so.
18          22.     On or about September 27, 2019, Defendant replaced Plaintiff with another
19    employee. Plaintiff is informed and believes that her replacement, all subsequent
20    replacements, have been significantly younger and less experienced than her.
21          23.     On or about December, 15, 2019, Plaintiff's doctor released Plaintiff back
22    to work. Plaintiff submitted requisite paperwork and communicated with RR
23    representative, Scott Allen. However, Defendant refused to put her into the schedule.
24    Plaintiff is informed and believes that Defendant terminated her employment on or about
25    December 15, 2019.
26          24.     Prior to filing this lawsuit, Plaintiff exhausted her administrative remedies
27    by timely filing a complaint with the Department of Fair Employment and Housing
28 (DFEH)and receiving a right-to-sue notice dated March 30, 2020.

                                               COMPLAINT

                                                    6
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 I                                  FIRST CAUSE OF ACTION
 2                           DISCRIMINATION IN VIOLATION OF
 3                   CALIFORNIA GOVERNMENT CODE § 12940 et seq.
 4                                   (Against All Defendants)
 5          25.    Plaintiff refers to all allegations contained in paragraphs 1-24, inclusive and
 6   by such reference incorporates the same herein as though fully realleged in detail.
 7          26.     California law, and particularly the Fair Employment and Housing Act
 8 ("FEHA"), codified at Government Code §12900 et seq., prohibits discrimination against

 9   persons with a physical condition or disability, which is broadly defined therein, and
10   which includes even the perception that a person has a medical or mental condition
11   and/or physical condition or disability. FEHA further prohibits discrimination based
12   upon, inter alia, age, race, gender, sexual orientation, national origin, pregnancy and
13   other immutable characteristics.
14          27.    Plaintiff has a disability as alleged above.
15          28.    Defendant was aware of Plaintiffs on the job injury and her resulting
16   disability, as herein alleged, because Plaintiff specifically reported said disability directly
17   to Defendant via Defendant's supervisors and managing agents.
18          29.    At all times herein alleged, Plaintiff was qualified for the position of
19   employment that she held with Defendant and was able to perform the essential functions
20   ofthatjob.
21          30.    Plaintiff is informed and believes and thereon alleges that as a direct and
22   proximate result of Plaintiffs disability, Defendant refused to engage Plaintiff in an
23   interactive process, refused to communicate with Plaintiff, refused to accommodate
24   Plaintiff 's medical restrictions, denied Plaintiff opportunity for advancement, promotion
25   and the ability to earn a living, and terminated Plaintiff.
26          31.    Defendant's discriminatory action against Plaintiff, as alleged above,
27   constitutes unlawful discrimination in employment on account of Plaintiffs disability in
28   violation of FEHA, and particularly Gov't Code §12940(a).

                                              COMPLAINT

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                             Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.71 Page 47 of 167




                             I          32.    As a direct, foreseeable, and proximate result of Defendant's discriminatory
                             2   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
                             3   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                             4   amounts of money Plaintiff would have received but for Defendants' discriminatory
                             5   conduct, all in an amount subject to proof at the time of trial, but believed to be no less
                             6   than three hundred thousand dollars.
                             7          33.    As a direct, foreseeable, and proximate result of the wrongful conduct of
                             8   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
                             9   distress and anguish, humiliation, anxiety, and medical expenses all to Plaintiff damage
                            10   in an amount subject to proof at trial.
                            11          34.    Plaintiff is informed and believes and thereon alleges that the above-alleged
                            12   actions of Defendant were the result and consequence of Defendant's failure to supervise,
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                            13   control, direct, manage, and counsel those agents throughout Plaintiff 's employment and
                            14   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                            15   enabled agents to believe that their conduct was appropriate.
                            16          35.    Defendant, and each of them, failed to offer counseling or comfort to
                            17 Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                            18   workplace.
                            19          36.    Plaintiff is informed and believes and thereon alleges that Defendant has a
                            20   systemic and wide-spread policy of discriminating against and retaliating against
                            21   employees with disabilities. By failing to stop the discrimination, harassment and
                            22   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                            23   directly caused a vicious cycle of wrongful conduct with impunity.
                            24          37.    Plaintiff is informed and believes and thereon alleges that Plaintiff's on the
                            25 job injury and resulting disability was a motivating factor in the decision of Defendant to
                            26   discriminate against her.
                            27          38.    The outrageous conduct of Defendant, and each of them, as alleged herein,
                            28   was done with oppression and malice by Defendant and its supervisors and managers,

                                                                           COMPLAINT

                                                                               8
                              Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.72 Page 48 of 167




                               1   along with conscious disregard of Plaintiff's rights, and were ratified by those other
                               2   individuals who were managing agents of Defendant.
                               3          39.    The conduct of Defendant as alleged hereinabove was done with malice,
                               4   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
                               5   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                               6          40.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
                               7   amount according to proof at the time of trial which fees and expenses are recoverable
                               8   pursuant to Gov't Code §12900 et seq.
                               9                               SECOND CAUSE OF ACTION
                              10                                  AGE DISCRIMINATION
                              11                     IN VIOLATION OF GOV.CODE § 12940 et seq.
                              12                                  (Against all Defendants)
)iiiaili & R550tidte5, V.C.




                              13          41.   Plaintiff refers to all allegations contained in paragraphs 1-40, inclusive and
                              14   by such reference incorporates the same herein as though fully realleged in detail.
                              15          42.    At all times herein mentioned, Gov't Code §§12940(a) and 12941 were in
                              16   full force and effect and were binding on Defendant. These sections require Defendant to
                              17   refrain from discriminating against any employee over the age of40 because of their age.
                              18          43.   At the time of Plaintiff's termination, and at all times that Defendant was
                              19   discriminating against Plaintiff as alleged herein, Plaintiff was over the age of 40.
                              20   Plaintiff is informed and believes and thereon alleges that after years of wholly
                              21   satisfactory, competent and diligent performance to the profit of Defendants, that
                              22   Plaintiff's age, being over 40, was a motivating factor in Defendants' decision to
                              23   terminate Plaintiff's employment. Said conduct by Defendants was intentional and
                              24   willful.
                              25          44.   Plaintiff is informed and believes and thereon alleges that Plaintiff was
                              26   replaced with an employee below the age of 40.
                              27

                              28

                                                                           COMPLAINT

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 Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.73 Page 49 of 167




 1          45.    Defendant was aware of Plaintiff's age, as herein alleged, because Plaintiff
 2   maintained Plaintiff's personnel file which specifically contained the date of Plaintiff's
 3   birth and her corresponding age.
 4          46.    At all times herein alleged, Plaintiff was qualified for the position of
 5   employment that she held with Defendant and was able to perform the essential functions
 6   ofthat job.
 7          47.    Plaintiff is informed and believes and thereon alleges that as a direct and
 8   proximate result of Plaintiff's age, Defendant decided to terminate Plaintiff's
 9   employment, and in fact, did terminate Plaintiff's employment.
10          48.    Defendants' discriminatory action against Plaintiff, as alleged above,
11   constitutes unlawful discrimination in employment on account of Plaintiff's age in
12   violation of FEHA, and particularly Gov't Code §12940.
13          49.    As a direct, foreseeable, and proximate result of Defendants' discriminatory
14   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
15   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
16   amounts of money Plaintiff would have received but for Defendant's discriminatory
17   conduct, all in an amount subject to proof at the time of trial.
18          50.    As a direct, foreseeable, and proximate result of the wrongful conduct of
19   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
20   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
21   amount subject to proof at trial.
22          51.    Plaintiff is informed and believes and thereon alleges that the above-alleged
23   actions of Defendant were the result and consequence of Defendant's failure to supervise,
24   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
25   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
26   enabled agents to believe that their conduct was appropriate.
27

28

                                              COMPLAINT

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        Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.74 Page 50 of 167




         1          52.     Defendants, and each of them, failed to offer counseling or comfort to
         2   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
         3   workplace.
         4          53.     Plaintiff is informed and believes and thereon alleges that Defendant has a
         5   systemic and wide-spread policy of discriminating against and retaliating against
         6   employees over the age of 40. By failing to stop the discrimination, harassment and
         7   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
         8   directly caused a vicious cycle of wrongful conduct with impunity.
         9          54.     The outrageous conduct of Defendant, and each of them was done with
        10   oppression and malice by Defendant and its supervisors and managers, along with
        11   conscious disregard of Plaintiff's rights, and were ratified by those other individuals who
        12   were managing agents of Defendant.
        13          55.     Plaintiff also continues to incur attorneys' fees and legal expenses in an
        14   amount according to proof at the time of trial which fees and expenses are recoverable
tT111   15   pursuant to Gov't Code §12900 et seq.
        16                                 THIRD CAUSE OF ACTION
        17                FAILURE TO PREVENT DISCRIMINATION IN VIOLATION
        18                   OF CALIFORNIA GOVERNMENT CODE § 12940(k)
        19                                   (Against All Defendants)
        20          56.     Plaintiff refers to all allegations contained in paragraphs 1-55, inclusive and
        21   by such reference incorporates the same herein as though fully realleged in detail.
        22   During the course of employment, Defendant, and each of them, failed to prevent or
        23   remedy discrimination, retaliation and harassment toward Plaintiff on the basis of her
        24   perceived disability and participation in protected conduct in violation of Government
        25   Code §12940(k).
        26          57.     As a direct result of the wrongful conduct of Defendant, Plaintiff suffered,
        27   and continues to suffer, substantial losses in earnings and other benefits in an amount
        28   according to proof at the time trial, including special and general damages.

                                                      COMPLAINT

                                                           11
       Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.75 Page 51 of 167




        1          58.    As a direct, foreseeable, and proximate result of the wrongful conduct of
        2 Defendant, Plaintiff has suffered and continues to suffer emotional distress and anguish,
        3   humiliation, substantial losses in salary, bonuses, job benefits, and other employment
        4   benefits which her would have received all to her damage in a sum within the jurisdiction
        5   ofthe Court to be ascertained according to proof.
        6          59.    Plaintiff is informed and believes and thereon alleges that the outrageous
        7   conduct of Defendant, and each ofthem, as alleged herein, was done with oppression and
        8   malice by Plaintiff's supervisors and managers, along with conscious disregard of
        9 Plaintiff's rights, and were ratified by those other individuals who were managing agents
       10   of Defendant.
       11          60.    As a proximate result of the wrongful conduct of Defendant, and each of
       12   them, Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
       13   mental and physical pain and anguish according to proof at the time of trial.

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 "
       14          61.    These unlawful acts were further encouraged by Defendant and done with a
e
Inrl   15   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of
       16   injuring Plaintiff   The conduct of Defendant alleged hereinabove was done with malice,
       17 fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
       18         61.     As such, Plaintiff is entitled to punitive damages within the meaning of Civ.
       19   Code §3294.
       20         62.     Plaintiff has also incurred and continues to incur attorneys' fees and legal
       21   expenses in an amount according to proof at the time of trial.
       22                               FOURTH CAUSE OF ACTION
       23          FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF
       24                    CALIFORNIA GOVERNMENT CODE § 12940(m)
       25                                  (Against All Defendants)
       26         63.     Plaintiff refers to all allegations contained in paragraphs 1-62, inclusive and
       27   by such reference incorporates the same herein as though fully realleged in detail.
       28         64.     Plaintiff has a disability as alleged above.

                                                    COMPLAINT

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     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.76 Page 52 of 167




      1            65.   Defendant was aware of Plaintiff's disability, as alleged above and herein.
      2            66.   Defendant failed and refused to accommodate Plaintiff's needs, and, failed
      3   and refused to engage in an interactive process with Plaintiff, and, failed to address
      4   Plaintiff's needs in light of her disabilities.
      5            67.   At all times herein alleged, Plaintiff was qualified for the position of
      6   employment that she held with Defendant and was able to perform the essential functions
      7   of that job if such reasonable accommodation had been made by Defendant. At no time
      8   would the performance of the functions of the employment position, with a reasonable
      9   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
     10   person's health or safety, nor would it have created an undue hardship to the operation of
     11   Defendant's business.
     12            68.   Defendant's failure to accommodate Plaintiff, as alleged above, constitutes
     13   unlawful conduct in employment in violation of FEHA, and particularly Gov 't Code
     14   §12940.
     15            69.   As a direct, foreseeable, and proximate result of Defendant's wrongful
     16   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
,p
     17   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
     18   amounts of money Plaintiff would have received but for Defendant's wrongful conduct,
     19   in an amount of at least three hundred thousand dollars, all subject to proof at the time of
     20   trial.
     21            70.   As a direct, foreseeable, and proximate result of the wrongful conduct of
     22   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
     23   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
     24   amount subject to proof at trial.
     25            71.   Plaintiff is informed and believes and thereon alleges that the above-alleged
     26   actions of Defendant were the result and consequence of Defendant's failure to supervise,
     27   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
     28

                                                    COMPLAINT

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                             Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.77 Page 53 of 167




                             1   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                             2   enabled agents to believe that their conduct was appropriate.
                             3          72.   Defendant, and each of them, failed to offer counseling or comfort to
                             4 Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                             5   workplace.
                             6          73.   Plaintiff is informed and believes and thereon alleges that Defendant has a
                             7   systemic and wide-spread policy of discriminating against and retaliating against
                             8   employees with disabilities.    By failing to stop the discrimination, harassment and
                             9   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                            10   directly caused a vicious cycle of wrongful conduct with impunity.
                            11         74.    Plaintiff is informed and believes and thereon alleges that Defendant's
                            12   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
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                            13   Defendant to discriminate against her.
                            14         75.    The outrageous conduct of Defendant, and each of them, as alleged herein,
                            15   was done with oppression and malice by Defendant and its supervisors and managers,
                            16   along with conscious disregard of Plaintiff's rights, and were ratified by those other
                            17   individuals who were managing agents of Defendant.
                            18         76.    The conduct of Defendant as alleged hereinabove was done with malice,
                            19 fraud, or oppression, and in reckless disregard of Plaintiff's rights under California law.
                            20   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                            21         77.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
                            22   amount according to proof at the time of trial which fees and expenses are recoverable
                            23   pursuant to Gov't Code §12900 et seq.
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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.78 Page 54 of 167




 1                                   FIFTH CAUSE OF ACTION
 2                 FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS IN
 3               VIOLATION OF CALIFORNIA GOVERNMENT CODE § 12940(n)
 4                                    (Against All Defendants)
 5           78.     Plaintiff refers to all allegations contained in paragraphs 1-77, inclusive and
 6   by such reference incorporates the same herein as though fully realleged in detail.
 7           79.     Plaintiff has a disability as alleged above.
 8           80.     Defendant was aware of Plaintiff's disability, as alleged above and herein.
 9           81.     Defendant failed and refused to engage Plaintiff in an interactive process
10   designed to unite Plaintiff with her job.
11           82.     At all times herein alleged, Plaintiff was qualified for the position of
12   employment that she held with Defendant and was able to perform the essential functions
13   of that job if such reasonable accommodation had been made by Defendant. At no time
14   would the performance of the functions of the employment position, with a reasonable
15   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
16   person's health or safety, nor would it have created an undue hardship to the operation of
17   Defendant's business.
18           83.     Defendant's failure to engage with Plaintiff in an interactive process, as
19   alleged above, constitutes unlawful conduct in employment in violation of FEHA, and
20   particularly Gov't Code §12940.
21           84.     As a direct, foreseeable, and proximate result of Defendant's wrongful
22   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
23   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
24   amounts of money Plaintiff would have received but for Defendant's wrongful conduct,
25   all in an amount no less than three hundred thousand dollars, subject to proof at the time
26   of trial.
27           85.     As a direct, foreseeable, and proximate result of the wrongful conduct of
28   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional

                                               COMPLAINT

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 1   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
 2   amount subject to proof at trial.
 3          86.    Plaintiff is informed and believes and thereon alleges that the above-alleged
 4   actions of Defendant were the result and consequence of Defendant's failure to supervise,
 5   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
 6   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
 7   enabled agents to believe that their conduct was appropriate.
 8          87.    Defendant, and each of them, failed to offer counseling or comfort to
 9   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
10   workplace.
11          88.    Plaintiff is informed and believes and thereon alleges that Defendant has a
12   systemic and wide-spread policy of discriminating against and retaliating against
13   employees with disabilities.        By failing to stop the discrimination, harassment and
14   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
15   directly caused a vicious cycle of wrongful conduct with impunity.
16          89.    Plaintiff is informed and believes and thereon alleges that Defendant's
17   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
18   Defendant to discriminate against her and ultimately terminate her.
19         90.     The outrageous conduct of Defendant, and each of them, as alleged herein,
20   was done with oppression and malice by Defendant and its supervisors and managers,
21   along with conscious disregard of Plaintiff's rights, and were ratified by those other
22   individuals who were managing agents of Defendant.
23         91.     The conduct of Defendant as alleged hereinabove was done with malice,
24   fraud or oppression, and in reckless disregard of Plaintiffs rights under California law.
25   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
26         92.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
27   amount according to proof at the time of trial which fees and expenses are recoverable
28   pursuant to Gov't Code §12900 et seq.

                                               COMPLAINT

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 1                                     SIXTH CAUSE OF ACTION
 2                                RETALIATION IN VIOLATION OF
 3                         CALIFORNIA GOVERNMENT CODE §12940(h)
 4                                      (Against All Defendants)
 5          93.    Plaintiff refers to all allegations contained in paragraphs 1-92, inclusive,
 6   and by such reference incorporates the same herein as though fully realleged in detail.
 7          94.    At all times herein mentioned,FEHA, Government Code §12940(h), was in
 8   full force and effect and was binding on Defendant. This statute requires Defendant to
 9   refrain from retaliating against Plaintiff
10          95.    Plaintiff is informed and believes and thereon alleges that as a consequence
11   of lodging complaints with Defendants about the harassing and discriminatory acts being
12   committed against Plaintiff, coupled with Plaintiff's disability sustained while on-the-job
13   for which workers compensation coverage was required along with reasonable
14   accommodation, Defendant took retaliatory action against Plaintiff by failing to conduct a
15   good faith interactive process aimed at reuniting Plaintiff with Plaintiff job, failing to
16   determine the essential functions of Plaintiff's job, mistreat Plaintiff, and deny Plaintiff
17   advancement and promotion.
18          96.    Defendant unlawfully retaliated against Plaintiff after she engaged in
19   protected activity after being injured on the job, such as without limitation, filing or
20   intending to file for workers' compensation benefits due to safety concerns and
21   requesting accommodation, and, lodging workplace complaints related to the harassment
22   and discrimination that she was facing, and other complaints of a hostile and unsafe
23   working environment.
24         97.     As a proximate result of Defendant's willful, knowing, and intentional
25   conduct against Plaintiff, she has sustained and continues to sustain substantial losses in
26   Plaintiff earnings and other employment benefits and continues to suffer humiliation,
27   emotional distress, and mental and physical pain an and anguish, and sleep dysfunction,
28   all to Plaintiff damage in a sum according to proof

                                              COMPLAINT

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                          Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.81 Page 57 of 167




                           1          98.    These unlawful acts were further encouraged by Defendant and done with a
                           2   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of
                           3   injuring Plaintiff. In light of Defendant's willful, knowing, and intentional discrimination
                           4   against Plaintiff which culminated in Plaintiff discharge, Plaintiff seeks an award of
                           5   punitive and exemplary damages in an amount according to proof
                           6          99.    Plaintiff has incurred and continues to incur legal expenses and attorney
                           7   fees. Plaintiff is presently unaware of the precise amount of said expenses and fees and
                           8   prays leave of court to amend this Complaint when said amounts are more fully known.
                           9                               SEVENTH CAUSE OF ACTION
                          10                                WRONGFUL TERMINATION
                          11                                   (Against all Defendants)
                          12          100. Plaintiff refers to all allegations contained in paragraphs 1-99, inclusive and
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                          13   by such reference incorporates the same herein as though fully realleged in detail.
                          14          101. Plaintiff informed Defendants of her age, work related injuries, and
                          15   resulting pain. Further, Defendants were aware of Plaintiff's age, work related injuries,
                          16   and resulting pain.
                          17          102.   Gov't Code §12940 et seq., prohibits forms of discrimination against
                          18   protected classes of employees.
                          19          103. Defendant wrongfully terminated Plaintiff in violation of a substantial and
                          20   fundamental public policy in that a determining and motivating factor in Defendants'
                          21   decision to terminate Plaintiff was the desire to retaliate against her because of: (i) her
                          22   age, (ii) work related injuries, (iii) disability, (iv) complaints about her work
                          23   environment, and (v)filing/perceived filing for workers compensation case.
                          24          104. Plaintiff is informed and believes and thereon alleges that these factors
                          25   made up Defendants decision to terminate Plaintiff and/or played an important and
                          26   integral role in said decision. Such discrimination was in violation of the public policy of
                          27   the State of California and resulted in damage and injury to Plaintiff as alleged herein.
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                                                                       COMPLAINT

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 1          105. As a proximate result of Defendants willful, knowing, and intentional
 2   discrimination and retaliation against Plaintiff, she has sustained and continues to sustain
 3   substantial losses in Plaintiff earnings and other employment benefits and continues to
 4   suffer humiliation, emotional distress, and mental and physical pain an and anguish, and
 5   loss of sleep/sleep dysfunction, all to her damage in a sum according to proof.
 6          106. In light of Defendants willful, knowing, and intentional discrimination
 7   against Plaintiff which resulted in her wrongful termination, Plaintiff seeks an award of
 8   punitive and exemplary damages in an amount according to proof.
 9                               EIGHTH CAUSE OF ACTION
10          VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200 et seq.
11                                  (Against All Defendants)
12          107. Plaintiff refers to all allegations contained in paragraphs 1-106 inclusive,
13   and by such reference incorporates the same herein as though fully realleged in detail.
14          108.   Defendant, and each of them, have engaged in unfair and unlawful
15   business practices as set forth above.
16          109. Business & Professions Code § 17200 et seq. prohibits unlawful and unfair
17   business practices.
18          110. By engaging in the above-described acts and practices, Defendant, and each
19   of them, have committed one or more acts of unfair, unlawful or fraudulent competition
20   within the meaning of Business & Professions Code §17200 et seq.
21          111. Defendant, and each of them, have violated statutes and public policies.
22   Through the conduct alleged in this Complaint, Defendant, and each of them, have acted
23   contrary to public policies and have engaged in other unlawful and unfair business
24   practices in violation of Business & Professions Code § 17200 et seq., depriving Plaintiff
25   and all interested persons of rights, benefits, and privileges guaranteed to all employees
26   under law.
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                                              COMPLAINT

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 1          112. As a direct and proximate result of the aforementioned acts and practices,
 2 Plaintiff has suffered a loss of money and property in the form of wages and benefits that
 3   she would have received as an employee of Defendant, and each of them.
 4          113. Plaintiff seeks an order of this Court awarding restitution, injunctive relief
 5   and all other relief allowed under Business & Professions Code §17200 et seq., plus
 6   interest and costs.
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                                           COMPLAINT

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                             Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.84 Page 60 of 167




                              I                               , PRAYER FOR RELIEF
                              2   WHEREFORE,Plaintiff prays for judgment as follows:
                              3      1. For all actual, consequential, and incidental damages, including but not limited to
                              4         loss of earnings and employee benefits, according to proof, but no less than three
                              5         hundred thousand dollars;
                              6     2. For restitution for unfair competition pursuant to Business & Professions Code
                              7         §17200 et seq., resulting from Defendants' unlawful business acts and practices,
                              8         according to proof;
                              9     3. For an order enjoining Defendants and their agents, servants, and employees, and
                             10         all persons acting under, in concert with, or for them, from acting in derogation of
                             11         any rights or duties alleged in this Complaint;
                             12     4. For pre-judgment and post-judgment interest, according to proof;
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                             13     5. For punitive and exemplary damages, according to proof;
                             14     6. For attorneys' fees, according to proof and statute;
                             15     7. For costs of suit incurred herein;
                             16     8. For such other relief and the Court may deem just and proper.
                             17

                             18   Dated: October 12, 2020                   SMAILI & ASSOCIATES,P.C.
                             19

                             20                                             By:   /s/jihad-14. Smaili
                             21                                                   Jihad M. Smaili, Esq.
                                                                                  Attorney for Plaintiff
                             22

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                                                                        COMPLAINT

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      Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.85 Page 61 of 167




       1                               DEMAND FOR JURY TRIAL
       2         Plaintiff hereby requests a trial by jury.
       3
           Dated: October 12, 2020                   SMAILI & ASSOCIATES,P.C.
       4

       5

       6                                             By:      /S/jifithlUVI. Smaili
                                                           Jihad M. Smaili, Esq.
       7                                                   Attorney for Plaintiff
       8

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                                                   COMPLAINT

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                           Exhibit            C
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 9     Attorneys for Defendant
       ACADIA HEALTHCARE COMPANY, INC. d/b/a
10     MISSION TREATMENT SERVICES, INC.

11

12                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
13                                          COUNTY OF SAN DIEGO
14

15     KATHERINE WILLIAMS, an individual,                Case No. 37-2020-00038158-CU-WT-NC

16                      Plaintiff,                       HON. JACQUELINE M. STERN
17              v.                                       DEFENDANT’S ANSWER TO
                                                         PLAINTIFF’S UNVERIFIED
18     ACADIA HEALTHCARE COMPANY, INC.                   COMPLAINT
       d/b/a MISSION TREATMENT SERVICES, INC.,
19     a corporate entity form unknown; and DOES 1-50,
       inclusive,                                        Complaint Filed: October 16, 2020
20                                                       Trial Date:      None set
                        Defendants.
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                         DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
       72044466v.2
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.88 Page 64 of 167



 1              Acadia Healthcare Company Inc. d/b/a Mission Treatment Services, Inc. (hereinafter

 2     “ACADIA” or “DEFENDANT”)1 hereby answers the unverified Complaint for Damages of Katherine

 3     Williams (“Plaintiff”), as follows:

 4                                                     GENERAL DENIAL
 5              Pursuant to California Code of Civil Procedure section 431.30(d), Defendant generally denies

 6     each and every allegation in the Complaint. In further answer to the Complaint, Defendant denies that

 7     Plaintiff has suffered any injury, damage or loss in any nature or manner whatsoever by reason of any

 8     act or omission of it.

 9                                                  SEPARATE DEFENSES
10                                              FIRST SEPARATE DEFENSE
11                               (Failure to State a Cause of Action – All Causes of Action)
12              Plaintiff’s Complaint, and each purported cause of action therein, fails to state facts sufficient to

13     constitute a cause of action or state a claim upon which relief may be granted against Defendant.

14                                            SECOND SEPARATE DEFENSE
15                                             (No Injury – All Causes of Action)
16              Plaintiff sustained no injuries, damages or loss by reason of any act of Defendant.

17                                              THIRD SEPARATE DEFENSE
18                                      (Statute of Limitations – All Causes of Action)
19              The Complaint, and each and every cause of action therein, is barred in whole or in part by the
20     applicable statutes of limitations, including, but not limited to those contained in the California Fair

21     Employment and Housing Act, including Government Code Sections 12960(d) and 12965(b), as well as

22     those contained in California Code of Civil Procedure sections 338, 343 and 335.1.

23                                            FOURTH SEPARATE DEFENSE
24                   (Failure to Exhaust Administrative Remedies – First through Sixth Causes of Action)
25              Defendant is informed and believes that Plaintiff’s first through sixth claims are barred for

26     failure to exhaust her administrative remedies under applicable California law.

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28     1
        /      Mission Treatment Services, Inc. is a direct wholly-owned subsidiary of CRC Health, LLC. It is an indirect wholly-
       owned subsidiary of Acadia Healthcare Company, Inc.
                                                                   2
                              DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
       72044466v.2
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.89 Page 65 of 167



 1                                           FIFTH SEPARATE DEFENSE

 2                                           (Consent – All Causes of Action)

 3              Assuming that Defendant engaged in the conduct attributed to it, which it denies, Plaintiff

 4     consented to such conduct.

 5                                           SIXTH SEPARATE DEFENSE

 6                                           (Estoppel – All Causes of Action)

 7              Defendant is informed and believes that Plaintiff is equitably estopped from asserting her claims

 8     for relief because Plaintiff has by her own conduct, intentionally induced, caused, and/or contributed to

 9     the alleged conduct of Defendant of which she now complains.

10                                         SEVENTH SEPARATE DEFENSE

11                                            (Laches – All Causes of Action)

12              Plaintiff’s claims are barred in whole or in part by the equitable doctrine of laches.

13                                         EIGHTH SEPARATE DEFENSE

14                                    (Privilege/Justification – All Causes of Action)

15              Assuming arguendo that any of the actions alleged in the Complaint were taken by Defendant,

16     such actions were at all times privileged or justified.

17                                          NINTH SEPARATE DEFENSE

18                                         (Ratification – All Causes of Action)

19              Plaintiff’s claims are barred in whole or in part because any conduct by Defendant was ratified

20     by Plaintiff.

21                                          TENTH SEPARATE DEFENSE

22               (Legitimate Non-Discriminatory and/or Non-Retaliatory Factors – All Causes of Action)

23              Plaintiff may not obtain the relief requested in her Complaint because any adverse employment

24     action(s) taken against her were based on legitimate non-discriminatory, non-retaliatory factors and not

25     Plaintiff’s disability, age, and/or any other protected characteristic and/or activity.

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                                                             3
                            DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
       72044466v.2
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.90 Page 66 of 167



 1                                       ELEVENTH SEPARATE DEFENSE

 2                      (Legitimate Business Justification/Mixed Motive - All Causes of Action)

 3              Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

 4     because assuming arguendo that discriminatory and/or retaliatory reasons had been a motivating factor

 5     in any decisions toward Plaintiff, which Defendant expressly denies, Defendant would have made the

 6     same decisions toward Plaintiff in any case for legitimate, non-discriminatory and/or retaliatory business

 7     reasons.

 8                                        TWELFTH SEPARATE DEFENSE

 9                                       (Unclean Hands – All Causes of Action)
10              Plaintiff’s claims are barred to the extent she has unclean hands.

11                                      THIRTEENTH SEPARATE DEFENSE

12                                           (Waiver – All Causes of Action)

13              Plaintiff’s claims are barred in whole or in part by the doctrine of waiver.

14                                      FOURTEENTH SEPARATE DEFENSE

15                                  (After-Acquired Evidence – All Causes of Action)

16              Plaintiff’s claims are barred to the extent that Plaintiff engaged in misconduct which would have

17     justified any adverse action by Defendant even if Defendant was unaware of the conduct.

18                                       FIFTEENTH SEPARATE DEFENSE

19                                (Failure to Mitigate Damages – All Causes of Action)
20                     Plaintiff is not entitled to back pay and/or other damages, to the extent that she failed to

21     seek and obtain other employment and otherwise failed to mitigate her alleged loss of wages or other

22     damages.

23                                       SIXTEENTH SEPARATE DEFENSE

24                                   (Management Discretion – All Causes of Action)

25              Any and all conduct of which Plaintiff complains or which was attributed to Defendant was a

26     just and proper exercise of management discretion on the part of Defendant undertaken for a fair and

27     honest reason other than Plaintiff’s purported disability and/or any other protected characteristic.

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                                                             4
                            DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
       72044466v.2
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.91 Page 67 of 167



 1                                     SEVENTEENTH SEPARATE DEFENSE

 2                                  (Reasonable Investigation – All Causes of Action)

 3               Any statements or actions alleged by Plaintiff to have been made or done by Defendant, if made

 4     or done, were made or done after investigation and on the basis of reasonable grounds for belief in their

 5     truth and correctness, with an honest belief in their truth and correctness, and in good faith and without

 6     malice.

 7                                      EIGHTEENTH SEPARATE DEFENSE

 8                                         (Good Faith – All Causes of Action)

 9               Assuming, arguendo, that any of the actions alleged in the Complaint were taken by Defendant,

10     such actions were taken in good faith and were a lawful exercise of sound discretion of Defendant’s

11     legal rights, and were based on a rational, reasonable consideration of the facts.

12                                      NINETEENTH SEPARATE DEFENSE

13            (Action In Accordance With Applicable Law and Employer Policies – All Causes of Action)

14               If Defendant engaged in the acts complained of in Plaintiff’s Complaint, which it denies, then

15     such acts were privileged, justified and/or taken in accordance with applicable law and/or Defendant’s

16     policies and procedures.

17                                       TWENTIETH SEPARATE DEFENSE

18       (Failure To Take Advantage of Defendant’s Safeguards Against Discrimination, Harassment And/Or
                                        Retaliation - All Causes of Action)
19
                 Defendant exercised reasonable care to avoid discrimination, harassment and/or retaliation and to
20
       eliminate it when it might occur, and Plaintiff failed to act with like reasonable care to take advantage of
21
       the safeguards to otherwise prevent the harm that could have been avoided.
22
                                       TWENTY-FIRST SEPARATE DEFENSE
23
                               (Failure to Exhaust Internal Remedies - All Causes of Action)
24
                 Defendant exercised reasonable care to prevent and/or correct any unlawfully discriminatory
25
       and/or retaliatory workplace conduct allegedly experienced by Plaintiff. Plaintiff’s claims are barred, or
26
       alternatively her relief is limited, to the extent Plaintiff unreasonably failed to take advantage of any
27
       preventive or corrective opportunities provided by Defendant or to avoid harm otherwise.
28

                                                             5
                            DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
       72044466v.2
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.92 Page 68 of 167



 1                                    TWENTY-SECOND SEPARATE DEFENSE

 2                     (Any Actions Would Have Been Taken In Any Event – All Causes of Action)

 3               The damages Plaintiff seeks are barred in whole or in part because any employment actions

 4     taken by Defendant against Plaintiff would have been taken in any event regardless of her purported

 5     disability and/or any other protected characteristic.

 6                                     TWENTY-THIRD SEPARATE DEFENSE

 7                                     (Managerial Immunity - All Cause of Action)

 8               The claims alleged against Defendant are barred under the doctrine of managerial immunity.

 9                                    TWENTY-FOURTH SEPARATE DEFENSE
10                        (Outside the Course and Scope of Employment - All Causes of Action)

11               The Complaint, and each and every cause of action therein, is barred to the extent the alleged

12     actions of Defendant’s agents, employees, and representatives, if they occurred, were outside the course

13     and scope of their employment.

14                                     TWENTY-FIFTH SEPARATE DEFENSE

15                                     (At-Will Employment – All Causes of Action)

16               Plaintiff was at all relevant times an at-will employee.

17                                     TWENTY-SIXTH SEPARATE DEFENSE

18                                   (Prompt Remedial Action – All Causes of Action)

19               To the extent that Plaintiff complained of any unlawful conduct, Defendant took prompt and

20     appropriate remedial action to investigate and address her complaint(s) and took appropriate corrective

21     action.

22                                   TWENTY-SEVENTH SEPARATE DEFENSE

23                             (Worker’s Compensation Exclusivity – All Causes of Action)

24               Any claims by Plaintiff based in whole or in part upon any alleged physical or emotional injury

25     or distress are barred because Plaintiff’s sole and exclusive remedy, if any, for such injuries, is governed

26     by the California Workers’ Compensation Act pursuant to California Labor Code sections 3600 et seq.

27

28

                                                               6
                             DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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 1                                     TWENTY-EIGHTH SEPARATE DEFENSE

 2                                             (Offset - All Causes of Action)

 3              Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is barred

 4     in whole or in part because Defendant is entitled to an offset for any monies Plaintiff received from any

 5     source after Plaintiff ceased to be employed under the doctrine prohibiting double recovery set forth

 6     under applicable law.

 7                                      TWENTY-NINTH SEPARATE DEFENSE

 8                               (Not Disabled – First, Third though Eighth Causes of Action)

 9              Plaintiff is not a qualified individual with a disability.

10                                         THIRTIETH SEPARATE DEFENSE

11                         (Essential Functions – First, Third though Eighth Causes of Action)

12              Plaintiff’s Complaint is barred to the extent Plaintiff was unable to carry out the essential

13     functions of her employment, or any other available employment position for which she was qualified,

14     with or without reasonable accommodation.

15                                       THIRTY-FIRST SEPARATE DEFENSE

16                               (Undue Hardship - First, Third though Eighth Causes Action)

17              To the extent that Plaintiff requested accommodations that were not reasonable or would cause

18     Defendant undue hardship, and thus were not required, Plaintiff’s claims fail.

19                                     THIRTY-SECOND SEPARATE DEFENSE
20             (Failure to Engage in an Interactive Process - First, Third though Eighth Causes of Action)

21              Plaintiff’s claims are barred because she failed to participate in good faith, or at all, in an

22     interactive process with Defendant regarding her purported need for a reasonable accommodation for

23     her alleged disability.

24                                       THIRTY-THIRD SEPARATE DEFENSE

25                                     (No Causal Connection - All Causes of Action)

26              Plaintiff’s retaliation claims fail as she cannot establish a causal connection between any

27     purported protected activity and any adverse action(s) allegedly taken against her.

28

                                                               7
                            DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.94 Page 70 of 167



 1                                    THIRTY-FOURTH SEPARATE DEFENSE

 2                   (Failure to State a Claim for Relief for Punitive Damages – All Causes of Action)

 3              Plaintiff is not entitled to recover any punitive, double or exemplary damages against Defendant

 4     and any allegations with respect thereto should be stricken because Plaintiff has failed to plead and

 5     cannot prove facts sufficient to support allegations of oppression, fraud and/or malice pursuant to

 6     California Civil Code § 3294(a).

 7                                     THIRTY-FIFTH SEPARATE DEFENSE

 8                               (No Act by A Managing Agent – All Causes of Action)

 9              Plaintiff’s prayer for punitive damages is barred to the extent that she has not identified any

10     unlawful conduct by an officer, director or managing agent of Defendant.

11                                     THIRTY-SIXTH SEPARATE DEFENSE

12           (No Extreme and/or Outrageous Conduct - All Causes of Action/Claim for Punitive Damages)

13              Defendant did not engage in any extreme and/or outrageous conduct with respect to Plaintiff.

14                                   THIRTY-SEVENTH SEPARATE DEFENSE

15                                (Excessive Fines/Due Process - All Causes of Action)

16              To the extent that Plaintiff seeks punitive damages, exemplary damages, or emotional distress

17     damages in the Complaint, she violates the rights of Defendant to protection from “excessive fines” as

18     provided in the Eighth Amendment to the United States Constitution and in Article I, Section 17 of the

19     Constitution of the State of California and the rights of Defendant to procedural and substantive due

20     process under the Fifth and Fourteenth Amendments to the United States Constitution and under the

21     Constitution of the State of California.

22                                    THIRTY-EIGHTH SEPARATE DEFENSE

23                                     (No Attorneys’ Fees – All Causes of Action)

24              Plaintiff knew or should have known that her claims are without any reasonable basis in law or

25     equity and cannot be supported by good faith arguments for extension, modification, or reversal of

26     existing law. There also is no contractual and/or statutory basis for Plaintiff’s prayer for attorneys’ fees.

27     As a result of Plaintiff’s filing of this lawsuit, Defendant has been required to obtain the services of the

28     undersigned attorneys, and has incurred and will continue to incur substantial costs and attorneys’ fees

                                                             8
                            DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
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 1     in defense of this frivolous case, and Defendant is, therefore, entitled to recover reasonable attorneys’

 2     fees, expenses, and costs incurred by and through this action in accordance with applicable California

 3     law.

 4                                           RESERVATION OF RIGHTS

 5              Defendant reserves the right to assert additional affirmative and/or separate defenses should it

 6     become aware of additional defenses during the course of this litigation.

 7              WHEREFORE, Defendant prays for judgment as follows:

 8              1.     That Plaintiff take nothing by her Complaint, and that this Complaint be dismissed with

 9     prejudice;
10              2.     For costs of suit and attorneys’ fees; and

11              3.     For such other further relief as this Court may deem just and proper.

12
       DATED: June 24, 2021                           Respectfully submitted,
13
                                                      SEYFARTH SHAW LLP
14

15                                                    By:
16                                                          Michael J. Burns
                                                            Michelle Zakarian
17
                                                            Attorneys for Defendant
18                                                          ACADIA HEALTHCARE COMPANY, INC. d/b/a
                                                            MISSION TREATMENT SERVICES, INC.
19
20

21

22

23

24

25

26

27

28

                                                             9
                           DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
       72044466v.2
     Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.96 Page 72 of 167



 1
                                                 PROOF OF SERVICE
 2
       STATE OF CALIFORNIA                                )
 3                                                        )   ss
       COUNTY OF LOS ANGELES                              )
 4
              I am a resident of the State of California, over the age of eighteen years, and not a party to the
 5     within action. My business address is 2029 Century Park East, Suite 3500, Los Angeles, California
       90067-3021. On 24 June 2021, I served the within document(s):
 6
                             DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
 7

 8     Isaid
           sent such document from facsimile machines (310) 201-5219 on 24 June 2021. I certify that
               transmission was completed and that all pages were received and that a report was generated
               by said facsimile machine which confirms said transmission and receipt. I, thereafter, mailed a
 9             copy to the interested party(ies) in this action by placing a true copy thereof enclosed in sealed
               envelope(s) addressed to the parties listed below.
10

11     by  placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
         in the United States mail at Los Angeles, California, addressed as set forth below.
12
       by placing the document(s) listed above in a sealed envelope or package provided by an
         overnight delivery carrier with postage paid on account and deposited for collection with the
13             overnight carrier at Los Angeles, California, addressed as set forth below.
14
       by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
         below.
15
                Smaili & Associates, PC                       T: 714-547-4700; F: 714-547-4710
16              Jihad M. Smaili, Esq.                         jihad@smaililaw.com
                Civic Center Plaza Towers
17              600 W. Santa Ana Blvd., Suite 202             Attorneys for Plaintiff,
                Santa Ana, California 92701                            KATHERINE WILLIAMS
18
                Attorney for Plaintiff
19
               I am readily familiar with the firm's practice of collection and processing correspondence for
20     mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
       postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
21     served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
       after date of deposit for mailing in affidavit.
22
               I declare that I am employed in the office of a member of the bar of this court at whose direction
23     the service was made.

24              Executed on 24 June 2021, at Los Angeles, California.

25

26
                                                      Denise R. Wasko-Peña
27

28


                            DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED COMPLAINT
       72044466v.2
                                       COURT
         Case 3:21-cv-01174-AJB-MSB Document 1-3INSTRUCTIONS
                                                  Filed 06/25/21 PageID.97 Page 73 of 167
                                                        PHONE (213) 249-9999
                                                        FAX (213) 249-9990


                                                            LA168883
                                                        026 - SPECIAL E-FILING

FIRM NAME: & ADDRESS:                               CUST #: LA239               COURT :
SEYFARTH SHAW LLP / CC                          DUE DATE #: 6/24/2021           SAN DIEGO/VISTA SUPERIOR COURT
2029 Century Park East Suite 3500                                               325 S. MELROSE DR., VISTA, CA 92083
Los Angeles CA, 90067                                                           CASE# 37-2020-00038158-CU-WT-NC
                                                                                CASE TITLE: KATHERINE WILLIAMS, VS. ACADIA
PHONE #:(310) 277-7200                                                          HEALTHCARE COMPANY, INC
FAX #: (310) 282-6945
                                                                                DOCUMENTS: DEFENDANT’S ANSWER
CONTACT: Denise Wasko-Peña EMAIL: dwasko@seyfarth.com                           TOPLAINTIFF’S UNVERIFIEDCOMPLAINT
BILLING / FILE #: 109151-000004
DATE GENERATED #: 6/24/2021




   STATUTE DATE: 6/24/2021            HEARING DATE:                     DEPT.                       NLS DATE REC'D: 6/24/2021
    X FILE / CONFORM                                                             SPECIAL INSTRUCTIONS
        FILE AND SERVE
        COURTESY COPY DELIVERY                    E-FILE TODAY AND ADVANCE FIRST APPEARANCE FEE AND PDF CLIENT E-FILE
                                                  RECEIPT.
        RECORD
        COURT RESEARCH
        CERTIFIED

     X Advanced Fees $ .00
        Adv Fees approved by

    REPORTS / COMMENTS:




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      REJECTED


      FILING CONFIRMED/REJECTED - SPOKE TO:                             DATE:




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          Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.98 Page 74 of 167

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       Closed (/Operations/Orders/OPSClosedOrders)                      Cases (/Operations/Orders/OPSCases)                Place Order (/NewOrder/Index)
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(/Home)
         Bulk Import (/Operations/OrderBulkUpload)
eFile and eService


   Order Info      Case Info       Case Participants        Documents         Court Fees       Order Details                                                                         Order Summary

                                                                                                                                                                                eFiling (Existing Case)

                                                          Thank you for your order(s)                                                                        County: San Diego

   Your order number(s): 4682860                                                                                                                             Case Info:
                                                                                                                                                             Case Number: 37-2020-00038158-CU-WT-N
   For your reference, you will receive an Order Confirmation by email.
                                                                                                                                                             Case Name: Williams vs. Acadia Healthcare
   If you would like further assistance, please contact our Customer Support at (213) 249-9999 Monday - Friday between the hours of M-F 9 AM to              [IMAGED]
   5:00 PM Pacific.                                                                                                                                          Category: Civil - Unlimited
                                                                                                                                                             Case Type: Wrongful Termination

                                                                Back to Manage Cases                                                                         Case Participants:
                                                                                                                                                             Acadia Healthcare Company Inc, Defendant
                                                                                                                                                             Williams, Katherine, Plaintiff
                                                                                                                                                             Burns, Michael J., Attorney

   « Previous        Submit                                                                                                            Save As Draft         Document(s):
                                                                                                                                                              Answer

                                                                                                                                                             Estimated Court Fees:
                                                                                                                                                              Total fees: $438.00

                                                                                                                                                             Order Details:
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                                                                                                                                                             Special Instructions:




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s3DocPath=https://legalconnect.s3.amazonaws.com/tenantlogos/legalconnect/docs/LegalConnectSupportPolicy.pdf)
                                                                                                                                                                                                Powered
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.99 Page 75 of 167




                          Exhibit            D
 Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.100 Page 76 of 167




                                                  1 OF 1 RECORD(S)

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Date:6/23/2021
Report processed by:
Seyfarth Shaw LLP
Full Name                     Address                                  County               Phone
WILLIAMS,                                                              SAN DIEGO            (760) 294-0774
KATHERINE MARY                ESCONDIDO, CA 92026-2064
                              SAN DIEGO COUNTY
ADDITIONAL PERSONAL INFORMATION
SSN               DOB                Gender              LexID(sm)
      -XXXX         /1951                                001294765487
                  (Age:69)




Subject Summary

Name Variations
1:    WILLIAM, KATHERINE M
2:    WILLIAMS, KATHERINE
3:    WILLIAMS, KATHERINE M
4:    WILLIAMS, KATHERINE MARY
5:    WILLIAMS, KATHY

SSNs Summary
No.   SSN                    State Iss.                Date Iss.        Warnings
                                        Most frequent SSN attributed to subject:
1:            -XXXX          California                1967-1968
DOBs
Reported DOBs:
  1951

Others Using SSN - 0 records found
Address Summary - 15 records found
No.    Address
1:
       ESCONDIDO, CA 92026-2064
       SAN DIEGO COUNTY

2:
       SAN DIEGO, CA 92117-2536
       SAN DIEGO COUNTY

3:
       ESCONDIDO, CA 92025-3439
       SAN DIEGO COUNTY

4:
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                                                                            Page 3 of 16


No.   Address
      ESCONDIDO, CA 92026-2020
      SAN DIEGO COUNTY

5:
      EL CAJON, CA 92019-2433
      SAN DIEGO COUNTY

6:
      SAN DIEGO, CA 92174-1233
      SAN DIEGO COUNTY

7:
      EL CAJON, CA 92019-2433
      SAN DIEGO COUNTY

8:
      SAN DIEGO, CA 92110-5838
      SAN DIEGO COUNTY

9:
      SAN ANTONIO, TX 78219-1914
      BEXAR COUNTY

10:
      SPRING VALLEY, CA 91977-1942
      SAN DIEGO COUNTY

11:
      SAN DIEGO, CA 92116-3565
      SAN DIEGO COUNTY

12:
      ESCONDIDO, CA 92026
      SAN DIEGO COUNTY

13:
      SANTA ANA, CA 92706-3921
      ORANGE COUNTY

14:
      ANAHEIM, CA 92804-5421
      ORANGE COUNTY

15:
      LOS ANGELES, CA 90012
      LOS ANGELES COUNTY

Address Details
1:                          ESCONDIDO, CA 92026-2064
Address                                                Dates              Phone
                                                       10/2006 - 6/2021   (760) 294-0774
ESCONDIDO, CA 92026-2064
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 30
Median Income: $52,785
Median Home Value: $332,804
Median Education: 13 years
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                                                                           Page 4 of 16


Household Members
None Listed
Other Associates
None Listed

2:                SAN DIEGO, CA 92117-2536
Address                                               Dates              Phone
                                                      12/2000 - 1/2013
SAN DIEGO, CA 92117-2536
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 42
Median Income: $89,541
Median Home Value: $482,778
Median Education: 14 years
Household Members
None Listed
Other Associates


3:                        ESCONDIDO, CA 92025-3439
Address                                               Dates              Phone
                                                      7/2006 - 2/2011
ESCONDIDO, CA 92025-3439
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 25
Median Income: $30,446
Median Home Value: $481,818
Median Education: 10 years
Household Members
None Listed
Other Associates
None Listed

4:                         ESCONDIDO, CA 92026-2020
Address                                               Dates              Phone
                                                      8/2006 - 8/2009
ESCONDIDO, CA 92026-2020
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 41
Median Income: $74,174
Median Home Value: $450,556
Median Education: 14 years
Household Members
None Listed
Other Associates
None Listed

5:                        EL CAJON, CA 92019-2433
Address                                               Dates              Phone
                                                      11/2002 - 1/2008
EL CAJON, CA 92019-2433
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 30
Median Income: $49,409
Median Home Value: $397,436
Median Education: 12 years
Household Members
 Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.103 Page 79 of 167
                                                                              Page 5 of 16


None Listed
Other Associates
None Listed

6:                 SAN DIEGO, CA 92174-1233
Address                                                 Dates               Phone
                                                        10/2002 - 1/2008
SAN DIEGO, CA 92174-1233
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 34
Median Income: $75,740
Median Home Value: $500,000
Median Education: 14 years
Household Members
None Listed
Other Associates
None Listed

7:                         EL CAJON, CA 92019-2433
Address                                                 Dates               Phone
                                                        11/2000 - 10/2002
EL CAJON, CA 92019-2433
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 30
Median Income: $49,409
Median Home Value: $397,436
Median Education: 12 years
Household Members
None Listed
Other Associates
None Listed

8:                           SAN DIEGO, CA 92110-5838
Address                                                 Dates               Phone
                                                        1/1987 - 1/2003
SAN DIEGO, CA 92110-5838
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 30
Median Income: $59,586
Median Home Value: $331,081
Median Education: 14 years
Household Members
None Listed
Other Associates


9:                 SAN ANTONIO, TX 78219-1914
Address                                                 Dates               Phone
                                                        1/1986 - 1/1999
SAN ANTONIO, TX 78219-1914
BEXAR COUNTY
Census Data for Geographical Region
Median Head of Household Age: 33
Median Income: $46,191
Median Home Value: $63,204
Median Education: 12 years
Household Members
None Listed
 Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.104 Page 80 of 167
                                                                                  Page 6 of 16


Other Associates
None Listed

10:                          SPRING VALLEY, CA 91977-1942
Address                                                      Dates              Phone
                                                             2/1997 - 1/2004
                           1942
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 50
Median Income: $74,916
Median Home Value: $470,352
Median Education: 15 years
Household Members


Other Associates


11:                            SAN DIEGO, CA 92116-3565
Address                                                      Dates              Phone
                                                             12/1996 - 5/1997
SAN DIEGO, CA 92116-3565
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 32
Median Income: $28,977
Median Home Value: $230,818
Median Education: 13 years
Household Members
None Listed
Other Associates


12:                                   CA 92026
Address                                                      Dates              Phone
                                                             1/1987 - 5/1995
ESCONDIDO, CA 92026
SAN DIEGO COUNTY
Census Data for Geographical Region
Median Head of Household Age: 42
Median Income: $64,458
Median Home Value: $419,412
Median Education: 14 years
Household Members
None Listed
Other Associates
None Listed

13:                               SANTA ANA, CA 92706-3921
Address                                                      Dates              Phone
                                                             1/1987 - 9/1993
SANTA ANA, CA 92706-3921
ORANGE COUNTY
Census Data for Geographical Region
Median Head of Household Age: 25
Median Income: $37,391
Median Home Value: $625,000
Median Education: 8 years
Household Members
None Listed
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                                                                          Page 7 of 16


Other Associates
None Listed

14:                        ANAHEIM, CA 92804-5421
Address                                               Dates             Phone
                                                      7/1987 - 7/1987   (714) 991-8961
ANAHEIM, CA 92804-5421
ORANGE COUNTY
Census Data for Geographical Region
Median Head of Household Age: 28
Median Income: $56,173
Median Home Value: $512,887
Median Education: 11 years
Household Members
None Listed
Other Associates
None Listed

15:                         LOS ANGELES, CA 90012

                                                      1/1987 - 1/1987
LOS ANGELES, CA 90012
LOS ANGELES COUNTY
Household Members
None Listed
Other Associates
None Listed




                            County: SAN DIEGO
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.106 Page 82 of 167




                           Exhibit            E
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.107 Page 83 of 167


 VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN..., JVR No. 1402210041...




                JVR No. 1402210041, 2013 WL 7852947 (Cal.Super.) (Verdict and Settlement Summary)

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                                   Superior Court, Los Angeles County, California.

             VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN TRANSPORTATION AUTHORITY

                                                 BC484335
                                       DATE OF FILING: October 25, 2012
                                 DATE OF TRIAL/SETTLEMENT: November 12, 2013

SUMMARY
Outcome: Plaintiff Verdict
Total: $1,904,635
HIGH AMOUNT: $0

LOW AMOUNT: $0


Related Court Documents:
Plaintiffs second amended complaint:.2012 WL 10007313

Defendant's trial brief: 2013 WL 6506751

Verdict form: 2013 WL 6506795


EXPERT-WITNESSES:
ATTORNEY:
Plaintiff: Scott O. Cummings, Curnmings & Franck P.C., Gardena, CA
Plaintiff: Lee Franck, Cummings & Franck P.C., Gardena, CA
Defendant: Calvin R. House, Gutierrez Preciado & House L.L.P., Pasadena, CA
Defendant: Caroline Shahinian, Gutierrez, Preciado & House L.L.P., Pasadena, CA

JUDGE: Kevin C. Brazile

RANGE AMOUNT: $1,000,000 - 1,999,999

STATE: California
COUNTY: Los Angeles

SUMMARY
PLAINTIFF:
Sex: M

Age: Adult

General Occupation: General Laborer


DEFENDANT:


Westlavh.lexr     2015 "rhomson Reuters. No claim to original U.S. Government Works.
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.108 Page 84 of 167


 VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN..., JVR No. 1402210041...


 Sex: 0

 Organization Type: Los Angeles County Metropolitan Transportation Authority


 DAMAGES:
 Compensatory Pain & Suffering: $1,250,000

 Compensatory Future Medical: $185,000

 Compensatory Past Wages: $84,348

 Compensatory Future. Wages: $385,287

 Total Compensatory Award: $1,904,635

 Punitive Damages: $0

 Hedonic Damages: $0

 Property Damages: $0

Interest: $0

Other Damages: $0

Loss of Services: $0


ADVERSE ACTION
Closer Supervision: false

Constructive Discharge: false

Demotion: false

Denial Tenure: false

Failure Accomodate: true

Failure Grant Leave: true

Failure Hire: true

Failure Promote: false

Suspension: true

Sexual Harassment: false




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.109 Page 85 of 167


 VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN..., JVR No. 1402210041...


 Harassment: true

 Hostile Work Env: false

 Isolation: false

 Lay Off: false

 Loss Benefits: false

 Loss Pay: false

 Loss Seniority: false

 Negative Eval: false

Negative Reference: false

Pay Increase Denial: false

Reassignment: false

Reduction Pay: false

Reprimands: true

Restrictions: false

Termination: true


Entity Type: Government Entity
STATUTES
Primary Specific Statute
Primary Name: State


Primary General Statute.
Primary Name: Disability Discrimination
Primary General Statute Discrimination: true

Specific Statute: State


General Statute: Family and Medical Leave
General Statute Discrimination: false

Specific Statute: General




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.110 Page 86 of 167


 VASQUEZ.v, LOS ANGELES COUNTY METROPOLITAN..., JVR. No. 1402210041...



 General Statute: Retaliation
 General Statute Discrimination: false

Comparative Negligence Percentage: 0


FACTS:
 Raphael Vasquez, a former bus driver, sued the Los Angeles County Metropolitan Transportation Authority for disability
discrimination, failure to accommodate, failure to engage in the interactive process, in violation of the Americans with
Disabilities Act (ADA), and interference with the Family and Medical Leave Act (FMLA) and the California Family Rights Act
(CFRA), and retaliation in violation of the Fair Employment and Housing Act (FEHA) Cal. Gov't. Code Secs. 12940 et seq. The
plaintiff alleged during his employment, he suffered from a variety of disabilities, including but not limited to gout, cataracts,
blurry vision, diabetes, for which he treated with doctors, and in January 2010, he requested a medical leave of absence for hip
replacement surgery due to Avascular Necrosis of the femur, which the defendant admitted he was eligible for, and he provided
the necessary documentation indicating he would be out for approximately five months. He asserted following the surgery, his
doctor provided a note that he was unable to work until June 1, 2010 due to Trochanteric Bursitis, and aftercare from his hip
replacement, thereafter, he was cleared to return to work. Vazquez claimed in November 2010, he had cataract surgery, but'
the defendant began to use his disabilities for adverse actions, including discipline and suspensions, and in January 2011, he
was terminated, and the proffered reason for his termination was his attendance. He asserted the, defendant failed to engage in a
timely, good faith, interactive process to determine the most effective reasonable accommodations for him, discouraged the use
of FMLA leave, which violated the CFRA, and that his disability, his request for and/or taking medical leave were substantial
motivating factors in the decision to terminate him. The defendant denied the allegations and contended the plaintiff was charged
with excessive absenteeism after accumulating eight absences within a 12-month period, and at his discharge hearing he told
the hearing officer he was in perfect health, but that he had treated some medical conditions. The defendant argued that the
officer had no reason to believe the plaintiff might be disabled, and terminated him for violating it's attendance policy.


Jury Verdict:Research
COURT: Superior

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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.111 Page 87 of 167


 ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT, JVR No. 1403200023 (2013)




                 JVR No. 1403200023, 2013 WL S115991 (Cal.Super.) (Verdict and Settlement Summary)


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                                   Superior Court, Los Angeles County, California.

                              ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT'

                                                  BC469940
                                       DATE OF FILING: September 23, 2011
                                  DATE OF TRIAL/SETTLEMENT: December 17, 2013

 SUMMARY
 Outcome: Plaintiff Verdict
 Total: $5,681,682
 HIGH AMOUNT: $0

 LOW AMOUNT: $0


Related Court Documents:
Plaintiffs' complaint: 2011 WL 6463766

Verdict form: 2013 WL 6870002

Verdict form (punitive damages): 2013 WL 6869977


EXPERT-WITNESSES:
ATTORNEY:
Plaintiff: James R. Rosen, Rosen Saba LLP, Beverly Hills, CA
Plaintiff: Elizabeth L. Bradley,'Rosen Saba LLP, Beverly Hills, CA
Plaintiff: Jonathan S. Dennis, Rosen Saba LLP, Beverly Hills, CA
Defendant: Eric J. Erickson, Lewis, Brisbois, Bisgaard & Smith LLP, Los Angeles, CA
Defendant: Christopher M. Habashy, Lewis, Brisbois, Bisgaard & Smith LLP, Los Angeles, CA
Defendant: Marie Dominguez-Gasson, Lewis, Brisbois, Bisgaard & Smith LLP, Los Angeles, CA

JUDGE: Yvette Palazuelos

RANGE AMOUNT: $5,000,000 - 999,999,999

STATE: California
COUNTY: Los Angeles

SUMMARY
PLAINTIFF:
Sex: Martha Aboulafia: F

Age: Adult, 58

General Occupation: Food Service Worker


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.112 Page 88 of 167


 ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT, JVR No. 1403200023 (2013)



 Sex: Cheryl B. Colgin: F

 Age: Adult, 58

 General Occupation: Food Service Worker

 Sex: Patricia Monica: F

 Age: Adult, 67

 General Occupation: Food Service Worker

 Sex: Regina Greene: F

 Age: Adult, 46

 General Occupation: Food Service Worker


DEFENDANT:
Sex: O

General Occupation; Restaurant, Nightclub or Tavern

Organization Type: GACN Inc. d/b/a Cable's Restaurant


DAMAGES:
Compensatory Pain & Suffering: Martha Aboulafia: $250,000

Compensatory Past Wages: Martha Aboulafia: $58,164

Compensatory Future Wages: Martha Aboulafia: $53,592

Total Compensatory Award: Martha Aboulafia: $361,756

Compensatory Pain & Suffering: Cheryl B. Colgin: $250,000

Compensatory Past Wages: Cheryl B. Colgin: $66,262

Compensatory Future Wages: Cheryl B. Colgin: $131,372

Total Compensatory Award: Cheryl B. Colgin: $447,634

Compensatory Pain & Suffering: Patricia Monica: $250,000

Compensatory Past Wages: Patricia Monica: $95,588

Compensatory Future Wages: Patricia Monica: $157,486


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.113 Page 89 of 167


 ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT, JVR No. 1403200023 (2013)



 Total Compensatory Award: Patricia Monica: $503,074

 Compensatory Pain & Suffering: Regina Greene: $250,267

 Compensatory Past Wages: Regina Greene: $56,613

 Compensatory Future Wages: Regina Greene: $62,338

 Total Compensatory Award: Regina Greene: $369,218

 Punitive Damages: $1,000,000

 Hedonic Damages; $0

 Property Damages: $0

 Interest: $0

 Other Damages: $0

Loss of Services: $0


ADVERSE ACTION
Closer Supervision: false

Constructive Discharge: false

Demotion: false

Denial Tenure: false

Failure Accomodate: false

Failure Grant Leave: false

Failure Hire: false

Failure Promote: false

Suspension: false

Sexual Harassment: false

Harassment: true

Hostile Work Env: false

Isolation: false


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.114 Page 90 of 167


 ABOULAFIA v. GACN INC. D/B/A CABLES RESTAURANT,JVR No. 1403200023(2013)



 Lay Off: false

 Loss Benefits: false

 Loss Pay: true

 Loss Seniority: false

 Negative Eval: false

 Negative Reference: false

 Pay Increase Denial: false

 Reassignment: false

 Reduction Pay: false

 Reprimands: false

 Restrictions: false

 Termination: true


Entity Type: Service/Retail Company
STATUTES
Primary Specific Statute
Primary Name: State


Primary General Statute
Primary Name: Age Discrimination
Primary General Statute Discrimination: true

Specific Statute: General


General Statute: Wrongful Termination
General Statute Discrimination: false

Comparative Negligence Percentage: 0


FACTS:
58-year-old Martha Aboulafia, 58-year-old Cheryl B. Colgin, 46-year-old Regina Greene, and 67-year-old Patricia Monica,
formerly employed as servers, sued GACN Inc. d/b/a Cable's Restaurant, for age discrimination, wrongful termination, in
violation of California's public policy, and failure to provide rest periods and/or 30 minute meal periods, pursuant to Cal. Lab.
Code Sec. 226.7. The plaintiffs claimed during their employment, they were never the subject of any negative reviews or



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.115 Page 91 of 167


 ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT,JVR No. 1403200023(2013)


 disciplinary actions until the restaurant came under new ownership, thereafter, they experienced negative treatment, a reduction
 in hours, and sudden complaints about job performance. They alleged after the transfer of ownership, suddenly they were
 systematically harassed, wrongfully terminated, and were replaced by younger female servers. Aboulafia, who worked for
 the defendant for more than 17 years, contended after the transfer of ownership, two days later she was terminated allegedly
 because business was slow, and she was told that an unidentified customer had complained about her. Colgin, who worked
 for the restaurant for more than 14 years, alleged she was also told two days after the transfer that she was no longer needed,
 but the manager called her again 10 minutes later, and fired her a second time, likely not remembering he had terminated her
 minutes earlier. Greene, who worked for the restaurant for three years, claimed that after the transfer, she was instructed to train
 newly hired younger female employees, but seven months later her manager falsely accused her of being under the influence of
 drugs and/or alcohol, terminated her, and subsequently falsely reported to the California Employment Development Department
 that she had voluntarily resigned in its attempt to avoid paying her unemployment benefits. Monica, who was employed for
 13 years, asserted she was terminated two days after the transfer purportedly because her services were no longer needed,
 and business was slow. The defendant denied the allegations and contended it used nondiscriminatory factors to facilitate the
 layoffs, including identifying servers with flexible schedules and a willingness to work with all customers, and that it retained
 1 I servers employed by former management, and eight of those servers were within the protected class, ranging from 45 to 75
 years old. The defendant also claimed the plaintiffs were allowed to take appropriate rest breaks. The jury awarded Aboulafia
 $1,361,756, Colgin $1,447,634, and Monica $1,503,074 for their age discrimination claims, and Greene's award included $952
 for missed rest periods for a total award of $1,369,218.


 Jury Verdict Research
 COURT: Superior


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.116 Page 92 of 167


 Silverman vs. Stuart F. Cooper inc., 43 Trials Digest 16th 11 (2013)




              43 Trials Digest 16th 11, 2013 WL 5820140 (Ca1.Super.) (Verdict and Settlement Summary)


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                                       Superior Court, Los Angeles County, California.

                                              Silverman vs. Stuart F. Cooper Inc.

 TOPIC:
 Synopsis: Terminated employee claims age discrimination

 Case Type: Labor & Employment; Discrimination; Labor & Employment; Age; Labor & Employment; Harassment-General;
 Labor & Employment; Termination/Constructive Discharge

                                                   DOCKET NUMBER:. BC467464

 STATE: California
 COUNTY: Los Angeles
                                              Verdict/Judgment Date: July 19, 2013

JUDGE: Deirdre H. Hill
ATTORNEYS:
Plaintiff: Allen J. Beck, Gleason & Favarote, Los Angeles; Paul M. Gleason, Gleason & Favarote, Los Angeles; Janet S.
Yavrouian, Gleason & Favarote, Los Angeles.
Defendant: Charles J. Schufreider, Barton, Klugman & Oetting, Los Angeles.

                                                         SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $325,223


Range: $200,000-499,999
$133,222 to plaintiff for past loss of earnings

$40,668 to plaintiff for future loss of earnings

$116,333 to plaintiff for past emotional distress

$35,000 to plaintiff for future emotional distress

The jury found defendants Stuart F. Cooper Inc. or Burdge Cooper Inc. acted with oppression, fraud or malice but declined
to award punitive damages.

Trial Type: Jury

Deliberations: Not reported.

Jury Poll: Not reported.




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.117 Page 93 of 167


 Silverman vs. Stuart F. Cooper Inc., 43 Trials Digest 16th 11 (2013)



 EXPERTS:
 Plaintiff: Not reported.
 Defendant: Not reported.

 TEXT:

 CASE INFORMATION

 FACTS/CONTENTIONS
  According to court records: Plaintiff Joe Silverman was hired by defendant Stuart F. Cooper Inc. in 1994 as a salesman.
  Plaintiff said he was compensated with a base salary, commission, expense reimbursement and medical benefits, regardless
  of sales performance. Plaintiff said his sale performance fluctuated, but he was never subjected to discipline, and he achieved
  an acceptable sales record. In August 2009, plaintiff was reportedly demoted by defendant David Overgaar, defendant Stuart
  Cooper's president, without warning and his compensation package was changed. His compensation change converted him to
  100 percent commission and limited his automobile reimbursement to $200 per month. Plaintiff said the company had never
  forced such a compensation package on any other employee. The new package also established a sales quota for plaintiff in
  order to return to his prior compensation plan. He said he was required to have sales of at least $90,000 over a six-month
  period with no single job accounting for more than 30 percent of sales. This quota was unprecedented and never applied to
  other sales employees, plaintiff claimed.
  In November 2009, another sales representative, 49, was allegedly hired with a salary plus commissions compensation
   package.
   In October 2010 plaintiff, 76, apparently filed a claim for age discrimination with the Department of Fair Employment and
   Housing based on the demotion and his change in compensation. Within six months of his complaint, plaintiff said, plaintiff
   was terminated by defendant Burdge Cooper Inc. for the pretextual reason of "poor attitude."
   Plaintiff alleged age discrimination in violation of the Fair Employment and Housing Act and public policy, unlawful
   retaliation in violation of the FEHA, age harassment in violation of the FEHA, failure to prevent discrimination and
   harassment in violation of the FEHA, wrongful termination in violation of public policy and failure to pay final wages and
   waiting time penalties.


 CLAIMED INJURIES
  According to court records:
  Emotional distress.


 CLAIMED DAMAGES
  According to court records:
  Not reported.


SETTLEMENT DISCUSSIONS
According to court records:

Not reported.


 COMMENTS
 According to court records:

The complaint was filed Aug. 12, 2011.



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.118 Page 94 of 167


 Silverman vs. Stuart F. Cooper Inc., 43 Trials Digest 16th 11 (2013)




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 Bisharat vs. Los Angeles Unified School District, 13 Trials Digest 16th 10 (2013)




              13 Trials Digest 16th 10, 2013 WL 1415554 (Cal.Super.) (Verdict and Settlement Summary)


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                                       Superior Court, Los Angeles County, California.

                                       Bisharat vs. Los Angeles Unified School District

 TOPIC:
 Synopsis: Teacher claims school district failed to accommodate disability, forced early retirement

 Case Type: Labor & Employment; Discrimination; Labor & Employment; Disability/Medical Condition; Labor & Employment;
 Termination/Constructive Discharge; Labor & Employment; Violation of Public Policy

                                                 DOCKET NUMBER: BC458496

STATE: California
COUNTY: Los Angeles
                                            Verdict/Judgment Date: February 15, 2013

JUDGE: Ronald. M. Sohigian
ATTORNEYS:
Plaintiff: Ellen E. Cohen, Law Offices ofJoseph M. Lovretovich, Woodland Hills; Paul M. Gleason, Gleason & Favarote, Los
Angeles; Victoria N. Jalili, Law Offices of Joseph M. Lovretovich, Woodland Hills; Joseph M. Lovretovich, Law Offices of
Joseph M. Lovretovich, Woodland Hills; Janet S. Yavrouian, Gleason & Favarote, Los Angeles.
Defendant: Charlie L. Hill, Office of General Counsel, Los Angeles; Linda Hurevitz, Ballard, Rosenberg, Golper & Savitt,
Glendale; Linda Miller Savitt, Ballard, Rosenberg, Golper & Savitt, Glendale.

                                                           SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $473,750


Range: $200,000-499,999
$138,585 to plaintiff for past lost earnings; $328,165 to plaintiff for future lost earnings; $7,000 to plaintiff for past emotional
distress.

Trial Type: Jury

Deliberations: Not reported.

Jury Poll: Not reported.


EXPERTS:
Plaintiff: Not reported.
Defendant: Not reported.

TEXT:



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.120 Page 96 of 167


 Bisharat vs. Los Angeles Unified School District, 13 Trials Digest 16th 10 (2013)



 CASE INFORMATION

 FACTS/CONTENTIONS
   According to court records: Plaintiff Ghassan Bisharat was hired as a teacher for defendant Los Angeles Unified
   School District in 1983. Throughout plaintiffs employment, he reportedly worked at schools considered to be in violent
   neighborhoods, and students physically attacked plaintiff on several occasions.
   On Feb. 5, 2008, plaintiff was assaulted by a student while reviewing final grades with a group of senior students. A male
  student reportedly jumped up, began screaming and cursing, and threatened plaintiff to "watch his back." The student then
   threw various school supplies at plaintiffs face. At the same time, another student reportedly lunged at plaintiff intending to
  strike him in the face, but she was pulled away before she was able to strike plaintiff. As she was being pulled away she told
   plaintiff she would burn him alive in his car. Plaintiff filed a written report detailing the incident, and around 3:00 p.m. police
  arrived and advised plaintiff to leave the school using the side door to avoid running into the students who had assaulted him.
  On Feb. 21, 2008, the student who had threatened plaintiff confronted him again. Plaintiff said he began to suffer an extreme
  panic attack and believed the student wanted to kill him. Plaintiff said he also thought he was having a heart attack. Plaintiff
  was ultimately put on disability leave.
  While out on disability leave plaintiffs doctor advised plaintiffthat he could not return to work in any classroom and defendant
  would need to find him a position outside of the classroom. Plaintiff claimed he had previously done work for defendant
  outside the classroom including research and publishing research. Plaintiff claimed defendant refused to place plaintiff in a
  position outside the classroom and told him he had to appeal to a committee if he wanted an alternative position. Plaintiff said
  the committee denied plaintiffs request and told him his only option was to take early retirement if he wanted to maintain
  any of his benefits. Plaintiff said that because he was left with no income and the possibility of no benefits, he was forced
  to file for retirement April 1, 2009. Plaintiff said that at that time, he was four years away from obtaining full retirement
  benefits and because he was forced to take early retirement he was receiving only a portion of the benefits he would have
  been entitled to had he been able to continue working.
  Plaintiff alleged disability discrimination, failure to prevent discrimination, failure to accommodate a disability, failure to
  engage in the interactive process and constructive termination in violation of the Fair Employment and Housing Act, Cal.
  Gov't Code §§ 12940 et seq., and violations of public policy.
  Defendant denied liability and contended plaintiff could not perform the essential functions of his job with or without
  accommodation. Defendants further contended plaintiffs doctor never provided a letter stating that plaintiff could return to
  work in any classroom setting.


 CLAIMED INJURIES
  According to court records:
  Emotional distress.


CLAIMED DAMAGES
 According to court records:
 Not reported.


SETTLEMENT DISCUSSIONS
According to court records:

Not reported.


COMMENTS
According to court records:


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.121 Page 97 of 167


 Bisharat vs. Los Angeles Unified School District, 13 Trials Digest 16th 10 (2013)



 The complaint was filed March 30, 2011.


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.122 Page 98 of 167


 Jolly vs. City of Long Beach, 27 Trials Digest 16th 14 (2013)




              27 Trials Digest 16th 14, 2013 WL 3340512 (Cal.Super.) (Verdict and Settlement Summary)


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                                      Superior Court, Los Angeles County, California.

                                                  Jolly vs. City of Long Beach

 TOPIC:
 Synopsis: Former city employee claims discrimination, hostile work environment

 Case Type: Labor & Employment; Discrimination; Labor & Employment; Age; Labor & Employment; Disability/
 Medical Condition; Labor & Employment; Harassment-General; Labor & Employment; Retaliation; Labor & Employment;
 Termination/Constructive Discharge

                                                 DOCKET NUMBER: BC453032

STATE: California
COUNTY: Los Angeles
                                               Verdict/Judgment Date: May 16, 2013

JUDGE: Teny A. Green
ATTORNEYS:
Plaintiff: J. Bernard Alexander III, Alexander, Krakow & Glick, Santa Monica; Tracy L. Fehr, Alexander, Krakow & Glick,
Santa Monica.
Defendant: Lisa Bond, Richards, Watson & Gershon, Los Angeles; Robert E. Shannon, Office of City.Attorney, Long Beach;
Barry M. Meyers, Office of City Attorney, Long Beach.

                                                         SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $325,000


Range: $200,000-499,999
$250,000 to plaintiff for past lost earnings

$75,000 to plaintiff for past noneconomic damages

Trial Type: Jury

Deliberations: Not reported.

Jury Poll: Not reported.


EXPERTS:
Plaintiff Not reported.
Defendant: Not reported.

TEXT:


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.123 Page 99 of 167


 Jolly vs. City of Long Beach, 27 Trials Digest 16th 14 (2013)



 CASE INFORMATION

 FACTS/CONTENTIONS
   According to court records: Plaintiff Gerald Jolly worked for defendant city of Long Beach for almost nine years and last held
   the position of Information Systems Analyst. Plaintiff said that up until August 2008, he had received a series of favorable
   reviews and had never been disciplined or reprimanded.
   On Aug. 5, 2008, plaintiff received a negative performance evaluation from the Technology Services Officer, defendant
   Jeanne Takano, and new manager Jack Cuilla. Plaintiff said that although Cuilla had only supervised plaintiff for one year,
   Cuilla issued an evaluation that purported to address a four-year period dating back to 2004 and that included no input
   from plaintiffs previous supervisor from that time period. Plaintiff claimed he was the only employee to have received a
   performance evaluation encompassing four years.
  Plaintiff said that prior to September 2008, he had 35 years' experience as a mainframe information systems analyst. In
  September 2008, at age 57, plaintiff was reassigned to work on a new operating system with which he had no previous
  experience. Plaintiff requested assignment to one of two available mainframe positions, but was reportedly denied by Takano.
  Plaintiff'claimed that after he left the department, Takano assigned two employees from his team to work in the mainframe
  system area.
  Plaintiff said that at the direction of Takano, plaintiffs supervisor, Michelle Kimura, informed plaintiff he was expected to
  "master" the new Hansen system, without training or guidance. Plaintiff said that while a rapid learning curve for the Hansen
  system would be two to three months, he was given four days of training sessions that were completely unrelated to the
  Hansen system to which he had been assigned. Plaintiff said that when he asked his supervisors questions about the system,
  he was belittled in his efforts to learn the system and his inquiries were deflected or went unanswered.
  Plaintiff said that although he was a member of a group that was expected to work as a team, plaintiff was excluded from
  attending or participating in staff or team meetings. Plaintiff claimed he was micro-managed and required to account for his
  whereabouts at every moment. Plaintiff said he was the only employee required to leave a note at his desk notifying employees
  of his whereabouts for every time he left his desk, including trips to the restroom. Plaintiff claimed he was subjected to
  disparaging and unprofessional remarks by his supervisors. Plaintiff said he complained about the hostile work environment
  to both Kimura and Takano, but his complaints went unaddressed. Plaintiff claimed that in response to his complaints,
  defendants retaliated against him by attacking his work and requiring and soliciting the assistance of plaintiffs supervisor
  and his coworkers to harass him. Plaintiff said that Takano labeled him a "special project" and specifically instructed Kimura
  that regardless of plaintiffs efforts, he had to fail.
  In addition, plaintiff claimed defendants harassed him based on his disabilities. Plaintiff said he often spoke in a loud voice
  due to his hearing loss. Takano and Kimura reportedly chastised plaintiff for speaking in a "loud voice" and purposefully
  mischaracterized his elevated speech as a temper tantrum and reprimanded him. Further, plaintiff said he suffered from high
  stress and defendants purposefully scheduled meetings with plaintiff several weeks in advance in order to create additional
  stress for plaintiff. Plaintiff said that within months of working with Takano and Kimura he experienced high blood pressure,
  severe leg cramps, stress, anxiety, irritability and sleeplessness.
  On June 19, 2009, plaintiff took a medical leave of absence due to the allegedly hostile work environment. Plaintiff resigned
   in late July 2009.
   Plaintiff alleged discrimination based on disability and age, harassment, retaliation, failure to engage in the interactive
   process, failure to prevent discrimination and harassment, and constructive discharge.
   Defendant denied liability.


CLAIMED INJURIES
 NA


 CLAIMED DAMAGES
  According to court records:



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.124 Page 100 of 167


 Jolly vs. City of Long Beach, 27 Trials Digest 16th 14 (2013)


    Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported.


 COMMENTS
 According to court records:

 The complaint was filed Jan. 12, 2011.


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.125 Page 101 of 167


 SIGLIN v. CARDEN WHITTIER SCHOOL INC., JVR No. 1206170012 (2012)




               JVR No. 1205170012, 2012 WL 1798892 (Cal.Super.) (Verdict and Settlement Summary)


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                                    Superior Court, Los Angeles County, California.

                                    SIGLIN v. CARDEN WHITTIER SCHOOL INC.

                                                    BC433923
                                           DATE OF FILING: March 23, 2010
                                           DATE OF TRIAL: March 27, 2012
 TOPIC:


 SUMMARY
 Outcome: Plaintiff Verdict
 Total Verdict: $323,985
 Judge Reduced Award To:
 HIGH AMOUNT: $0

 LOW AMOUNT: $0


 EXPERT-WITNESSES:
 Plaintiff:
 Psychology & Social Behavior: Maddi, Salvatore, Ph.D., Irvine, CA
 Defendant:
 Psychologist: Grienenberger, John, Ph.D., Los Angeles, CA
 ATTORNEY:
 Plaintiff: Monica T. Guizar, Los Angeles, CA
 Sandra C. Munoz, Los Angeles, CA
 Defendant: James T. Jackson, Santa Ana, CA

 JUDGE: Elizabeth Allen White

 RANGE AMOUNT: $200,000 - 499,999

 STATE: California
 COUNTY: Los Angeles

 SUMMARY
 PLAINTIFF:
 Sex: Female

 Age: Adult, 59

 General Occupation: Teacher


 DECEDENT:
 DEFENDANT:


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.126 Page 102 of 167


  SIGLIN v. CARDEN WHITTIER SCHOOL INC., JVR No. 1205170012 (2012).


  Sex: Organization

  Organization Type: Carden Whittier School Inc,

  Policy Limit:


 ENTITY TYPE: Private Educational Institution
 DAMAGES:
 Compensatory Past Wages Award: $288,985

 Compensatory Pain And Suffering Award: $35,000

 Total Compensatory Award: $323,985

 Punitive.Damages: $0

 Hedonic Damages: $0

 Property Damages: $0

 Other Damages: $0

 Interest: $0

 Loss of Service: $0


 ADVERSE ACTION
 Closer Supervision: false

 Constructive Discharge: false

 Demotion: false

 Denial Tenure: true

 Failure Accomodate: false

 Failure Grant Leave: false

 Failure Hire: false

 Failure Promote: false

 Suspension: false

 Sexual Harassment: false

 Harassment: false


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.127 Page 103 of 167


  SIGLIN v. CARDEN WHITTIER SCHOOL INC., JVR No. 1205170012 (2012)



  Hostile Work Env: false

  Isolation: false

  Lay Off: false

  Loss Benefits: false

  Loss Pay: true

 Loss Seniority: false

 Negative Eval: false

 Negative Reference: false

 Pay Increase Denial; false

 Reassignment: true

 Reduction Pay: false

 Reprimands: false

 Restrictions: false

 Termination: true


 STATUTES
 Primary Specific Statute
 Primary Name: ADA/ADAAA


 Primary General Statute
 Primary Name: Disability Discrimination
 Primary general Statute Discrimination: true


 Specific Statute: ADA
 General Statute: Retaliation
 General Statute Discrimination: false

 Comparative Negligence Percentage: 0


 FACTS:
 Judy Siglin sued Carden Whittier School Inc. for disability discrimination, retaliation, wrongful termination, and intentional
 infliction of emotional distress. The 59-year-old former second and third grade school teacher alleged that following a two month



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.128 Page 104 of 167


 SIGLIN v. CARDEN WHITTIER SCHOOL INC., JVR No. 1205170012 (2012)


 medical leave of absence, which she took with the defendant's approval, upon her return; the school refused to reinstate her to the
 class she taught prior to her leave. She asserted that instead of allowing her to teach at the second and third grade levels as she had
 done for 18 years, she was designated to a substitute teacher and tutor position, and when she made a request for the defendant
 to restore her former teaching position, it refused to do so. Siglin asserted that Carden Whittier School retaliated against her
 for taking medical leave, and discriminated against her based on her perceived disability, which was a clear violation of the
 California Family Rights Act and the Americans with Disabilities Act. She also contended that ultimately the school unlawfully
 terminated her employment, that this violated public policy, and caused her severe emotional distress. Carden Whittier School
 denied the allegations and contended that the plaintiff was not terminated, that its actions against her were non-discriminatory
 and based on legitimate business reasons. Carden Whittier also contended that the plaintiffs tenure at the school ended after her
 contract expired, and because of economical hardships, it was unable to renew her contract. The jury found for Siglin on:her
 disability discrimination claim, but found for Carden Whittier on her retaliation and intentional infliction of emotional distress
 claims.


 Jury Verdict Research
 COURT: Superior


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.129 Page 105 of 167


 SUN v. TRANSIT AIR CARGO INC., JVR No. 1203190009 (2012)




                JVR No. 1203190009, 2012 WL 933613 (Ca1.Super.) (Verdict and Settlement Summary)


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                                       Superior Court, Orange County, California.

                                          SUN v. TRANSIT AIR CARGO INC.

                                                 30-2011-00446922
                                          DATE OF INCIDENT: June 30, 2010
                                          DATE OF FILING: February 02, 2011
                                           DATE OF TRIAL: March 18, 2012
 TOPIC:


 SUMMARY
 Outcome: Plaintiff Verdict
 Total Verdict: $175,000
 Judge Reduced Award To:
 Final Demand: $140,000
 Final Offer: $5000
 HIGH AMOUNT: $0

 LOW AMOUNT: $0


 EXPERT-WITNESSES:
 ATTORNEY:
 Plaintiff. Brian J. Mankin, Riverside, CA
 Defendant: Nicholas D. Mosich, Costa Mesa, CA

 JUDGE: Barbara Tarn Nomoto Schumann

 RANGE AMOUNT: $100,000 - 199,999

 STATE: California
 COUNTY: Orange

 SUMMARY
 PLAINTIFF:
 Sex: Female

 Age: Adult

 General Occupation: General Laborer


 DECEDENT:
 Other Expenses: $0




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.130 Page 106 of 167


 SUN v. TRANSIT AIR CARGO INC., JVR No. 1203190009 (2012)



 DEFENDANT:
 Sex: Organization

 Organization Type: Transit Air Cargo Inc.

 Policy Limit:


 ENTITY TYPE: General Business Entity
 Claimed. Past Wages: $40,000


 DAMAGES:
 Compensatory Past Medical Award: $0

 Compensatory Future Medical. Award: $0

 Compensatory Past Wages Award: $41,125

 Compensatory Future Wages Award: $0

 Compensatory Pain And Suffering Award: $0

 Other Compensatory Award: $120,959

 Total Compensatory Award: $175,000

 Punitive Damages: $0

 Hedonic Damages: $0

 Property Damages: $0

 Other Damages: $0

 Interest: $0

 Loss of Service: $0


 ADVERSE ACTION
 Closer Supervision: false

 Constructive Discharge: false

 Demotion: false

 Denial Tenure: false




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  SUN v. TRANSIT AIR CARGO INC., JVR No. 1203190009 (2012)


  Failure Accomodate: true

  Failure Grant Leave: true

  Failure Hire: false

 Failure Promote: false

 Suspension: false

 Sexual Harassment: false

 Harassment: false

 Hostile Work. Env: false

 Isolation: false

 Lay Off: false

 Loss Benefits: false

 Loss Pay: false

 Loss Seniority: false

 Negative Eval: false

 Negative Reference: false

 Pay Increase Denial: false

 Reassignment: false

 Reduction Pay: false

 Reprimands: false

 Restrictions: false

 Termination: true


 STATUTES
 Primary Specific Statute
 Primary Name: ADA/ADAAA


 Primary General Statute
 Primary Name: Disability Discrimination


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.132 Page 108 of 167


 SUN v. TRANSIT AIR CARGO INC., JVR No. 1203190009 (2012)


 Primary general Statute Discrimination: true


 Specific Statute: General
 General Statute: Wrongful Termination
 General Statute Discrimination: false

 Comparative Negligence Percentage: 0


 FACTS:
 The plaintiff, .May Sun, sued Transit Air Cargo Inc. for disability discrimination and wrongful termination. The plaintiff
 contended that the defendant discriminated against her based on her physical disability, failed to accommodate her request for
 medical leave, and that this was in non-compliance with the California Family Rights Act, which grants eligible employees a
 total of 12 work weeks of unpaid leave during a 12 month period for serious health condition. She asserted that she was also
 wrongfully terminated from her employment only one day after she requested medical leave, and that Transit Air Cargo acted
 with malice and indifference to her federally protected •rights under the Americans with Disabilities Act. Transit Air Cargo
 denied the allegations and contended that it had a plan in place to discharge the plaintiff from her employment prior to her
 request for medical leave, and that its decision to terminate her was not due to any discriminatory reasons based on her disability,
 but out of the necessity for a reduction in the workforce, and because of issues with her performance.


 Jury Verdict Research
 COURT: Superior


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.133 Page 109 of 167


 O'Connor vs. UHS-Corona Inc., 34 Trials Digest 14th 11 (2011)




             34 Trials Digest 14th 11, 2011 WL 3606915 (Cal.Superior) (Verdict and Settlement Summary)


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                                         Superior Court, Riverside County, California.

                                                 O'Connor vs. UHS-Corona Inc.

 TOPIC:
 Synopsis: Nurse alleges retaliatory termination in violation of CFRA

 Case Type: Labor & Employment; Retaliation; Labor & Employment; Termination/Constnictive Discharge; Labor &
 Employment; Family & Medical Leave; Defamation; Other; Labor & Employment; Violation of Public Policy

                                                 DOCKET NUMBER: RIC516507

 STATE: California
 COUNTY: Riverside
                                             Verdict/Judgment Date: January 20, 2011

 JUDGE: Lillian Y. Lim
 ATTORNEYS:
 Plaintiff: Jeffrey A. Rager, Rager Law Firm, Torrance; Melanie Rasic Savarese, Savarese Law Firm, Sierra Madre.
 Defendant: Tracie Childs, Manning & Marder, Kass, Ellrod, Ramirez, San Diego; Al De La Cruz, Manning & Marder, Kass,
 Ellrod, Ramirez, San Diego.

                                                           SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $1,630,334


 Range: $1,000,000-1,999,999
 $130,334 past economic loss; $1,000,000 past non-economic loss; $500,000 future non-economic loss against defendants UHS-
 Corona Inc. dba Corona Regional Medical Center and UHS of Delaware Inc. During a concurrent bench trial, the court ruled
 that Universal Health Services Inc. was not a single or joint employer of plaintiff, and judgment was issued in favor of Universal
 Health Services Inc. as against plaintiff.

 Trial Type: Jury

 Deliberations: Not reported.

 Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Not reported.
 Defendant: Not reported.

 TEXT:



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.134 Page 110 of 167


 O'Connor vs. UHS-Corona Inc., 34 Trials Digest 14th 11 (2011)



 CASE INFORMATION

 FACTS/CONTENTIONS
  According to court records: On March 25, 2003, plaintiff Doreen O'Connor began her employment with defendants Corona
  Regional Medical Center, Universal Health Services Inc. ("UHS"), Brenda Schicker, Ruth Battles, and May Walsh as an RN
  on the nursery staff from 7:00 a.m. to 7:00 p.m.
  On July 9, 2003, plaintiffs Performance Review read, "Doreen meets or exceeds all standards of performance. She is very
  willing to learn and very pleasant with patients and co-workers. It is a pleasure to have Doreen on staff, she has experienced
  some very busy shifts and is doing an excellent job."
  On March 23, 2005, plaintiff was rated overall as "Exceeds Requirements." The review stated, "Doreen has been very helpful
  in some of the changes that have taken place in our department. She developed two of the tests that were used for competencies
  in our mother-baby department. Doreen is a very knowledgeable and skilled nurse here at Corona and we are lucky to have
  her here as part of our staff."
  In April 2006, plaintiff:was promoted to Charge Nurse. In October 2007, defendant Brenda Schicker was hired as Education
   Manager.
   In February and March 2008, plaintiff was on a protected medical leave for diabetes and asthma. Upon return from her
   medical leave, she was presented with a performance review in May 2008. She received a lower rating and was told not to
   be "emotional" when presenting concerns to her director. Plaintiff was informed that she was "not giving as much as before
   because of her medical condition."
   On October 8, 2008, plaintiff was informed she was fired by defendants Schicker, Battles, and Walsh. In the presence of
   others, plaintiff was accused of "harassing, stocking [sic], and spying, on the nursing staff." She was accused of"inappropriate
   behavior and inappropriate language." She was told that the staff felt "threatened" by her.
   Plaintiff filed suit for Retaliation in Violation of the California Family Rights Act, Wrongful Termination in Violation of
   Public Policy, Retaliatory Termination in Violation of Public Policy, and Defamation Per Se.


 CLAIMED INJURIES
  According to court records:
  Emotional distress; major depressive disorder.


 CLAIMED DAMAGES
  According to court records:
  $125,723 loss of earnings.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not, reported.


 COMMENTS.
 According to court records:

 The complaint was filed on December 30, 2008.


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 Riverside County Superior Court/Central



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.135 Page 111 of 167


 O'Connor vs. UHS-Corona Inc., 34 Trials Digest 14th 11 (2011)




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.136 Page 112 of 167


  Ronald Vanderheiden v. City of Alameda, 2011 WL 1562075 (2011)




                           2011 WL 1562075 (Ca1.Superior)      (Verdict and Settlement Summary)


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                                      Superior Court, Alameda County, California.

                                          Ronald Vanderheiden v. City of Alameda

                                         No. RG06 283619
                          DATE OF VERDICT/SETTLEMENT: March 23, 2011
 TOPIC: EMPLOYMENT - CALIFORNIA'S FAIR EMPLOYMENT & HOUSING ACT - DISCRIMINATION - PERCEIVED
 DISABILITY - EMPLOYMENT - DISABILITY DISCRIMINATION

 Terminated Firefighter Denied Being Mentally Unfit for Job


 SUMMARY:
 RESULT: Verdict-Plaintiff

 Award Total: $680,182

 The jury found in favor of Vanderheiden and awarded him $680,182 in economic damages. It awarded no emotional distress
 damages.


 EXPERT WITNESSES:
 Plaintiff: Margo R. Ogus, Ph.D.; Economics; Mountain View, CA Steven A. Harman; Human Resources Policies; Dublin, CA
 Defendant: Mark D. Cohen, M.S.; Economics; Lafayette, CA Rhoma D. Young; Human Resources Policies; Oakland, CA
 ATTORNEYS:
 Plaintiff': Christopher E. Platten; Wylie, McBride, Jesinger, Platten & Renner; San Jose, CA (Ronald Vanderheiden); Amy L.
 Sekany; Wylie, McBride, Platten & Renner; San Jose, CA (Ronald Vanderheiden, Ronald Vanderheiden)
 Defendant: Ian P. Fellerman; Wiley Price & Radulovich, LLP; Alameda, CA (City of Alameda); Joan Pugh Newman; Wiley,
 Price & Radulovich, L.L.P.; Alameda, CA (City of Alameda)

 JUDGE: Wynne S. Carvill

 RANGE AMOUNT: $500,000-999,999

 STATE: California
 COUNTY: Alameda

 INJURIES: Vanderheiden sought recovery of economic damages for lost wages and pension, as well as significant
 non-economic emotional distress damages. After his termination, Vanderheiden started his own business providing
 instruction and certification in First Aid and CPR.

 Facts:
 In April 2006, plaintiff Ronald Vanderheiden, 50, was terminated from his position as a firefighter for the city of Alameda.
 He had held the position for 14 years.




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.137 Page 113 of 167


  Ronald Vanderheiden v. City of Alameda, 2011 WL 1562075 (2011)


 Vanderheiden sued the city for disability discrimination under California's Fair Employment and Housing Act, alleging he was
 terminated based on a perceived psychological disability. He claimed he was wrongfully terminated by the city on the ground
 that he was psychologically unable to perform as a member of a team with the Alameda Fire Department.

 Vanderheiden contended that he had a sterling career as a firefighter with the city, and he contended the city was unable to
 cite a single instance wherein he was unable to execute his duties as a firefighter or emergency medical technician. Instead,
 Vanderheiden contended that the city relied on unverified complaints made, by co-workers regarding his alleged "erratic
 behavior" in justifying a fitness for duty evaluation. He alleged that the co-workers' complaints were retaliation for his previously
 reporting alleged misconduct of a fellow firefighter to the police.

 Vanderheiden claimed that the city knew it placed him into a potentially hostile work environment because he had filed the
 police report. He contended that the city ignored his complaints of retaliation, including alleged ostracism by fellow firefighters,
 purported destruction of his safety equipment and alleged threats to his physical safety.

 The city stated that one of the primary bases for terminating Vanderheiden was a fitness for duty evaluation performed by a
 psychologist. The report deemed Vanderheiden psychologically incapable of performing as a member of a team with the Fire
 Department. However, plaintiffs' counsel argued that the city relied on the psychologist's evaluation despite reports from four
 other mental health professionals that indicated Vanderheiden was able to work.

 Vanderheiden contended that the city refused to accept his pre-termination offer for an independent medical examination, and
 instead relied on the single opinion of the other psychologist.

 The trial court held that under the standard of "objective reasonableness" only that information which the decision-maker had
 knowledge of prior to the termination was relevant. Therefore, the court excluded all expert testimony pertaining to the objective
 scientific and medical validity of the tests administered in the fitness for duty evaluation, as well as the underlying basis for
 each of the five professional opinions offered by Vanderheiden because none of that information was known by the fire chief
 at the time he terminated Vanderheiden.

 The city contended that its decision to terminate Vanderheiden was reasonable because: 1) numerous employees personally
 observed Vanderheiden engage in erratic behavior (including getting dressed in his car, acting depressed, having mood swings,
 staring at other firefighters, calling in sick 160 hours during a four and a half month time period, sleeping at work in the morning,
 pacing the hallways, tape-recording conversations, crying and showing up unannounced at chiefs' homes); 2) Vanderheiden
 indicated that he was interested in obtaining an industrial disability retirement if he would receive his full salary; 3) two outside
 psychologists separately concluded that Vanderheiden was psychologically unable to work; 4) one of Vanderheiden's treating
 therapists repeatedly informed the City's Employee Assistance Program that Vanderheiden was unable to work; 5) the most
 recent performance evaluation, by Vanderheiden's direct supervisor concluded that Vanderheiden had excessive problems in
 emotional self-control and interpersonal behavior; and 6) Vanderheiden failed to obtain any additional counseling or treatment
 after the second outside psychologist concluded that he was psychologically unable to work.

 The defense noted that following his termination, Vanderheiden never applied for another firefighter position.


 ALM Properties, Inc.
 Superior Court of Alameda County, Oakland

 PUBLISHED IN: VerdictSearch California Reporter Vol. 10, Issue 17


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.138 Page 114 of 167


 Ward vs. Cadbury Schweppes Bottling Group, 10 Trials Digest 15th 7 (2011)




                    Trials Digest 15th 7, 2011 WL 7447633 (C.D.Cal.) (Verdict and Settlement Summary)


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                               United States District Court, C.D. California, Western Division.

                                        Ward vs. Cadbury Schweppes Bottling Group

 TOPIC:
 Synopsis: Truck drivers claim age discrimination resulted in constructive discharge

 Case Type: Labor & Employment; Age; Labor & Employment; Termination/Constructive Discharge

                                            DOCKET NUMBER: 09CV03279(DMG)

 STATE: California
 COUNTY: Not Applicable.
                                            Verdict/Judgment Date: December 7, 2011

 JUDGE: Dolly M. Gee
 ATTORNEYS:
 Plaintiff: Michael F. Baltaxe, Law Offices of Michael F. Baltaxe, Westlake Village; Wendy K. Marcus, Law Offices of Timothy
 B. Sottile, Westlake Village; Timothy B. Sottile, Law Offices of Timothy B. Sottile, Westlake Village.
 Defendant: Daryl M. Crone, Crone Hawxhurst, Los Angeles; Joshua Paul Gelbart, Crone Hawxhurst, Los Angeles; Gerald E.
 Hawxhurst, Crone Hawxhurst, Los Angeles; Diyari Vazquez, Crone Hawxhurst, Los Angeles.

                                                          SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $17,899,400


 Range: $5,000,000-999,999,999
 Plaintiff Ward: $133,000 past income; $1,000,000 past and future physical pain, mental suffering, loss of enjoyment of life,
 inconvenience, grief, humiliation, and emotional distress; $350,000 for past and future physical impairment, including psyche,
 hypertension, stomach, sleeplessness, anxiety, and chest pain; $1,800,000 punitive damages. Plaintiff Jones: $44,000 past
 income; $1,000,000 past and future physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation,
 and emotional distress; $1,214,000 punitive damages. Plaintiff Suhay: $71,000 past income; $1,000,000 past and future physical
 pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation, and emotional distress; $200,000 past and
 future physical impairment, including hernia and shoulder surgeries; $1,542,000 punitive damages. Plaintiff Valadez: $130,000
 past income; $1,000,000 past and future physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief,
 humiliation, and emotional distress; $500,000 past and future physical impairment, including right knee surgery; $2,043,000
 punitive damages. Plaintiff Talton: $144,000 past income; $500,000 past and future medical expenses; $800,000 past and future
 physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation, and emotional distress; $200,000
 past and future physical impairment, including back and stress; $1,753,000 punitive damages. Plaintiff January: $140,000 past
 income; $800,000 past and future physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation,
 and emotional distress; $200,000 past and future physical impairment, including shoulder stress and strain; $1,335,400 punitive
 damages.

 Trial Type: Jury


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.139 Page 115 of 167


  Ward vs. Cadbury Schweppes Bottling Group, 10 Trials Digest 15th 7 (2011)



  Trial Length: 13 days.

  Deliberations: I day.

  Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Jeff Nelken B.S., M.A., RD., food safety, Woodland Hills, (310) 273-5492.; Karen Lynn Smith, M.A., economist,
 Adams Smith Economics, San Marino, (626) 796-4040.
 Defendant: Not reported.

 TEXT:

 CASE INFORMATION

 FACTS/CONTENTIONS.
   According to court records: Plaintiffs Robert M. Ward, Robert E. Jones, Jose M. Valadez, Leonard Talton, Gary Suhay, and
   Alfonso W. January were employed by defendants Cadbury Schweppes Bottling Group, Cadbury Schweppes Holdings Inc.,
  7-Up/RC Bottling Company of Southern California, Dr•. Pepper Snapple Group, and American Bottling Company.
  Plaintiffs alleged defendants, through upper management, implemented and enforced an unwritten pollcy of discrimination
  against older employees, including plaintiffs. Plaintiffs claimed defendants assigned the older truck drivers more difficult
  and physically taxing routes so they would quit or become injured, transferred the older forklift operators to more difficult
  and strenuous duties so that they would quit or become injured, piled work on plaintiffs so that they would quit or become
  injured, and wrote some plaintiffs up for frivolous and pre-textual reasons.
  Plaintiffs alleged discrimination based on age, failure to prevent discrimination or retaliation, constructive discharge in
  violation of public policy, failure to engage in good-faith interactive process, and failure to accommodate.


 CLAIMED INJURIES
  According to court records:
  Hypertension; stomach; sleeplessness; anxiety; chest pain; hernia; shoulder; knee; anxiety; emotional distress; back,


 CLAIMED DAMAGES
  According to court records:
  Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported.


 COMMENTS
 According to court records:

 The complaint was filed in Los Angeles Superior Court, case number BC410112. It was removed to federal court on May 8,
 2009.



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.140 Page 116 of 167


 Ward vs. Cadbury Schweppes Bottling Group, 10 Trials Digest 15th 7 (2011)




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 Central District Federal Court/Los Angeles



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  Peacock vs. Quest Diagnostics, 27 Trials Digest 14th 10 (2010)




               27 Trials Digest 14th 10, 2010 WL 6806990 (C.D.ca.) (Verdict and Settlement.Summary)


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                                United States District Court, C.D. California, Western Division.

                                                Peacock vs. Quest Diagnostics

 TOPIC:
 Synopsis: Employee alleges discriminatory termination in violation of CFRA

 Case Type: Labor & Employment; Discrimination; Labor & Employment; Termination/Constructive Discharge; Labor &
 Employment; Violation of Public Policy; Labor & Employment; Family & Medical Leave; Labor & Employment; Disability/
 Medical Condition; Labor & Employment; Retaliation

                                            DOCKET NUMBER: 09CV09206(JHN)

 STATE: California
 COUNTY: Not Applicable
                                           Verdict/Judgment. Date: December 15, 2010

 JUDGE: Jacqueline H. Nguyen
 ATTORNEYS:
 Plaintiff: 'Christopher B. Adamson, Lavi & Ebrahimian, Los Angeles; Joseph Lavi, Lavi & Ebrahirnian, Los Angeles.
 Defendant: •Deanna L. Ballesteros, Epstein, Becker & Green, Los Angeles; David Jacobs, Epstein, Becker & Green, Los
 Angeles.

                                                         SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $229,638


 Range: $200,000-499,999
 $71,138 past economic; $8,500 future economic; $150,000 past non-economic.

 Trial Type: Jury

 Deliberations: Not reported.

 Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Not reported.
 Defendant: Not reported.

 TEXT:

 CASE INFORMATION




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.142 Page 118 of 167


 Peacock vs. Quest Diagnostics, 27 Trials Digest 14th 10 (2010)



 FACTS/CONTENTIONS
   According to court records: Plaintiff Janeen A. Peacock was an employee of defendant Quest Diagnostics, working as a
   Specimen Tech II from February 2003 until approximately January 16, 2008, when she was wrongfully terminated. In the
   later part of 2007, plaintiffs Manager and/or Supervisor, Raymond Candeleria, started causing plaintiff severe emotional
   distress and depression, which manifested itself in panic attacks which were witnessed by Candeleria. Plaintiff informed
   Candeleria that she had been under a lot of stress at work and that was the reason for her panic attacks, which, over the
   months, started to increase in frequency and/or duration.
   In early January 2008, plaintiff had an outburst at work in front of Candeleria. Plaintiff started crying uncontrollably in front
   of Candeleria and told him that her outburst was due to severe distress at work.
   On January 16, 2008, plaintiff checked herself into Northridge Hospital's Emergency Room due to severe depression. On
   January 17, 2008, plaintiff informed defendant's Human Resources that she had been admitted into hospital for severe
  depression and that she had been taken off work. Plaintiff was released on January 21, 2008 and was placed on disability by
  her treating physician until February 5, 2008. Upon release from the hospital, plaintiff informed defendant of her disability
  and mailed a copy of her doctor's note placing her off work and on disability.
  On January 22, 2008, plaintiff contacted defendant's Benefit Department and informed them that she had to receive
  psychological treatment and group therapy from January 22, 2008 to February 1, 2008. She was informed that that was okay
  and that defendant would follow up with plaintiff in a few days.
  On February 1, 2008, plaintiff was informed by her treating physician that her insurance had been canceled. Plaintiff contacted
  Human Resources to find out why and was told that they did not know why.
  On February 1, 2008, plaintiff received a letter dated January 31, 2008, stating that defendant had terminated plaintiffs
  employment for job abandonment.
  Plaintiff filed suit for Discriminatory Termination in Violation of the California Family Rights Act, California Government
  Code § 12945.2; Violation of the California Family Rights Act, California Government Code § 12945.2(a), Interfering with
  the Rights and Refusing an Employee's Request for a CFRA Medical Leave; Retaliatory Termination in Violation of the
  California Family Rights Act, California Government Code § 12945.2, for Requesting and Going on a Medical Leave;
  Tortious Termination and Discrimination in Violation of Public Policy; Disability Discrimination in Violation of FEHA;
  Discrimination Based on Perceived Disability in Violation of FEHA; Disability Discrimination in Violation of FEHA, Failure
  to Provide Reasonable Accommodation; Disability Discrimination in Violation of FEHA, Failure to Engage in Interactive
  Process; Retaliatory Termination in Violation of FEHA for Requesting a Reasonable Accommodation; Tortious Termination
  and Discrimination in Violation of Public Policy Based on FEHA; and Tortious Termination, Discrimination, and Failure to
  Hire in Violation of Public Policy for the Right to File a Workers' Compensation Claim due to Work Related Injury.


 CLAIMED INJURIES
  NA


 CLAIMED DAMAGES
  According to court records:
  Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported.


 COMMENTS
 According to court records;


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.143 Page 119 of 167


 Peacock vs. Quest Diagnostics, 27 Trials Digest 14th 10 (2010)



 The complaint was filed on October 29, 2009.


 Trials Digest, A Thomson Reuters/West business
 Central District Federal Court/Los Angeles



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.144 Page 120 of 167


  Beverly Dodd v. Haight Brown & Bonesteel LLP, 2010 WL 4845803 (2010)




                           2010 WL 4845803 (Ca1.Superior) (Verdict and Settlement Summary)


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                                     Superior Court, Los Angeles County, California.

                                       Beverly Dodd v. Haight Brown & Bonesteel LLP

                                         No. BC413813
                           DATE OF VERDICT/SETTLEMENT: October 15, 2010
 TOPIC: EMPLOYMENT - WRONGFUL TERMINATION - EMPLOYMENT - AGE DISCRIMINATION - EMPLOYMENT
 - DISABILITY DISCRIMINATION - EMPLOYMENT - FMLA

 Suit: Secretary Terminated While Undergoing Cancer Treatment


 SUMMARY:
 RESULT: Verdict-Plaintiff

 Award Total: $410,520

 The jury found the defendant liable, and awarded Dodd $410,520 in damages for future lost earnings, including her life insurance
 policy. Dodd was not awarded damages for pain and suffering.


 EXPERT WITNESSES:
 Plaintiff: Flavio Marenco; Clinical Psychology; Los Angeles, CA Solomon Hamburg, M.D.; Oncology; Beverly Hills, CA
 ATTORNEYS:
 Plaintiff: Michael J. Procopio; Campion, Rodolff, Van Riper & Procopio; Santa Ana, CA (Beverly Dodd); Michael Louis Kelly;
 Kirtland & Packard; El Segundo, CA (Beverly Dodd)
 Defendant: Linda Miller Savitt; Ballard, Rosenberg, Golper & Savitt, LLP; Glendale, CA (Haight Brown & Bonesteel LLP);
 Eric C. Schwettmann; Ballard, Rosenberg, Golper & Savitt; Glendale, CA (Haight Brown & Bonesteel LLP)

 JUDGE: Joanne O'Donnell

 RANGE AMOUNT: $200,000-499,999

 STATE: California
 COUNTY: Los Angeles

 INJURIES: Dodd asked the jury for $525,000 in damages for past and future lost earnings, as well as $900,000 in
 damages for past pain and suffering and $900,000 for future pain and suffering.

 Facts:
 On Nov. 14, 2008, plaintiff Beverly Dodd, 66, was terminated from her job as a legal secretary at the firm of Haight Brown &
 Bonesteel LLP, located in Los Angeles. Dodd, who had been employed at the firm for roughly 20 years, was on medical leave
 at the time as she received treatment for liver cancer.

 Dodd sued Haight Brown & Bonesteel, alleging she was wrongfully terminated due to her age, medical condition, disability
 and her high rate of compensation, in violation of Federal and State Law.




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.145 Page 121 of 167


  Beverly Dodd v. Haight Brown & Bonesteel LLP, 2010 WL 4845803 (2010)


  Dodd contended that at the time of her termination she had 10 days remaining on 12 weeks of unpaid leave under the Family
  Medical Leave Act, for treatment of her liver cancer. She claimed that she called the firm's human resources manager to request
  an additional three to six months of unpaid leave for further cancer treatment. She said she then received a Federal Express
  letter terminating her employment on Nov, 14, 2008, with her initial leave expiring on Nov. 24.

  The law firm contended that Dodd was lawfully terminated as a result of her inability to come back to work after her FMLA
  leave period expired. It claimed it received a note from Dodd's doctor, which indicated that she would not be able to return after
  her leave since she had another six months of treatment left.

  The law firm further contended that Dodd could not return in any capacity for at least a year given her physician's certifications.
  It also argued that Dodd did not request any reasonable accommodation and that it engaged in the interactive process to the
  fullest extent possible, given Dodd's refusal to allow all relevant information to be shared.

  The defendant further contended that neither Dodd's age nor salary had any bearing on her termination.

  She claimed she lost her annual salary of $70,000 and benefits, including a 3 percent of salary-per-year pension plan
  contribution, a life insurance policy, and medical insurance. She claimed that she planned to work full-time until age 70 and
  part-time until age 75. Dodd testified that she also suffered emotional distress as a result of her termination, and has been unable
  to find work thereafter.

  Haight contended that Dodd's inability to work at the time her leave expired, and for at least a year after, precluded any award
  of damages to her. The defendant further contended that Dodd failed to mitigate her damages when she was allegedly able to
  return to work nearly 18 months later by seeking subsequent employment.

  Insurer:

  Underwriters at Lloyd's of London


  ALM Properties, Inc.
  Superior Court of Los Angeles County, Central

  PUBLISHED IN: VerdictSearch California Reporter Vol. 9, Issue 46



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.146 Page 122 of 167


  Jeanette.A. Ybarra v. Dacor Holdings Inc., Distinctive..., 2010 WL 2404221...




                            2010   WL 2404221 (Cal.Super.) (Verdict and Settlement Summary)


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                                    Superior Court, Los Angeles County, California.

                 Jeanette A. Ybarra v. Decor Holdings. Inc., Distinctive Appliance Inc. and Rene Castro

                                       No. KC-054144
                         DATE OF VERDICT/SETTLEMENT: February 26, 2010
 TOPIC: EMPLOYMENT - WRONGFUL TERMINATION - EMPLOYMENT - AGE DISCRIMINATION - EMPLOYMENT
 - DISABILITY DISCRIMINATION - INTENTIONAL TORTS - INTENTIONAL INFLICTION OF EMOTIONAL
 DISTRESS

 Fired Pltf With Kidney Disease Alleged Age, Disability Bigotry


 SUMMARY:
 RESULT: Verdict-Plaintiff

 Award Total: $615,236

 The jury found disability discrimination. Ybarra dismissed her age discrimination claim, after the jury was locked 6-6 on the
 question.

 Ybarra was awarded $615,236.


 EXPERT WITNESSES:
 Plaintiff: Anthony E. Reading, Ph.D.; Psychology/Counseling; Beverly Hills, CA Jenny McNulty; Economics; Los Angeles, CA
 Defendant: Edward J. Workman, Ph.D.; Vocational Rehabilitation; San Clemente, CA Stuart Friedman, M.D.; Nephrology;
 Los Angeles, CA
 ATTORNEYS:
 Plaintiff: Charles T, Mathews; Charles T. Mathews & Associates; San Marino, CA (Jeanette A. Ybarra); Deane L. Shanander;
 Charles T. Mathews & Associates; San Marino, CA (Jeanette A. Ybarra)
 Defendant: Michelle T. Harrington; Stone & Hiles; Los Angeles, CA (Dacor Holdings Inc., Rene Castro); Paula G. Tripp;
 Anderson, McPharlin & Conners; Los Angeles, CA (Dacor Holdings Inc., Rene Castro)

 JUDGE: Robert A. Dukes

 RANGE AMOUNT: $500,000-999,999

 STATE: California
 COUNTY: Los Angeles

 INJURIES: Ybarra claimed past and future lost earnings and benefits, insisting that she had difficulty finding a new
 job due to her age, medical condition and the current economical climate. Ybarra alleged that she had intended to work
 at Dacor until retirement.

 Facts:




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.147 Page 123 of 167


 Jeanette A. Ybarra v. Dacor Holdings Inc., Distinctive..., 2010 WL 2404221...


 In May 1991, plaintiff Jeanette Ybarra was hired by Dacor Holdings Inc. as a sales coordinator. She was then promoted to the
 position of inventory control coordinator, working at the company's distribution center in the City of Industry.

 In 1996, Ybarra began dialysis treatment for a congenital kidney disease, which she administered to herself at work, two times
 a day. Approximately two years later, Ybarra developed a severe peritonitis and went off work for eight months. On her return,
 she began renal hemodialysis, which required her to come into work early three days a week.

 In January 2008, Ybarra missed four weeks of work due to an infection. She claimed that before her infection, in late 2007, her
 supervisor, Rene Castro, began taking her job duties away from her. Ybarra also claimed that the company accumulated her
 missed time as negative 960 hours in sick days, which forced her to use vacation days.

 On. April I, 2008, Ybarra was terminated as Castro informed that her position was being eliminated.

 Ybarra sued Dacor and Castro, as well as Distinctive Appliance Inc., the holdings company that owned Dacor, alleging wrongful
 termination, disability discrimination, age discrimination and intentional infliction of emotional distress.

 Distinctive was discontinued from the case prior to trial.

 Ybarra claimed that her illness and age eventually led to her discharge. She asserted that Castro made efforts to exclude her from
 activity with younger coworkers and that his decision to take away her responsibilities was in response to her medical condition.

 Ybarra further purported that the company was undergoing a change in health insurance coverage, and the new provider had
 increased rates for employees with pre-existing conditions. Ybarra, alleged that all the combined factors led to her being the
 first Dacor employee to be laid. off.

 In regard to the age discrimination claim, she charged that the company fired several employees who were over the age of 40
 while promoting younger individuals.

 The defense responded that Ybarra was not fired due to her age or disability, and that she was just an unlucky employee in
 regard to company layoffs. The defendants further claimed that the plaintiffs performance was becoming weak, and her work
 wasn't timely enough, also contributing to her termination.

 Ybarra countered that her performance didn't suffer as a result of her medical condition, and that her annual performance
 appraisals were always good. She contended that she received a score of 3 or 4 in her reviews, with 3 being deemed as "efficient"
 and 4 being "commendable."

 Ybarra also sought past and future medical costs due to her affected coverage after termination. She additionally sought pain
 and suffering damages.

 The defense contested Ybarra's damages, arguing that if she were awarded anything, it should be reduced due to her shortened
 life expectancy. Counsel contended that Ybarra should have been able to obtain a new job within a year of termination.


 ALM Properties, Inc.
 Superior Court of Los Angeles County, Pomona

 PUBLISHED IN: VerdictSearch California Reporter Vol. 9, Issue 24



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.148 Page 124 of 167


  Malone vs, Potter, 16 Trials Digest 12th 17 (2009)
  •
                16 Trials Digest 12th 17, 2009 WL 999514 (C.D.Cal.) (Verdict and Settlement Summary)


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                                United States District Court, C.D. California, Western Division.

                                                           Malone vs. Potter

 TOPIC:
 Synopsis: Mail carrier claims he was targeted because of disability

 Case Type: Labor & Employment; Termination/Constructive Discharge; Labor & Employment; Discrimination; Labor &
 Employment; Disability/Medical Condition; Labor & Employment; Retaliation.

                                           DOCKET NUMBER: 07CV05530(MMM)

 STATE: California
 COUNTY: Not Applicable
                                             Verdict/Judgment Date: March 10, 2009

 JUDGE: Margaret M. Morrow
 ATTORNEYS:
 Plaintiff: Andrew M. Wyatt, Law Offices of Andrew M. Wyatt, Woodland Hills.
 Defendant: Gwendolyn M. Gamble, Office of U. S. Attorney, Los Angeles; Thomas P, O'Brien, Office of U. S. Attorney, Los
 Angeles; Leon W. Weidman, Office of U. S. Attorney, Los Angeles.

                                                            SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $300,000


 Range: $200,000-499,999
 $300,000 for disability discrimination and retaliation.

 Trial Type: Jury

 Deliberations: Not reported.

 Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Barbara Ammons, Ph.D., psychologist, Diamond Bar.; Lawrence Ball, human resources consultant, Human Resources
 Management Network, Fullerton.; Anand Khemlani, economist.
 Defendant: Thomas J. Grogan, M.D., orthopedic surgeon, Santa Monica, (310) 828-5441.; Brian P. Jacks, M.D., psychiatrist,
 Beverly Hills, (310) 274-0684.; Jerald H. Udinsky, Ph.D., economist, The Udinsky Group, Berkeley, (510) 649-9000.

 TEXT:

 CASE INFORMATION


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.149 Page 125 of 167


  Malone vs. Potter, 16 Trials Digest 12th 17 (2009)



  FACTS/CONTENTIONS
     According to court records: Plaintiff Earnest J. Malone was hired as a City Carrier on August 12, 1978 and was transferred
     to the position of Lobby Director as a result of the Step B decision in. September 2006 until he was transferred on July 12,
     2007 to Custodian/Deliver connected mail to letter carrier on assignment and express mail. During the relevant period of
     time, plaintiff was working for defendant U.S. Postal Service.
     Plaintiff alleged employment discrimination based on disability and in retaliation for protected EEO activity in violation of
     Title VII of the Civil Rights. Act of 1964 and the Rehabilitation Act.
     Plaintiff said that, during the course of his career, he was subjected to disparate treatment on the basis of disability and reprisal
     for protected activity. Plaintiff filed an EEO Complaint of Discrimination on August 18, 2007.
    On March 17, 2005, plaintiff settled an EEO complaint with defendant in which he alleged discrimination and retaliation
    for filing other EEO complaints. Mike McGee, postmaster of the Compton Post Office, was identified as the responsible
    management official.          '
    As a result of his ongoing conflict with management at the Compton Post Office, plaintiff developed psychological symptoms,
    he claimed. On June 14, 2005, plaintiffs treating physician, Dr. Barbara Ammon, diagnosed plaintiff as being temporarily
    totally disabled for his usual employment until July 15, 2005. On August 25, 2005, Ammon wrote a letter to the Medical
    Unit and released plaintiff to return to work on August 29, 2005. She advised defendant that plaintiffs medical condition had
    improved and that he was not a danger to himself or others. On August 26, 2005, the Associate Area Medical Director for
    the Medical Unit released plaintiff to return to work on August 29, 2005, without limitations.
    On September 9, 2005, plaintiff wrote a letter to the Medical Unit and to McGee at the Compton Post Office, requesting
    that he be returned to work. On September 15, 2005, defendant notified plaintiff to return to work, but by this time, he was
    under Ammon's treatment for recurring work-related stress such that he could not return to work. On September 16, 2005,
    McGee told plaintiff that he could not return to work until he got cleared by EAP. McGee sent a copy to the Medical Unit.
    On September 25, 2005, Ammon sent an updated medical report and released plaintiffto return to work without restrictions.
    On September 30, 2005, the Associate Area Medical Director once again released plaintiff to duty without limitations. On
    September 30, 2005, Atwood of the EAP unit released plaintiff to duty.
    On October 3, 2005, plaintiff received a phone call from the Medical Unit with instructions to report to duty on October
   4, 2005. Plaintiff called the Compton Post Office and spoke to Supervisor William Perry, who informed him that McGee
   changed his work location and work schedule. McGee ordered plaintiff to report to Hub City as an Assistant Lobby Director.
   Plaintiff asked Perry why he was being transferred from the main office at Compton Post Office. Perry told him that his job
    had been abolished at the Compton Post Office and that he was needed as an. Assistant Lobby Director at Hub City.
   On October 4, 2005, plaintiff reported to duty at Hub City as an Assistant Lobby Director. His work schedule was changed
   from 7:00 a.m. to 3:30 p.m. to 8:30 a.m. to 5:00 p.m. Monday through Friday. Plaintiffs commute was longer because the
   distance from his house to Hub City was farther than his commute from his house to the Compton Main Post Office. Plaintiff '
   claimed this practice was very common at USPS and was known as "freeway therapy" because it is a form of reprisal when
   management does not like an employee and wants to punish them without formal disciplinary action.
   At the time of the complaint, plaintiff was employed as a City Letter Carrier performing modified duties in a limited duty
   assignment at the Compton Main Post. Office, The limited job duty offer of Lobby Director was based on plaintiffs physical
   restrictions of no lifting, pushing, or pulling greater than five pounds, no repetitive or forceful gripping, no overhead activities,
   and no driving more than 30 minutes at one time, beginning on October 4, 2005.
   The second issue involved Postmaster McGee's failure to return plaintiff to the Compton Main Post Office and to pay him
   his out-of-schedule and overtime pay beginning in October 2005. In a Step B grievance resolution dated May 24, 2006,
   representatives of USPS and National Association of Letter Carriers'agreed that plaintiff should be returned to the Compton
   Main Post Office and be made whole for losses, including mileage and any applicable out-of-schedule pay. Plaintiff was not
   returned to the Compton Main Office until August 2006, over two months later. Plaintiff was not paid any of the back pay he
   was owed. Plaintiff said that, because of his prior EEO activity in which he won against McGee, McGee used the opportunity
   not to comply with the Step B decision as a means to further discriminate and retaliate against plaintiff. McGee appealed
   the decision as a means to further delay plaintiffs eventual return to the Main Office. McGee also claimed that there was
   no work available for plaintiff within plaintiffs restrictions. However, the position of Lobby Director was a position created



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.150 Page 126 of 167


 Malone vs. Potter, 16 Trials Digest 12th 17 (2009)


   for plaintiff to accommodate his work restriction. Eventually, Labor Relations told Postmaster McGee that he had to return
   plaintiff to the Main Office on August 7, 2006.
   Even though McGee said there were no jobs for plaintiff to come back to, plaintiff was returned to his position of Lobby
   Director until he was further retaliated against by a sudden reassignment at the Main Post Office. On July 12, 2007, acting-
   officer-in-charge, Tyrone William, reassigned plaintiff to perform custodial duties, deliver Express. Mail Delivery, and
   connect carrier connect mail with letter carrier on assignments. Light-duty employees, such as plaintiff, were routinely sent
   home early, sometimes losing as much as a half-day's pay. Because plaintiff could not perform all of the duties, some of
   which included driving, he was sent home. Plaintiff claimed there was no justification for removing him from his light-duty
   assignment of Lobby Director.
   From September 14, 2007 through September 19, 2007, plaintiff was denied his limited light-duty work within his medical
   restrictions when Williams assigned plaintiff to work on the street as a mail carrier, which exceeded his work restrictions.
   On September 14, 2007, plaintiff was sent home by Williams without pay and not permitted to work his assigned duties. On
   September 17, 2007, plaintiff told Williams that he could no longer perform street delivery and was sent home without pay
   instead of being given his light duty assignment. From September 14, 2007 until September 19, 2007, plaintiff was sent home
   because he was unable to carry business mail on the street. Plaintiff was also not allowed to complete the other 90 percent
   of his duties when he was sent home because of plaintiffs inability to carry mail on the street for one hour.
   On September 27, 2007, Ammons placed plaintiff on total temporary disability due to work-related stress. Plaintiff did not
   return to the workplace after September 19, 2007 and was forced to take disability retirement.
   Defendant contended the Hub City Post Office was located less than 1 mile from the Compton Main Post Office. Defendant
   claimed that in July 2007, the Postal Service Los Angeles District instructed postmasters that defendant needed letter carriers
   to perform letter carrier duties as their main job function and that window clerks would primarily perform the Lobby Director
   duties because window clerks were being moved to different offices as automation eliminated the need for their positions
   and letter carrier positions/routes were being lost.


 CLAIMED INJURIES
  NA


 CLAIMED DAMAGES
  According to court records:
  Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported.


 COMMENTS
 According to court records:

 The complaint was filed on August 23, 2007.


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 Beard vs. Los Angeles County Law Library, 6 Trials Digest 12th 15 (2009)




              6 Trials Digest 12th 15, 2009 WL 250543 (Cal.Superior) (Verdict and Settlement Summary)


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                                        Superior Court, Los Angeles County, California.

                                           Beard vs. Los Angeles County Law Library

 TOPIC:
 Synopsis: Law library employees claim supervisor discriminated against older employees

 Case Type: Labor & Employment; Termination/Constructive Discharge; Labor & Employment; Age; Labor & Employment;
 Discrimination; Labor & Employment; Harassment-General; Labor & Employment; Race/National Origin; Labor &
 Employment; Violation of Public Policy; Labor & Employment, Retaliation

                                                 DOCKET NUMBER: BC381575

 STATE: California
 COUNTY: Los Angeles
                                              Verdict/Judgment Date: January 7, 2009

 JUDGE: Ruth A. Kwan
 ATTORNEYS:
 Plaintiff: Carol L. Gillam, The Gillam Law Firm, Los Angeles; John A. Haubrich Jr., The Gillam Law Firm, Los Angeles;
 Shawna Rasul, The Gillam Law Firm, Los Angeles.
 Defendant: Katherine. A. Hren, Ballard, Rosenberg, Golper & Savitt, Universal City; Linda Miller Savitt, Ballard, Rosenberg,
 Golper & Savitt, Universal City.

                                                            SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $146,000


 Range: $100,000-199,999
 Defendant. LACLL filed a motion for summary judgment as to plaintiff Reynolds. The court granted the motion as to plaintiffs
 third, fourth, seventh, and eighth causes of action and denied the motion as to the first and fifth causes of action. The jury found
 in favor of plaintiff Reynolds on the remaining causes of action and awarded her $86,000 in past economic loss and $60,000
 in future economic loss. The outcome of plaintiff Beard's claims was unknown.

 Trial Type: Jury

 Deliberations: Not reported.

 Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Not reported.
 Defendant: Not reported.



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.152 Page 128 of 167


 Beard vs. Los Angeles County Law Library, 6 Trials Digest 12th 15 (2009)



 TEXT:

 CASE INFORMATION

 FACTS/CONTENTIONS
  According to court records: In August 2005, defendant Los Angeles County Law Library ("LACLL") hired defendant Marcia
  Koslov as executive director. Plaintiffs Betty Beard and Diane Reynolds and other library staff allegedly noticed defendant
  Koslov's inability to control her temper. Defendant Koslov used curse words frequently, screamed at staff, and threatened
  their jobs. Defendant LACLL paid for defendant Koslov to attend anger management sessions.
  Plaintiff Reynolds, age 60, had spent her entire career after law school with defendant LACLL employed as director of
  reference and research. Plaintiff Reynolds said her 38-year employment came to an end not long after defendant Koslov was
  hired. Plaintiff alleged defendant Koslov was determined to get rid of older employees, despite the lack of any legitimate
  cause. Plaintiff Reynolds also alleged she was subjected to a hostile work environment perpetuated by defendant Koslov.
  Plaintiff Reynolds claimed defendant Koslov began removing duties from her and also threatened plaintiff Reynolds when she
  wouldn't write false negative evaluations to justify others' terminations. Plaintiff Reynolds said defendant Koslov pressured
  her to retire and on February 26, 2007, defendant Koslov gave plaintiff an ultimatum, either announce her retirement or be
  terminated. Plaintiff Reynolds was constructively terminated on March 13, 2007.
  Plaintiff Beard, a 55-year-old African-American human resources manager for defendant LACLL, alleged her employment
  also ended soon after defendant Koslov was hired.
  Plaintiffs alleged age discrimination, race/national origin discrimination, harassment, retaliation, failure to prevent
  harassment, wrongful termination in violation of public policy, wrongful constructive termination, and breach of implied
   contract.


 CLAIMED INJURIES
  According to court records:
  Emotional distress.


 CLAIMED DAMAGES
  According to court records:
  Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records: •

 Not reported.


 COMMENTS
 According to court records;

 The complaint was filed on December 3, 2007.


 Trials Digest, A Thomson Reuters/West business
 Los Angeles County Superior Court/Downtown




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 Beard vs. Los Angeles County Law Library, 6 Trials Digest 12th 15 (2009)




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                            Exhibit            F
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.155 Page 131 of 167


  Silverman vs. Stuart F. Cooper Inc., 43 Trials Digest 16th 11 (2013)




               43 Trials Digest 16th 11, 2013 WL 582014o (Cal.Super.) (Verdict and Settlement Summary)


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                                        Superior Court, Los Angeles County, California.

                                               Silverman vs. Stuart F. Cooper Inc.

 TOPIC:
 Synopsis: Terminated employee claims, age discrimination

 Case Type: Labor & Employment; Discrimination; Labor & Employment; Age; Labor & Employment; Harassment-General;
 Labor & Employment; Termination/Constructive Discharge

                                                    DOCKET NUMBER: BC467464

 STATE: California
 COUNTY: Los Angeles
                                               Verdict/Judgment Date: July 19, 2013

 JUDGE: Deirdre H. Hill
 ATTORNEYS:
 Plaintiff: Allen J. Beck, Gleason & Favarote, Los Angeles; Paul M. Gleason, Gleason & Favarote, Los Angeles; Janet S.
 Yavrouian, Gleason & Favarote, Los Angeles.
 Defendant: Charles J. Schufreider, Barton, Klugman & Oetting, Los Angeles.

                                                          SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $325,223


 Range: $200,000-499,999
 $133,222 to plaintiff for past loss of earnings

 $40,668 to plaintiff for future loss of earnings

 $116,333 to plaintiff for past emotional distress

 $35,000 to plaintiff for future emotional distress

 The jury found defendants Stuart F. Cooper Inc. or Burdge Cooper Inc. acted with oppression, fraud or malice but declined
 to award punitive damages.

 Trial Type: Jury

 Deliberations: Not reported.

 Jury Poll: Not reported.




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.156 Page 132 of 167


  Silverman vs. Stuart F. Cooper Inc., 43 Trials Digest 16th 11 (2013)



  EXPERTS:
  Plaintiff: Not reported.
  Defendant: Not reported.

  TEXT:

 CASE INFORMATION

 FACTS/CONTENTIONS
   According to court records: Plaintiff Joe Silverman was hired by defendant Stuart F. Cooper Inc. in 1994 as a salesman.
  Plaintiff said he was compensated with a base salary, commission, expense reimbursement and medical benefits, regardless
  of sales performance. Plaintiff said his sale performance fluctuated, but he was never subjected to discipline, and he achieved
  an acceptable sales record. In August 2009, plaintiff was reportedly demoted by defendant David Overgaar, defendant Stuart
  Cooper's president, without warning and his compensation package was changed. His compensation change converted him to
  100 percent commission and limited his automobile reimbursement to $200 per month. Plaintiff said the company had never
  forced such a compensation package on any other employee. The new package also established a sales quota for plaintiff in
  order to return to his prior compensation plan. He said he was required to have sales of at least $90,000 over a six-month
  period with no single job accounting for more than 30 percent of sales. This quota was unprecedented and never applied to
  other sales employees, plaintiff claimed.
  In November 2009, another sales representative, 49, was allegedly hired with a salary plus commissions compensation
  package.
  In October 2010 plaintiff, 76, apparently filed a claim for age discrimination with the Department of Fair Employment and
  Housing based on the demotion and his change in compensation. Within six months of his complaint, plaintiff said, plaintiff
  was terminated by defendant Burdge Cooper Inc. for the pretextual reason of "poor attitude."
  Plaintiff alleged age discrimination in violation of the Fair Employment and Housing Act and public policy, unlawful
  retaliation in violation of the FEHA, age harassment in violation of the FEHA, failure to prevent discrimination and
  harassment in violation of the FEHA, wrongful termination in violation of public policy and failure to pay final wages and
  waiting time penalties.


 CLAIMED INJURIES
  According to court records:
  Emotional distress.


 CLAIMED DAMAGES
  According to court records:
  Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported..


 COMMENTS
 According to court records:

 The complaint was filed Aug. 12, 2011.



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.157 Page 133 of 167


  Silverman vs. Stuart F. Cooper Inc., 43 Trials Digest 16th 11 (2013)




 Trials Digest, A Thomson Reuters/West business
 Los Angeles County Superior Court/Downtown



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.158 Page 134 of 167


 VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN..., JVR No. 1402210041...




               JVR No. 1402210041, 2013 WL 7852947 (Cal,Super.) (Verdict and Settlement Summary)

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                                    Superior Court, Los Angeles County, California.

              VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN TRANSPORTATION AUTHORITY

                                                   BC484335
                                        DATE OF FILING: October 25, 2012
                                  DATE OF TRIAL/SETTLEMENT: November 12, 2013

 SUMMARY
 Outcome: Plaintiff Verdict
 Total: $1,904,635
 HIGH AMOUNT: $0

 LOW AMOUNT: $0


 Related Court Documents:
 Plaintiffs second amended complaint: 2012 WL 10007313

 Defendant's trial brief: 2013 WL 6506751

 Verdict form: 2013 WL 6506795


 EXPERT-WITNESSES:
 ATTORNEY:
 Plaintiff: Scott O. Cummings, Cummings & Franck P.C., Gardena, CA
 Plaintiff: Lee Franck, Cummings & Franck P.C., Gardena, CA
 Defendant: Calvin R. House, Gutierrez Preciado & House L.L.P., Pasadena, CA
 Defendant: Caroline Shahinian, Gutierrez, Preciado & House L.L.P., Pasadena, CA

 JUDGE: Kevin C. Brazile

 RANGE AMOUNT: $1,000,000 - 1,999,999

 STATE: California
 COUNTY: Los Angeles

 SUMMARY
 PLAINTIFF:
 Sex: M

 Age: Adult

 General Occupation: General Laborer


 DEFENDANT:


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.159 Page 135 of 167


  VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN..., JVR No. 1402210041...


  Sex: O

  Organization Type: Los Angeles County Metropolitan Transportation Authority


  DAMAGES:
  Compensatory Pain & Suffering: $1,250,000

  Compensatory Future Medical: $185,000

  Compensatory Past Wages: $84,348

  Compensatory Future Wages: $385,287

  Total Compensatory Award: $1,904,635

 Punitive Damages: $0

 Heclonic Damages: $0

 Property Damages: $0

 Interest: $0

 Other Damages: $0

 Loss of Services; $0


 ADVERSE ACTION
 Closer Supervision: false

 Constructive Discharge: false

 Demotion: false

 Denial Tenure: false

 Failure Accomodate: true

 Failure Grant Leave: true

 Failure Hire: true

 Failure Promote: false

 Suspension: true

 Sexual Harassment: false




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.160 Page 136 of 167


  VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN..., JVR No. 1402210041...


  Harassment: true

  Hostile Work Env: false

  Isolation: false

  Lay Off: false

  Loss Benefits: false

  Loss Pay: false

  Loss Seniority: false

 Negative Eval: false

 Negative Reference: false

 Pay Increase Denial: false

 Reassignment: false

 Reduction Pay: false

 Reprimands: true

 Restrictions: false

 Termination: true


 Entity Type: Government Entity
 STATUTES
 Primary Specific Statute
 Primary Name: State


 Primary General Statute
 Primary Name: Disability Discrimination
 Primary General Statute Discrimination: true

 Specific Statute: State


 General Statute: Family and Medical Leave
 General Statute Discrimination: false

 Specific Statute: General




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.161 Page 137 of 167


  VASQUEZ v. LOS ANGELES COUNTY METROPOLITAN..., JVR No. 1402210041...



  General Statute: Retaliation
  General Statute Discrimination: false

  Comparative Negligence Percentage: 0


  FACTS:
  Raphael Vasquez, a former bus driver, sued the Los Angeles County Metropolitan Transportation Authority for disability
  discrimination, failure to accommodate, failure to engage in the interactive process, in violation of the Americans with
  Disabilities Act (ADA), and interference with the Family and Medical Leave Act (FMLA) and the California Family Rights'Act
 (CFRA), and retaliation in violation of the Fair Employment and Housing Act (FEHA) Cal. Gov't. Code Secs. 12940 et seq. The
 plaintiff alleged during his employment, he suffered from a variety of disabilities, including but not limited to gout, cataracts,
 blurry vision, diabetes, for which he treated with doctors, and in January 2010, he requested a medical leave of absence for hip
 replacement surgery due to Avascular Necrosis of the femur, which the defendant admitted he was eligible for, and he provided
 the necessary documentation indicating he would be out for approximately five months. He asserted following the surgery, his
 doctor provided a note that he was unable to work until June 1, 2010 due to Trochanteric Bursitis, and aftercare from his hip
 replacement, thereafter, he was cleared to return to work. Vazquez claimed in November 2010, he had cataract surgery, but
 the defendant began to use his disabilities for adverse actions, including discipline and suspensions, and in January 2011, he
 was terminated, and the proffered reason for his termination was his attendance, He asserted the defendant failed to engage in a
 timely, good faith, interactive process to determine the most effective reasonable accommodations for him, discouraged the use
 of FMLA leave, which violated the CFRA, and that his disability, his request for and/or taking medical leave were substantial
 motivating factors in the decision to terminate him. The defendant denied the allegations and contended the plaintiff was charged
 with excessive absenteeism after accumulating eight absences within a 12-month period, and at his discharge hearing he told
 the hearing officer he was in perfect health, but that he had treated some medical conditions. The defendant argued that the
 officer had no reason to believe the plaintiff might be disabled, and terminated him for violating it's attendance policy.


 Jury Verdict Research
 COURT: Superior

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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.162 Page 138 of 167


  ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT, JVR No. 1403200023 (2013)




                  JVR No. 1403200023, 2013 WL 8115991 (Cal.Super.) (Verdict and Settlement Summary)


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                                    Superior Court, Los Angeles County, California.

                               ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT

                                                   BC469940
                                        DATE OF FILING: September 23, 2011
                                   DATE OF TRIAL/SETTLEMENT: December 17, 2013

  SUMMARY
  Outcome: Plaintiff Verdict
  Total: $5,681,682
  HIGH AMOUNT: $0

 LOW AMOUNT: $0


 Related Court Documents:
 Plaintiffs' complaint: 2011 WL 6463766

 Verdict form; 2013 WL 6870002

 Verdict form (punitive damages): 2013 WL 6869977   •


 EXPERT-WITNESSES:
 ATTORNEY:
 Plaintiff: James R. Rosen, Rosen Saba LLP, Beverly Hills, CA
 Plaintiff: Elizabeth L. Bradley, Rosen Saba LLP, Beverly Hills, CA
 Plaintiff: Jonathan S. Dennis, Rosen Saba LLP, Beverly Hills, CA
 Defendant: Eric J. Erickson, Lewis, Brisbois, Bisgaard & Smith LLP, Los Angeles, CA
 Defendant: Christopher M. Habashy, Lewis, Brisbois, Bisgaard & Smith LLP, Los Angeles, CA
 Defendant: Marie Dominguez-Gasson, Lewis, Brisbois, Bisgaard & Smith LLP, Los Angeles, CA

 JUDGE: Yvette Palazuelos

 RANGE AMOUNT: $5,000,000 - 999,999,999

 STATE: California
 COUNTY: Los Angeles

 SUMMARY
 PLAINTIFF:
 Sex: Martha Aboulafia: F

 Age: Adult, 58

 General Occupation: Food Service Worker


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.163 Page 139 of 167


  ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT, JVR No. 1403200023 (2013)



  Sex: Cheryl B. Colgin: F

  Age: Adult, 58   .

  General Occupation: Food Service Worker

  Sex: Patricia Monica: F

  Age: Adult, 67

  General Occupation: Food Service Worker

 Sex: Regina Greene: F

 Age: Adult, 46

 General Occupation: Food Service Worker


 DEFENDANT:
 Sex: O

 General Occupation: Restaurant, Nightclub or Tavern

 Organization Type: GACN Inc. d/b/a Cable's Restaurant


 DAMAGES:
 Compensatory Pain & Suffering: Martha Aboulafia: $250,000

 Compensatory Past Wages: Martha Aboulafia: $58,164

 Compensatory Future Wages: Martha Aboulafia: $53,592

 Total Compensatory Award: Martha Aboulafia: $361,756

 Compensatory Pain & Suffering: Cheryl B. Colgin: $250,000

 Compensatory Past Wages: Cheryl B. Colgin: $66,262

 Compensatory Future Wages: Cheryl B. Colgin: $131,372

 Total Compensatory Award: Cheryl B. Colgin: $447,634

 Compensatory Pain & Suffering: Patricia Monica: $250,000

 Compensatory Past Wages: Patricia.Monica: $95,588

 Compensatory Future Wages: Patricia Monica: $157,486


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.164 Page 140 of 167


  ABOULAFIA v. GACN INC. DIBIA CABLE'S RESTAURANT, JVR No. 1403200023 (2013)



  Total Compensatory Award: Patricia Monica: $503,074

  Compensatory Pain & Suffering: Regina Greene: $250,267

  Compensatory Past Wages: Regina Greene: $56,613

  Compensatory Future Wages: Regina Greene: $62,338

  Total Compensatory Award: Regina Greene: $369,218

 Punitive Damages: $1,000,000

 Hedonic Damages: $0

 Property Damages: $0

 Interest: $0

 Other Damages: $0

 Loss of Services: $0


 ADVERSE ACTION
 Closer Supervision: false

 Constructive Discharge: false

 Demotion: false

 Denial Tenure: false

 Failure Accomodate: false

 Failure Grant Leave: false

 Failure Hire: false

 Failure Promote: false

 Suspension: false

 Sexual Harassment: false

 Harassment: true

 Hostile Work Env: false

 Isolation: false


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.165 Page 141 of 167


  ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT, JVR No. 1403200023 (2013)



  Lay Off: false

  Loss Benefits: false

  Loss Pay: true

  Loss Seniority: false

  Negative. Eval: false

  Negative Reference: false

  Pay Increase Denial: false

  Reassignment: false

  Reduction Pay: false

 Reprimands: false

 Restrictions: false

 Termination: true


 Entity Type: Service/Retail Company
 STATUTES
 Primary Specific Statute
 Primary Name: State


 Primary General Statute
 Primary Name: Age Discrimination
 Primary General Statute Discrimination: true

 Specific Statute: General


 General Statute: Wrongful Termination
 General Statute Discrimination: false

 Comparative Negligence Percentage: 0


 FACTS:
 58-year-old Martha Aboulafia, 58-year-old Cheryl B. Colgin, 46-year-old Regina Greene, and 67-year-old Patricia Monica,
 formerly employed as servers, sued GACN Inc. d/b/a Cable's Restaurant, for age discrimination, wrongful termination, in
 violation of California's public policy, and failure to provide rest periods and/or 30 minute meal periods, pursuant to Cal. Lab.
 Code Sec. 226.7. The plaintiffs claimed during their employment, they were never the subject of any negative reviews or



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.166 Page 142 of 167


  ABOULAFIA v. GACN INC. D/B/A CABLE'S RESTAURANT, JVR No. 1403200023 (2013)


 disciplinary actions until the restaurant came under new ownership, thereafter, they experienced negative treatment, a reduction
 in hours, and sudden complaints about job performance. They alleged after the transfer of ownership, suddenly they were
 systematically harassed, wrongfully terminated, and were replaced by younger female servers. Aboulafia, who worked for
 the defendant for more than 17 years, contended after the transfer of ownership, two days later she was terminated allegedly
 because business was slow, and she was told that an unidentified customer had complained about her. Colgin, who worked
 for the restaurant for more than 14 years, alleged she was also told two days after the transfer that she was no longer needed,
 but the manager called her again 10 minutes later, and fired her a second time, likely not remembering he had terminated her
 minutes. earlier. Greene, who worked for the restaurant for three years, claimed that after the transfer, she was instructed to train
 newly hired younger female employees, but seven months later her manager falsely accused her of being under the influence of
 drugs and/or alcohol, terminated her, and subsequently falsely reported to the California Employment Development Department

 that she had voluntarily resigned in its attempt to avoid paying her unemployment benefits. Monica, who was employed for
 13 years, asserted she was terminated two days after the transfer purportedly because her services were no longer needed,
 and business was slow. The defendant denied the allegations and contended it used nondiscriminatory factors to facilitate the
 layoffs, including identifying servers with flexible schedules and a willingness to work with all customers, and that it retained
 11 servers employed by former management, and eight of those servers were within the protected class, ranging from 45 to 75
 years old. The defendant also claimed the plaintiffs were allowed to take appropriate rest breaks. The jury awarded Aboulafia
 $1,361,756, Colgin $1,447,634, and Monica $1,503,074 for their age discrimination claims, and Greene's award included $952
 for missed rest periods for a total award of $1,369,218.


 Jury Verdict Research
 COURT: Superior


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.167 Page 143 of 167


  Ward vs. Cadbury Schweppes Bottling Group, 10 Trials Digest 15th 7 (2011)
     •
                 10 Trials Digest 15th 7, 2011 WL 7447633 (C.D.Cal.) (Verdict and Settlement Summary)


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                               United States District Court, C.D. California, Western Division.

                                         Ward vs. Cadbury Schweppes Bottling Group

 TOPIC:
 Synopsis: Truck drivers claim age discrimination resulted in constructive discharge

 Case Type: Labor & Employment; Age; Labor & Employment; Termination/Constructive Discharge

                                            DOCKET NUMBER: 09CV03279(DMG)

 STATE: California
 COUNTY: Not Applicable
                                            Verdict/Judgment Date: December 7, 2011

 JUDGE: Dolly M. Gee
 ATTORNEYS:
 Plaintiff: Michael F. Baltaxe, Law Offices of Michael F. Baltaxe, Westlake Village; Wendy K. Marcus, Law Offices of Timothy
 B. Sottile, Westlake Village; Timothy B. Sottile, Law Offices of Timothy B. Sottile, Westlake Village.
 Defendant: Daryl M. Crone, Crone Hawxhurst, Los Angeles; Joshua Paul Gelbart, Crone Hawxhurst, Los Angeles; Gerald E.
 Hawxhurst, Crone Hawxhurst, Los Angeles; Diyari Vazquez, Crone Hawxhurst, Los Angeles.

                                                          SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $17,899,400


 Range: $5,000,000-999,999,999
 Plaintiff Ward: $133,000 past income; $1,000,000 past and future physical pain, mental suffering, loss of enjoyment of life,
 inconvenience, grief, humiliation, and emotional distress; $350,000 for past and future physical impairment, including psyche,
 hypertension, stomach, sleeplessness, anxiety, and chest pain; $1,800,000 punitive damages. Plaintiff Jones: $44,000 past
 income; $1,000,000 past and future physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation,
 and emotional distress; $1,214,000 punitive damages. Plaintiff Suhay: $71,000 past income; $1,000,000 past and future physical,
 pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation, and emotional distress; $200,000 past and
 future physical impairment, including hernia and shoulder surgeries; $1,542,000 punitive damages. Plaintiff Valadez: $130,000
 past income; $1,000,000 past and future physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief,
 humiliation, and emotional distress; $500,000 past and future physical impairment, including right knee surgery; $2,043,000
 punitive damages. Plaintiff Talton: $144,000 past income; $500,000 past and future medical expenses; $800,000 past and future
 physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation, and emotional distress; $200,000
 past and future physical impairment, including back and stress; $1,753,000 punitive damages. Plaintiff January: $140,000 past
 income; $800,000 past and future physical pain, mental suffering, loss of enjoyment of life, inconvenience, grief, humiliation,
 and emotional distress; $200,000 past and future physical impairment, including shoulder stress and strain; $1,335,400 punitive
 damages.

 Trial Type: Jury


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.168 Page 144 of 167


  Ward vs. Cadbury Schweppes Bottling Group, 10 Trials Digest 15th 7 (2011)



 Trial. Length: 13 days.

 Deliberations: 1 day.

 Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Jeff Nelken B.S., M.A., R.D., food safety, Woodland. Hills, (310) 273-5492.; Karen Lynn Smith, M.A., economist,
 Adams Smith Economics, San Marino, (626) 796-4040,
 Defendant: Not reported.

 TEXT:

 CASE INFORMATION

 FACTS/CONTENTIONS
   According to court records: Plaintiffs Robert M. Ward, Robert E. Jones, Jose M. Valadez, Leonard Talton, Gary Suhay, and
  Alfonso W. January were employed by defendants Cadbury Schweppes Bottling Group, Cadbury Schweppes Holdings Inc.,
   7-Up/RC Bottling Company of Southern California, Dr. Pepper Snapple Group, and American Bottling Company.
  Plaintiffs alleged defendants, through upper management, implemented and enforced an unwritten policy of discrimination
  against older employees, including plaintiffs. Plaintiffs claimed defendants assigned the older truck drivers more difficult
  and physically taxing routes so they would quit or become injured, transferred the older forklift operators to more difficult
  and strenuous duties so that they would quit or become injured, piled work on plaintiffs so that they would quit or become
  injured, and wrote some plaintiffs up for frivolous and pre-textual reasons.
  Plaintiffs alleged discrimination based on age, failure to prevent discrimination or retaliation, constructive discharge in
  violation of public policy, failure to engage in good-faith interactive process, and failure to accommodate.


 CLAIMED INJURIES
  According to court records:
  Hypertension; stomach; sleeplessness; anxiety; chest pain; hernia; shoulder; knee; anxiety; emotional distress; back.


 CLAIMED DAMAGES
  According to court records:
  Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported.


 COMMENTS
 According to court records:

 The complaint was filed in Los Angeles Superior Court, case number BC410112. It was removed to federal court on May 8,
 2009.



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  Ward vs. Cadbury Schweppes Bottling Group, 10 Trials Digest 15th 7 (2011)




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  Central District Federal Court/Los Angeles



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.170 Page 146 of 167


  WELCH v, IVY HILL CORP., JVR No. 1105250063 (2011)




                 JVR No. 1105250063, 2011 WL 3293268 (Cal.Super.) (Verdict and. Settlement Summary)


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                                      Superior Court, Los Angeles County, California.

                                                 WELCH v. IVY HILL CORP.

                                                       BC414667
                                              DATE OF TRIAL: March 08, 2011
 TOPIC:


 SUMMARY
 Outcome: Plaintiff Verdict
 Total Verdict: $1,270,000
 Judge Reduced Award To:
 HIGH AMOUNT: $0

 LOW AMOUNT: $0


 EXPERT-WITNESSES:
 ATTORNEY:
 Plaintiff: Carney R. Shegerian, Santa Monica, CA
 Defendant: Kelly O. Scott, Beverly Hills, CA
 Karina B. Sterman, Beverly Hills, CA
 Jennifer S. Grock, Beverly Hills, CA

 JUDGE: Not Available

 RANGE AMOUNT: $1,000,000 - 1,999,999

 STATE: California
 COUNTY: Los. Angeles

 SUMMARY
 PLAINTIFF:
 Sex: Female

 Age: Adult, 62


 DECEDENT:
 DEFENDANT:
 Sex: Organization

 Inactive Defendant (for organization): Ivy Hill Corp.

 Policy Limit:




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.171 Page 147 of 167


  WELCH v. IVY HILL CORP., JVR No. 1105250063 (2011)


  Other Expenses: $0


  ENTITY TYPE: General Business Entity
  DAMAGES:
  Compensatory Past Medical Award: $0

  Compensatory Future Medical Award: $0

  Compensatory Past Wages Award: $0

  Compensatory Future Wages Award: $0

  Compensatory Pain.And Suffering Award: $1,270,000

  Other Compensatory Award: $0

  Total Compensatory Award: $1,270,000

 Punitive Damages: $0

 Hedonic Damages: $0

 Property Damages: $0

 Other Damages: $0

 Interest: $0

 Loss of Service: $0


 ADVERSE ACTION
 Closer Supervision: false

 Constructive Discharge: false

 Demotion: false

 Denial Tenure: false

 Failure Accomodate: false

 Failure Grant Leave: false

 Failure Hire: false

 Failure Promote: false

 Suspension: false


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.172 Page 148 of 167


  WELCH v. IVY HILL CORP., JVR No. 1105250063 (2011)



  Sexual Harassment: false

  Harassment: true

  Hostile. Work Env: false

  Isolation: false

  Lay Off: false

  Loss Benefits: false

  Loss Pay: false

  Loss.Seniority: false

 Negative Eval: false

 Negative Reference: false

 Pay Increase Denial: false

 Reassignment: false

 Reduction Pay: false

 Reprimands: false

 Restrictions: false

 Termination: true


 STATUTES
 Primary Specific Statute
 Primary Name: State


 Primary General Statute
 Primary Name: Age Discrimination

 Primary general Statute Discrimination: true

 Comparative Negligence Percentage: 0


 FACTS:
 A 62-year-old former account executive sued the defendant company claiming age discrimination in violation of state law.
 The plaintiff alleged that the defendant wrongfully terminated her due to her age, that her most profitable accounts were taken



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.173 Page 149 of 167


  WELCH v. IVY HILL CORP., JVR No. 1105250063 (2011)


  rom her, and that she was harassed by her supervisor. The defendant denied the allegations and claimed that the plaintiff was
  terminated due to a shutdown after the company was sold, and that it was the decision of the acquiring company as to whom
  it would hire. The defendant further contended that the,plaintiffs most profitable account was taken from her t the request of
  the client.


  Jury Verdict Research
  COURT: Superior



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.174 Page 150 of 167


  LIEMANDT v. MEGA RV CORP., JVR No. 1104250047 (2011)




                  JVR No. 1104250047, 2011 WL 2912831 (Cal.Super.) (Verdict and Settlement Summary)


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                                       Superior Court, Orange County, California.

                                            LIEMANDT v. MEGA IW CORP.

                                                 30-2010-00388086
                                           DATE OF TRIAL: February 04, 2011
 TOPIC:


 SUMMARY
 Outcome: Plaintiff Verdict
 Total Verdict: $435,000
 HIGH AMOUNT: $0

 LOW AMOUNT: $0


 EXPERT-WITNESSES:
 ATTORNEY:
 Plaintiff: John A. Belcher, Pasadena, CA
 Jeremy Golan, Los Angeles, CA
 Defendant: William J. Tebbe, Los Angeles, CA
 Adam K. Obeid, Irvine, CA

 JUDGE: Not Available

 RANGE AMOUNT: $200,000 - 499,999

 STATE: California
 COUNTY: Orange

 SUMMARY
 PLAINTIFF:
 Sex: Male

 Age: Adult, 68


 DECEDENT:
 DEFENDANT:
 Sex: Organization

 Inactive Defendant (for organization): Mega RV Corp.

 Policy Limit:

 Other Expenses: $0


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.175 Page 151 of 167


  LIEMANDT v. MEGA RV CORP., JVR No. 1104250047 (2011)




 ENTITY TYPE: General Business Entity
 DAMAGES:
 Compensatory. Past Medical Award: $0

 Compensatory Future Medical Award: $0

 Compensatory Past Wages Award: $0

 Compensatory Future Wages Award: $0

 Compensatory Pain And Suffering Award: $385,000

 Other Compensatory Award: $0

 Total Compensatory Award: $385,000

 Punitive Damages: $50,000

 Hedonic Damages: $0

 Property Damages: $0

 Other Damages: $0

 Interest: $0

 Loss of Service: $0


 ADVERSE ACTION
 Closer Supervision: false

 Constructive Discharge: false

 Demotion: true

 Denial Tenure: false

 Failure Accomodate: false

 Failure Grant Leave: false

 Failure Hire: false

 Failure Promote: false

 Suspension: false




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.176 Page 152 of 167


  LIEMANDT v. MEGA RV CORP., JVR No. 1104250047 (2011)


  Sexual Harassment: false

  Harassment: false

  Hostile Work Env: false

  Isolation: false

  Lay Off: false

 Loss Benefits: false

 Loss Pay: false

 Loss Seniority: false

 Negative Eval: false

 Negative Reference: false

 Pay Increase Denial: false

 Reassignment: false

 Reduction Pay: false

 Reprimands: false

 Restrictions: false

 Termination: true


 STATUTES
 Primary Specific Statute
 Primary Name: State


 Primary General Statute
 Primary Name: Age Discrimination

 Primary general Statute Discrimination: true

 Comparative Negligence Percentage: 0


 FACTS:
 A 68-year-old salesman sued the defendant claiming age discrimination in violation of state law. The plaintiff contended that
 the defendant wrongfully terminated him due to his age after it demoted him from his management position to a sales position
 on his return to work after suffering a massive heart attack. The defendant denied the allegations and claimed that the plaintiff



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.177 Page 153 of 167


  1.1EMANDT v. MEGA RV CORP., JVR No. 1104250047 (2011)


  was fired for poor performance and insubordination. It further claimed that more than 70 percent of its employees were more
  than 50-years-old.


 Jury Verdict Research
 COURT: Superior



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.178 Page 154 of 167


  O'Connor vs. UHS-Corona Inc., 34 Trials Digest 14th 11 (2011)




              34 Trials Digest 14th 11, 2011 WL 3606915 (Cal.Superior) (Verdict and Settlement.Summary)


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                                         Superior Court, Riverside County, California.

                                                 O'Connor vs. UHS-Corona Inc.

 TOPIC:
 Synopsis: Nurse alleges retaliatory termination in violation of CFRA

 Case Type: Labor & Employment; Retaliation; Labor & Employment; Termination/Constructive Discharge; Labor &
 Employment; Family & Medical Leave; Defamation; Other; Labor & Employment; Violation of Public Policy

                                                 DOCKET NUMBER: RIC516507

 STATE: California
 COUNTY: Riverside
                                             Verdict/Judgment Date: January 20, 2011

 JUDGE: Lillian Y. Lim
 ATTORNEYS:
 Plaintiff: Jeffrey A. Rager, Rager Law Firm, Torrance; Melanie Rasic Savarese, Savarese Law Finn, Sierra Madre.
 Defendant: Tracie Childs, Manning & Marder, Kass, Ellrod, Ramirez, San Diego; Al De La Cruz, Manning & Marder, Kass,
 Ellrod, Ramirez, San Diego.

                                                           SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $1,630,334


 Range: $1,000,000-1,999,999
 $130,334 past economic loss; $1,000,000 past non-economic loss; $500,000 future non-economic loss against defendants UHS-
 Corona Inc. dba Corona Regional Medical Center and UHS of Delaware Inc. During a concurrent bench trial, the court ruled
 that Universal Health Services Inc. was not a single or joint employer of plaintiff, and judgment was issued in favor of Universal
 Health Services Inc. as against plaintiff.

 Trial Type: Jury

 Deliberations: Not reported.

 Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Not reported.
 Defendant: Not reported.

 TEXT:



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.179 Page 155 of 167


  O'Connor vs. OHS-Corona Inc., 34 Trials Digest 14th 11 (2011)



  CASE INFORMATION

  FACTS/CONTENTIONS
   According to court records: On March 25, 2003, plaintiff Doreen O'Connor began her employment with defendants Corona
   Regional Medical Center, Universal Health Services Inc. ("UHS"), Brenda Schicker, Ruth Battles, and May Walsh as an RN
   on the nursery staff from 7:00 a.m. to 7:00 p.m.
   On July 9, 2003, plaintiffs Performance Review read, "Doreen meets or exceeds all standards of performance. She is very
   willing to learn and very pleasant with patients and co-workers. It is a pleasure to have Doreen on staff, she has experienced
   some very busy shifts and is doing an excellent job."
   On March 23, 2005, plaintiff was rated overall as "Exceeds Requirements." The review stated, "Doreen has been very helpful
   in some of the changes that have taken place in our department. She developed two of the tests that were used for competencies
   in our mother-baby department. Doreen is a very knowledgeable and skilled nurse here at Corona and we are lucky to have
   her here as part of our staff."
   In April 2006, plaintiff was promoted to Charge Nurse. In October 2007, defendant Brenda Schicker was hired as Education
   Manager.
   In February and March 2008, plaintiff was on a protected medical leave for diabetes and asthma. Upon return from her
   medical leave, she was presented with a performance review in May 2008. She received a lower rating and was told not to
   be "emotional" when presenting concerns to her director. Plaintiff was informed that she was "not giving as much as before
   because of her medical condition."
   On October 8, 2008, plaintiff was informed she was fired by defendants Schicker, Battles, and Walsh. In the presence of
   others, plaintiff was accused of "harassing, stocking [sic], and spying, on the nursing staff." She was accused of "inappropriate
   behavior and inappropriate language." She was told that the staff felt "threatened" by her.
   Plaintiff filed suit for Retaliation in Violation of the. California Family Rights Act, Wrongful Termination in Violation of
   Public Policy, Retaliatory Termination in Violation of Public Policy, and Defamation Per Se.


 CLAIMED INJURIES
  According to court records:
  Emotional distress; major depressive disorder.


 CLAIMED DAMAGES
  According to court records:
  $125,723 loss of earnings.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported.


 COMMENTS
 According to court records:

 The complaint was filed on December 30, 2008.


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 Riverside County Superior Court/Central



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.180 Page 156 of 167


  O'Connor vs. UNS-Corona Inc., 34 Trials Digest 14th 11 (2011)




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.181 Page 157 of 167


  Peacock vs. Quest Diagnostics, 27 Trials Digest 14th 10 (2010)




               27 Trials Digest 14th 1O, 2O1O WL 6806990 (C.D.Cal.) (Verdict and Settlement Summary)


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                                United States District Court, C.D. California, Western Division.

                                                Peacock vs. Quest. Diagnostics

 TOPIC:
 Synopsis: Employee alleges discriminatory termination in violation of CFRA

 Case Type: Labor & Employment; Discrimination; Labor & Employment; Tennination/ConstructiVe Discharge; Lab& &
 Employment; Violation of Public Policy; Labor & Employment; Family & Medical. Leave; Labor & Employment; Disability/
 Medical Condition; Labor & Employment; Retaliation

                                            DOCKET NUMBER: 09CV09206(JHN)

 STATE: California
 COUNTY: Not Applicable
                                           Verdict/Judgment Date: December 15, 2010

 JUDGE: Jacqueline H. Nguyen
 ATTORNEYS:
 Plaintiff: Christopher B. Adamson, Lavi & Ebrahimian, Los Angeles; Joseph Lavi, Lavi & Ebrahimian, Los Angeles.
 Defendant: Deanna L. Ballesteros, Epstein, Becker & Green, Los Angeles; David Jacobs, Epstein, Becker & Green, Los
 Angeles.

                                                         SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $229,638


 Range: $200,000-499,999
 $71,138 past economic; $8,500 future economic; $150,000 past non-economic.

 Trial Type: Jury

 Deliberations: Not reported.

 Jury Poll: Not reported.


 EXPERTS:
 Plaintiff: Not reported.
 Defendant: Not reported.

 TEXT:

 CASE INFORMATION




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.182 Page 158 of 167


  Peacock vs. Quest Diagnostics, 27 Trials Digest 14th 10 (2010)



  FACTS/CONTENTIONS
    According to court records: Plaintiff Janeen A. Peacock was an employee of defendant Quest Diagnostics, working as a
    Specimen Tech II from February 2003 until approximately January 16, 2008, when she was wrongfully terminated. In the
    later part of 2007, plaintiffs Manager and/or Supervisor, Raymond Candeleria, started causing plaintiff severe emotional
    distress and depression, which manifested itself in panic attacks which were witnessed by Candeleria. Plaintiff informed
    Candeleria that she had been under a lot of stress at work and that was the reason for her panic attacks, which, over/the
    months, started to increase in frequency and/or duration.
    In early January 2008, plaintiff had an outburst at work in front of Candeleria. Plaintiff started crying uncontrollably in front
    of Candeleria and told him that her outburst was due to severe distress at work.
    On January 16, 2008, plaintiff checked herself into Northridge Hospital's Emergency Room due to severe depression. On
    January 17, 2008, plaintiff informed defendant's Human Resources that she had been admitted into hospital for severe
    depression and that she had been taken off work. Plaintiff was released on January 21, 2008 and was placed on disability by
    her treating physician until February 5, 2008. Upon release from the hospital, plaintiff informed defendant of her disability
    and mailed a copy of her doctor's note placing her off work and on disability.
    On January 22, 2008, plaintiff contacted defendant's Benefit Department and informed them that she had to receive
   psychological treatment and group therapy from January 22, 2008 to February 1, 2008, She was informed that that was okay
   and that defendant would follow up with plaintiff in a few days.
   On February 1, 2008, plaintiff was informed by her treating physician that her insurance had been canceled. Plaintiff contacted
   Human Resources to find out why and was told that they did not know why.
   On February 1, 2008, plaintiff received a letter dated January 31, 2008, stating that defendant had terminated plaintiffs
   employment for job abandonment.
   Plaintiff filed suit for Discriminatory Termination in Violation of the California Family Rights Act, California Government
   Code § 12945.2; Violation of the California Family Rights Act, California Government Code § 12945,2(a), Interfering with
   the Rights and Refusing an Employee's Request for a CFRA Medical Leave; Retaliatory Termination in Violation of the
   California Family Rights Act, California Government Code § 12945.2, for Requesting and Going on a Medical Leave;
   Tortious Termination and Discrimination in Violation of Public Policy; Dis'ability Discrimination in Violation of FEHA;
   Discrimination Based on Perceived Disability in Violation of FEHA; Disability Discrimination in Violation of FEHA, Failure
   to Provide Reasonable Accommodation; Disability Discrimination in Violation of FEHA, Failure to Engage in Interactive
   Process; Retaliatory Termination in Violation of FEHA for Requesting a Reasonable Accommodation; Tortious Termination
   and Discrimination in Violation of Public Policy Based on FEHA; and Tortious Termination, Discrimination, and Failure to
   Hire in Violation of Public Policy for the Right to File a Workers' Compensation Claim due to Work Related Injury.


 CLAIMED INJURIES
  NA


 CLAIMED DAMAGES
  According to court records:
  Not reported.


 SETTLEMENT DISCUSSIONS
 According to court records:

 Not reported.


 COMMENTS
 According to court records:


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.183 Page 159 of 167


  Peacock vs. Quest Diagnostics, 27 Trials Digest 14th 10 (2010)



  The complaint was filed on October 29, 2009.


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                           Exhibit            G
Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.185 Page 161 of 167


  Mark A. Crawford v. DIRECTV Inc., 2010 WL 5383296 (2010)




                           2010 WL 5383296 (Cal.Superior) (Verdict and Settlement Summary)


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                                    Superior Court, Los Angeles County, California.

                                             Mark A. Crawford v. DIRECTV Inc.

                                        No. BC4 17507
                        DATE OF VERDICT/SETTLEMENT: September 29, 2010
 TOPIC: EMPLOYMENT - DISABILITY DISCRIMINATION - EMPLOYMENT - FAILURE TO ACCOMMODATE -
 EMPLOYMENT - WRONGFUL TERMINATION - EMPLOYMENT - RETALIATION - EMPLOYMENT - CALIFORNIA'S
 FAIR EMPLOYMENT & HOUSING ACT

 Worker With Ptsd Said He Was Forced to Watch Combat Footage


 SUMMARY:
 RESULT: Arbitration

 Award Total: $353,172

 The parties entered arbitration, and the arbiter found DIRECTV had failed to offer Crawford reasonable accommodations or
 engage in the interactive process required by FEHA after Crawford was placed on leave. He found no wrongful termination,
 retaliation or discrimination.

 Crawford was awarded $149,234 for past lost income, $25,200 for non-economic damages, $159,762.50 for attorney fees,
 $11,123.30 for arbitration costs, and $7,851.80 for prejudgment interest.


 EXPERT WITNESSES:
 Plaintiff: David T. Factor; Economics; Pasadena, CA
 ATTORNEYS:
 Plaintiff: Vincent Calderone; Bononi Law Group; Los Angeles, CA (Mark A. Crawford)
 Defendant: Dianne Baguet Smith; Sheppard, Mullin, Richter & Hampton; Los Angeles, CA (DIRECTV Inc.)

 JUDGE: Sherman W. Smith

 RANGE AMOUNT: $200,000-499,999

 STATE: California
 COUNTY: Los Angeles

 INJURIES: Crawford claimed he was terminated from his job due to DIRECTV's failure to grant him reasonable
 accommodation of his disability. He sought an unspecified amount for lost income and non-economic damages.

 Facts:
 In 1999, plaintiff Marlc Crawford, a veteran of the first Gulf War, was hired as a broadcast operator at DIRECTV's Los Angeles
 broadcast center. In October 2006, his schedule was changed from Sunday through Wednesday to Wednesday through Sunday.
 He requested a return to his original schedule, claiming he was participating in therapy for post-traumatic stress disorder on




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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.186 Page 162 of 167


  Mark A. Crawford v. DIRECTV Inc., 2010 WL 5383296 (2010)


  his original days off. He also submitted a note from his social worker which stated that viewing violent images aggravated his
  condition. He was not returned to his original schedule.

  In April 2007, Crawford was placed on administrative leave after two supervisors reported what they claimed was a threatening
  e-mail. After an evaluation, he was found medically unfit for his position due to his PTSD and placed on medical leave. He
  was terminated in April 2008 when the leave was exhausted.

 Crawford sued DIRECTV, alleging violations of the Fair Employment and Housing Act, wrongful termination and retaliation.
 He claimed DIRECTV failed to offer him reasonable accommodations for his disability or engage in an interactive process after
 he was placed on leave. He alleged he requested a reasonable accommodation to a position where he would not be required
 to watch unedited combat footage, and that he knew of and was qualified for a number of such positions at the company. He
 claimed no discussions of accommodations were made after he was placed on medical leave.

 DIRECTV argued that Crawford did not claim any disabilities prior to his schedule change and that it offered him reasonable
 accommodations such as days off, job transfers, or a leave of absence, but that he refused them. DIRECTV claimed no
 accommodations were possible after Crawford was placed on leave as he was never medically cleared to return to work. It further
 argued there were no available positions where Crawford would not be required to view violent images. The defense contended
 Crawford was terminated because he was not medically cleared to return to work at the time he ran out of medical leave time.


 ALM Properties, Inc.
 Superior Court of Los Angeles County, Central

 PUBLISHED IN: VerdictSearch California Reporter Vol. 9, Issue 48



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  Davis vs. Robert Bosch Power Tool, 23 Trials Digest 8th 2 (2005)




              23 Trials Digest 8th 2, 2005 WL 1421308 (Ca1.Superior) (Verdict and Settlement Summary)


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                                       Superior Court, Los Angeles County, California.

                                               Davis vs. Robert Bosch Power Tool

 TOPIC:
 Synopsis: Salesman alleges wrongful termination

 Case Type: Employment; Termination; Discriminatory; Defamation; Unspecified; Invasion of Privacy .

                                                 DOCKET NUMBER: BC310229

 STATE: California
 COUNTY: Los Angeles
                                              Verdict/Judgment Date: March 4, 2005

 JUDGE: Victor E. Chavez
 ATTORNEYS:
 Plaintiff: Jeffery A. Brightwell, Law Offices of Jeffery A. Brightwell, Calabasas.; Mirjana N. Tolt, Law Offices of Mirjana
 N. Tolt, Beverly Hills.
 Defendant: Ellen. Stuart, Thompson & Alessio, San Diego.; Kris P. Thompson, Thompson & Alessio, San Diego.

                                                          SUMMARY:
 Verdict/Judgment: Plaintiff

 Verdict/Judgment Amount: $263,025


 Range: $200,000-$499,999
 $195,000 loss of earnings; $68,025 unpaid commissions/willful failure to pay; plus statutory penalties, attorney fees, and costs.
 The jury voted 10 to 2 on liability, 12 to 0 on willful failure to pay.

 Trial Type: Jury

 Trial Length: 16 days.

 Deliberations: 1.5 days.

 Jury Poll: Mixed poll.


 EXPERTS:
 Plaintiff: Andrew L. Hunt, CPA, economist, White, Zuckerman, Warsaysky, Luna & Wolfe, Sherman Oaks, (818) 981-4226.;
 Michael A. Robbins, human resources consultant, EXTTI Inc., Bell Canyon, (818) 712-0203.
 Defendant: Not reported.

 TEXT:



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.188 Page 164 of 167


  Davis vs. Robert Bosch Power Tool, 23 Trials Digest 8th 2 (2005)



 CASE INFORMATION

 FACTS/CONTENTIONS
   According to Plaintiff: Plaintiff Kenneth Davis, a 54-year-old salesman, was a 21-year employee of defendant Robert Bosch
  Tool Corporation. Following company policy, he gave rebates to vendors. Defendants Robert Bosch Tool Corporation, Robert
  Bosch Corporation, and Gary Tharp contended that plaintiff was taking kickbacks. They suspended plaintiff for six months
  without pay and then terminated him without notification. Plaintiff alleged that he was wrongfully terminated without just
  cause. He further alleged age discrimination, defamation, and invasion of privacy.


 CLAIMED INJURIES
  NA


 CLAIMED DAMAGES
  According to Plaintiff: Unpaid commissions; loss of past and future earnings and benefits.


 SETTLEMENT DISCUSSIONS
 According to Plaintiff: Demand: None formal. Offer: $0 (CCP § 998).


 COMMENTS
 According to Plaintiff: Jeffery A. Brightwell provided the information for this report.


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  Fred Denenberg v. California Department of Transportation, 2006 WL 5305734 (2006)




                            2006 WL 5305734 (Cal.Super.) (Verdict and Settlement Summary)


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                                      Superior Court, San Diego County, California

                                Fred Denenberg v. California Department of Transportation

                                                  No. GIC836582
                                   DATE OF VERDICT/SETTLEMENT: September 16, 2006
 TOPIC: EMPLOYMENT                SEXUAL ORIENTATION DISCRIMINATION - EMPLOYMENT - FAILURE TO
 ACCOMMODATE

 Clerk Claimed Discrimination Based on Disability, Orientation


 SUMMARY:
 RESULT: Verdict-Plaintiff

 The jury did not find any discrimination based on sexual orientation. It did, however, find the defendant failed to provide
 Denenberg with a reasonable accommodation and discriminated against him on the basis of a disability. The jury awarded
 Denenberg $119,000 in economic damages and $25,000 in noneconomic damages, for a total $144,000. The judge awarded
 him an additional $490,000 in attorney's fees and $133,000 in costs, and ordered the department of transportation to award him
 a retroactive promotion. The promotion will result in an additional $12,000 of annual earnings through his career as well as
 upward adjustments to his retirement benefits.


 EXPERT WITNESSES:
 Plaintiff: Brian P. Bring, J.D., C.P.A.; Damage Analysis; San Diego, CA Christopher Benbo, M.D.; Psychiatry; La Jolla, CA
 George Pratt, Ph.D.; Psychology/Counseling; La Jolla, CA Michael A. Robbins; Human Resources Policies; Bell Canyon, CA
 Defendant: Mark A. Kalish, M.D.; Psychology/Counseling; San Diego, CA
 ATTORNEYS:
 Plaintiff: Paul D. Jackson; Law Offices of Paul D. Jackson; San Diego, CA (Fred Denenberg); David M. deRubertis; The
 deRubertis Law Firm; Woodland Hills, CA (Fred. Denenberg)
 Defendant: Christopher J. Welsh; California Department of Transportation; San Diego, CA (California Department of
 Transportation); Julie A. Jordan; CalTrans Legal Department; San Diego, CA (California Department of Transportation)

 JUDGE: Steven R. Denton

 RANGE AMOUNT: $100,000-199,999

 STATE: California
 COUNTY: San Diego

 INJURIES: Denenberg claimed that he suffered emotional distress and sought treatment from a psychologist. He also
 sought to recover the income he lost when he took a leave of absence to cope with the distress caused by the way his
 employer treated him.

 Facts:
 In 1998 plaintiff Fred Denenberg, a gay man, was hired by the California Department of Transportation as an office technician,
 an entry-level position. He received excellent performance reviews and was promoted to assistant administrator. Starting in


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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.190 Page 166 of 167


  Fred Denenberg v. California Department of Transportation, 2006 WL 5305734 (2006)


  1999, he sought promotion to associate administrator, the next job level above his own. Such a promotion would normally occur
  in relatively short time, he alleged, but his requests were repeatedly denied. He was told that budgetary constraints had forced
  the company to put into place a hiring and promotions freeze. When the freeze was lifted on July 1, 2004, Joseph Hull, the
  deputy director of traffic operations, promised Denenberg that his promotion would be processed.

 When Hull had not yet finished processing the paperwork by late August 2004 despite Denenberg's further complaints,
 Denenberg sought legal counsel, His attorney, Paul Jackson, sent the department's upper management a letter alleging that
 Denenberg had been the subject of harassment based on his sexual orientation and that the department had failed to promote
 him because he was gay. Afterward, Denenberg's superiors and co-workers leveled accusations of wrongdoing against him. The
 alleged wrongdoing included telling a co-worker to "kiss his ass," making derogatory comments about a co-worker's religion,
 slamming a door in a co-worker's face and acting in a rude manner toward co-workers and management.

 In late September 2004, Denenberg, who claimed to be suffering from stress and depression related to his workplace, complained
 about a sexually related email sent from a co-worker a year earlier. At the instruction of a psychologist, he went on a leave of
 absence, and the department stopped processing his promotion.

 In August 2005, one year after his original stress leave began, Denenberg's psychologist recommended that he be given an
 accommodation that allowed him to telecommute. Hull did not allow telecommuting, however, and denied the accommodation.
 The psychologist revised the accommodation to request that Denenberg return to the workplace but that any face-to-face
 interaction with the co-workers he claimed had retaliated against him be minimized. Hull denied that request as well.

 When Denenberg was able to return to work without restriction, the department informed him it had eliminated his position and
 offered him six other positions that were equivalent or nearly equivalent to his former position. Denenberg declined them all.

 Denenberg sued the California Department of Transportation for discrimination and retaliation on the basis of sexual orientation
 and discrimination and retaliation on the basis of disability. He contended that for a period of about 1.5 years he was harassed
 based on his sexual orientation; the alleged harassment consisted of perceived sexual advances, derogatory comments about
 his orientation and a degrading, homophobic email. He claimed that the department's refusal to promote him in September
 2004 was in retaliation for the letter his attorney wrote complaining of harassment and discrimination. He also claimed that
 the department's stated reason for not promoting him--that he went on medical leave--indicated disability discrimination and
 showed that the company was retaliating against him for seeking accommodation of a disability. He further alleged that when
 his psychologist approved his return to work with a minimum of interaction with co-workers, there were desks and offices
 available that could have been used to meet this request.

 The defendant denied any wrongdoing. It claimed that the reason Denenberg was not promoted was because he had either
 failed the promotional exam or did not receive a high enough score for placement. The state budget crises, the department's
 budget, and the lack of available work prevented promotions for new hires until June 30, 2004. Once the freeze was lifted, the
 plaintiff was promised a noncompetitive promotion. It contended that it had begun processing a noncompetitive promotion for
 Denenberg at the time he took his leave but stopped when he was out for almost two years and the department did not know
 when or whether he would return to work and that, under the Civil Service Act, the promotion could not go through because he
 was not at work to accept the new appointment. This had implications for his retirement and benefits.

 The department also claimed that the request to telecommute was denied because the position required interaction with co-
 workers and the timely sharing of information. The department noted that over the course of nine months, it offered the plaintiff
 six alternative positions at the same classification and rate of pay but he refused all of them. Finally, the company denied any
 knowledge of the claimed harassment,

 Before the trial began, the plaintiff dropped the claim that he should have been promoted before 2003. The state had a freeze
 on promotions and new hires between June 2003 and June 2004.



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Case 3:21-cv-01174-AJB-MSB Document 1-3 Filed 06/25/21 PageID.191 Page 167 of 167


  Fred Denenberg v. California Department of Transportation, 2006 WL 5305734 (2006)



  At trial, the defense impeached Denenberg's credibility by attacking his assertion that he had never been involved in any other
  lawsuits by introducing numerous lawsuits that he had either filed or were filed against him.

  The defendant claimed that it was not his workplace problems that caused the plaintiffs medical condition but rather other
  stressors, such as a tumultuous relationship with his domestic partner who suffered from chronic medical problems. The
  defendant introduced evidence of domestic discord, including allegations of domestic abuse.

  Insurer:

  Self insured California Department of Transportation


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  Superior Court of San Diego County, at San Diego

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